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           EXHIBIT 4
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                   UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION




IN RE NATIONAL PRESCRIPTION OPIATE        MDL No. 2804
LITIGATION
                                          Case No. 17-md-2804
This document relates to:
                                          Judge Dan Aaron Polster
Case Track 15: County of Webb, Texas v.
Purdue Pharma, L.P., No. 18-op-45175
                                          PLAINTIFF WEBB COUNTY, TEXAS’
                                          SUPPLEMENTAL AND AMENDED
                                          ALLEGATIONS TO BE ADDED TO THE
                                          SECOND AMENDED COMPLAINT

                                                (Jury Trial Demanded)




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         Plaintiff Webb County, Texas, by and through the undersigned attorneys

(“Plaintiff”) hereby supplements and amends its Second Amended Complaint, dated

March 16, 2019 (Doc. No. 75) in this action against Defendants Express Scripts, Inc.,

Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Order

Processing, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy, Inc.,

Evernorth Health, Inc. (formerly Express Scripts Holding Company), and Express

Scripts Specialty Distribution Services, Inc. (collectively, “Express Scripts”); and

UnitedHealth Group, Inc., Optum, Inc., OptumInsight, Inc., OptumInsight Life

Sciences, Inc., OptumRx, Inc., OptumRx Discount Card Services, LLC; Optum Perks,

LLC; OptumHealth Care Solutions, LLC; OptumHealth Holdings, LLC; and Optum

Health Networks, Inc., (collectively “Optum”).1 Together Express Scripts and Optum

are referred to herein as “Defendants” or “the PBM Defendants.”

         In addition to the allegations set forth herein, Plaintiff expressly adopts and

incorporates by reference the allegations and claims set forth in its Second Amended

Complaint (Doc. No. 75), including all claims and allegations against other

Defendants named in that Second Amended Complaint.

            Webb County alleges as follows:




1   The newly added defendants in this pleading are: Express Scripts Administrators,
    LLC; Medco Health Solutions, Inc.; ESI Mail Order Processing, Inc.; Express Scripts
    Specialty Distribution Services, Inc.; OptumInsight, Inc.; OptumInsight Life
    Sciences, Inc.; Optum Discount Card Services, LLC; Optum Perks, LLC;
    OptumHealth Care Solutions, LLC; OptumHealth Holdings, LLC; and Optum
    Health Networks, Inc. Additionally, Defendant Express Scripts Holding Company
    is now known as Evernorth Health, Inc.
                                              1

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I.       Introduction

         1.    This case arises from a devastating epidemic of human creation—the

over-prescription, over-supply, misuse, diversion, and abuse of opioids—and the

central role that two of the nation’s largest Pharmacy Benefit Managers (“PBMs”),

Express Scripts and OptumRx, and their affiliates, have played in that epidemic.2

         2.    The opioid epidemic was created and sustained by a wide array of actors

in the opioid supply and payment chain: the opioid manufacturers, distributors, and

pharmacies, as well as by the PBM Defendants. Express Scripts’ and Optum’s role in

stoking the opioid epidemic has been, until recently, largely concealed from public

scrutiny. It is has now become clear that the PBM Defendants have, for at least the

last two decades, had a central role in facilitating the oversupply of opioids through

conduct that has the intended purpose of ignoring necessary safeguards for purposes

of increasing the prescribing, dispensing and sales of prescription opioids. These

defendants intentionally inserted themselves into the chain of distribution and

dispensing of prescription opioids thereby assuming duties to act reasonably while

comporting with the CSA.

         3.    The PBM Defendants sit at the center of prescription drug dispensing

because they contract with the manufacturers who make the drugs, the pharmacies

who dispense them, and the third-party payors who pay for them. The PBM



2
    In its Order Concerning the PBM Bellwether Process, dated October 27, 2023 (MDL
    Doc. No. 5231), the Court ordered that four bellwether cases would proceed only
    against the Optum and Express Scripts Defendant Families. Accordingly, Plaintiff
    addresses these supplemental and amended allegations only to those defendants.
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Defendants’ conduct that drove the increases and led to oversupply included:

(a) colluding with, and aiding and abetting, Purdue Pharma and other opioid

manufacturers in the fraudulent and deceptive marketing and oversupply of opioids;

(b) colluding with Purdue Pharma and other opioid manufacturers to increase opioid

sales through favorable placement on national formularies in exchange for rebates

and fees; (c) colluding with Purdue Pharma and other opioid manufacturers to

eliminate or limit utilization management measures on national formularies that

would have restricted opioid prescribing; (d) deliberately failing properly and

diligently to implement effective drug utilization review measures after undertaking

to do; (e) electing not to act on the vast stores of information they had about the

epidemic to limit the flood of opioids into communities across the Unites States,

including Webb County; and (f) dispensing huge quantities of prescription opioids

through their mail-order pharmacies without proper controls against diversion, as

required by the Controlled Substances Act and Texas law.

        4.     The PBM Defendants are legally responsible for their role in causing,

contributing to, and maintaining the opioid epidemic because, inter alia: (a) their

conduct in colluding with the opioid manufacturers to increase the supply of opioids

through      false   and   fraudulent   misrepresentations   was   intentional   and/or

negligent,    and unlawful; (b) their knowing and/or negligent failure to offer

formularies, utilization management protocols, and drug utilization review measures

that would ensure safe and appropriate use of opioid medications was wrongful

because they undertook to, and represented that they would, do so, but instead


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worked with the opioid manufacturers to increase the supply of opioids without

regard to the safety or appropriateness of the drugs; (c) they intentionally and/or

negligently decided, acted, and continued to offer only formularies, utilization

management protocols, and drug utilization measures that placed no meaningful

restrictions on the prescribing and use of opioids despite knowing, through the vast

stores of data they had, that (i) such unrestricted access to opioids was causing, and

foreseeably would continue to cause, harm (including the foreseeable harm of diversion)

to Plaintiffs’ communities, and (ii) those harms could be addressed through measures

that the PBM Defendants intentionally decided not to make available; (d) their conduct

with respect to opioid prescribing and dispensing was unlawful as well as intentional

and/or negligent because they failed to comply with the Controlled Substances Act

and Texas law, both in their own dispensing through their mail-order pharmacies

and in their other activities that increased the risks of diversion; and (e) they

unlawfully controlled association-in-fact enterprises with opioid manufacturers and

others through a pattern of racketeering activity, as defined in the federal Racketeer-

Influenced and Corrupt Organizations Act (“RICO)”).

        5.   The PBM Defendants’ role in the opioid epidemic was made possible by

their unique combination of knowledge and power that gave them an extraordinary

ability to control the opioid supply throughout the United States.

        6.   One of the PBM Defendants’ own executives recognized that no other

actor in the healthcare system had a greater ability to affect the opioid crisis, boasting

that “[n]o component of our healthcare system is in a better position to deliver more

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immediate and more impactful changes to the current course of this crisis than our

nation’s PBMs…”3

          7.   The executive highlighted the PBMs’ powerful position not only from an

information perspective (“robust point-of-dispensing screening and intervention”),

but also as “an intermediary between the physician, pharmacist, patient,

pharmaceutical manufacturer, health systems, and other components of the

industry,” which situates the PBM Defendants “in an ideal position to drive

improvements in education and awareness of the dangers of opioid therapy[.]”4

          8.   PBMs provide services to prescription drug benefit plans sponsored by

health insurers, self-insured employers, and state and federal government agencies.

The PBM Defendants collect and maintain (and sell) unprecedented amounts of data

about the extent of opioid prescribing, far exceeding what any individual

manufacturer, distributor, or pharmacy chain has access to. For as long as they have

been PBMs, Express Scripts and Optum have received, analyzed, and tracked

detailed claims data for the billions of prescriptions they process each year, including

opioid prescriptions. Controlling prescription drug benefits for 160+ million

Americans, the PBM Defendants are in possession of detailed information about

every prescription they process, regardless of which company manufactured the drug,

which doctor prescribed it, what pharmacy it was filled at, or which state it was

dispensed in. They know when patients whose benefits they manage fill opioid



3   OPTUMRX_JEFFCO_0000014980 (9/16/17) (emphasis added).
4   Id.
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prescriptions written by multiple doctors, and when they fill them at multiple

pharmacies. They know how many times every opioid prescription they cover is

refilled and they know when a patient who was prescribed opioids is later treated for

substance use disorder. They know if one of their covered lives is having prescriptions

filled for opioids, benzodiazepines, and sleep aids concurrently. In short, the PBM

Defendants have had a unique vantage point on opioid use and prescribing patterns

and associated misuse. These Defendants quite literally tracked the opioid epidemic,

pill by pill, as it unfolded over the last two decades.

        9.    The PBM Defendants are not only in possession of massive amounts of

information about opioid prescribing, they also have the power to encourage and/or

drive prescribing, dispensing, and sales of prescription drugs.

        10.   The PBM Defendants are able to encourage and influence prescribing,

dispensing, and sales primarily through the national formularies they offer to

pharmacy benefit plans and through what they choose to offer in terms of standard

“utilization management” (“UM”) rules. Formularies are lists of drugs covered by a

pharmacy benefit plan. Formularies control which drugs are available to the PBMs’

covered lives. They are often constructed in tiers, where drugs listed on higher tiers

require larger copays, or as so-called exclusionary formularies, where preferred brand

drugs are included and nonpreferred drugs are not included. Standard UM programs

include various protocols for managing access and use of particular drugs, including:

(i) step therapy, where a beneficiary is required to try a different drug or therapy first

before trying the restricted drug; (ii) quantity limits, which are limits on the dosage


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or days’ supply that a patient may receive for any given prescription(s); and (iii) prior

authorizations, or (“PAs”), which are rules that require a physician to confirm that a

given prescription is therapeutically appropriate before the drug is dispensed. Data

shows that, when implemented, disfavored formulary placement and UM reduce

inappropriate prescribing by making non-preferred drugs and/or drugs subject to UM

restrictions more difficult and more costly to obtain. By contrast, the PBM

Defendants and the opioid manufacturers knew that favorable formulary placement

and the absence of UM restrictions create a scenario where prescriptions are written

and dispensed with ease and frequency, at the expense of public safety.

        11.   Through their formulary and UM tools, and the other powers at their

disposal, the PBM Defendants, in conjunction with opioid manufacturers, are and

have been uniquely situated to influence and control the prescribing and dispensing

of opioids to their 160+ million covered lives. Indeed, opioids that are preferred on

PBM formularies have significantly greater sales than drugs that are either excluded

or disadvantaged. In this sense, the PBM Defendants act as the gatekeepers to the

opioid market.

        12.   The PBM Defendants have used their hugely profitable roles to grow

into vertically integrated colossuses that have come to dominate access to

prescription drugs—currently sitting at fifth (OptumRx) and twelfth (Express

Scripts) on the Fortune 500 list ranking of the largest corporations in America by

revenue. Defendant Express Scripts surpassed $100 billion of annual revenue as




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early as 2017. Defendant OptumRx has also seen its revenue grow, reaching nearly

$100 billion in 2022.

        13.   These two corporate leviathans are: (1) two of the three largest PBMs in

the United States, collectively managing prescription drug coverage for 160+ million

covered lives and processing more than 1.5 billion claims per year; (2) two of the top

five dispensing pharmacies in the United States; (3) owned by two of the largest

insurance companies in the world (UnitedHealth Group and Cigna); and (4) among

the largest healthcare data, consulting, and analytics companies in the United States.

        14.   Instead of using their vast stores of information and extensive power to

do what they promised their clients and represented to the public—i.e., manage the

floodgates of opioid prescribing and limit abuse of these dangerous drugs—the PBM

Defendants worked together and with the opioid manufacturers to negotiate

contracts and structure formulary and UM offerings that encouraged opioid

prescribing, while facilitating easy and inexpensive dispensing and sales of those

drugs. The result is that the market for prescription opioids grew, prescribing,

dispensing and sales increased, and the PBM Defendants and opioid manufacturers

reaped the profits of their contracts and relationships. For the PBM Defendants, the

profits came from rebates and fees they earned from the branded opioid

manufacturers by making opioids freely available and from pricing spreads and fees

they captured from generic opioid sales. Profits also came through the sale of critical

data and access to and about PBM covered lives and the health care providers who

cared for them.


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        15.   Not only did the PBM Defendants aid and abet the manufacturers

through their pro-opioid formulary and UM offerings, they also colluded with the

manufacturers in spreading fraudulent misrepresentations about the risks and

benefits of opioids. The PBM Defendants fraudulently induced doctors to write more

opioid prescriptions, and then they made sure it would be easy for patients to fill

those prescriptions, thus ensuring an unfettered flow of opioids into communities

across America.

        16.   The PBM Defendants’ conduct represented a change of course. Prior to

1997, the PBM Defendants had recognized the dangers of opioids and had installed

various routine controls on quantity and access. At that time, opioids were prescribed

infrequently and generally only for either acute pain, calling for very short-term use,

or for end-of-life cancer pain.

        17.   In the mid-1990’s, Purdue Pharma (“Purdue”) introduced OxyContin

and began a campaign fraudulently to portray OxyContin as safe and effective for a

variety of conditions, including chronic non-cancer pain calling for long-term use.

Purdue set out to convince doctors, the medical establishment, and the public

generally that opioids are not addictive when taken for pain, regardless of the dose

or duration of the therapy. Over time, other opioid manufacturers introduced similar

products, first branded opioid drugs and then generic ones, and joined in the

campaign fraudulently to increase opioid prescribing.

        18.   OptumRx’s predecessor Prescription Solutions initially refused to put

OxyContin on its commercial formularies due to concerns regarding abuse.


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        19.   Express Scripts’ predecessor Medco, which was, in the late 1990’s, the

largest customer for Purdue’s opioids, initially put a strict quantity limit (80 mg/day)

on OxyContin when it was introduced in 1996 and sent letters to prescribers stating

that it would not pay for prescriptions for non-cancer pain treatment (“Medco

prescriber letters”).

        20.   The Medco prescriber letters were a serious threat to Purdue and to

other opioid manufacturers. The opioid manufacturers knew that they could not

expand the opioid market and flood communities with their products without

preferred, unrestricted access to their opioids on the PBM Defendants’ formularies.

        21.   Recognizing the unique role that the PBM Defendants play as the

gatekeepers of the pharmaceutical market, Purdue set out to change the PBM

Defendants’ policies about OxyContin and about opioids generally. Purdue did this

not (or not primarily) by convincing the PBM Defendants that OxyContin was safe

and effective for the treatment of chronic non-cancer pain—which it is not—but

rather by convincing them that they could make vast amounts of money by allowing

unrestricted access to opioids.

        22.   In a January 1997 email to Purdue’s president Dr. Richard Sackler (and

others) responding to the Medco prescriber letters, Michael Friedman, who would

later become Purdue’s CEO, stated, “This is a serious matter that we cannot ignore

and that we must discuss. . . We cannot go on ignoring the reality of [the PBM

Defendants’] economic proof requirements . . . If we are to stay in business we need

proof of economic performance.” (Emphasis added.) Purdue thus understood that for


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OxyContin to succeed, it would have to show the PBM Defendants that increasing

opioid use would be to their economic benefit.

        23.   This was a critical moment in the spread of the epidemic. If Medco—

Purdue’s largest customer—had excluded OxyContin from its formularies or

restricted its use to palliative care and/or cancer pain in 1997 (as it should have),

OxyContin would never have become widely available, other branded opioids and

generics never would have followed the OxyContin wave, and the epidemic likely

never would have happened.

        24.   Medco, however, failed to take such actions. Rather, Medco and the

other PBM Defendants became knowing and willing partners with Purdue and the

other opioid manufacturers at this critical juncture because they realized that

increasing opioid use would indeed be profitable for them. The PBM Defendants were

able to profit from such increased use because their agreements with the opioid

manufacturers provided for rebates and “administrative fees” to be paid to the PBM

Defendants for each rebate-eligible opioid prescription adjudicated by that PBM.

Thus, every dollar spent on opioids would put money in the PBM Defendants’ pockets.

When a drug was given “preferred” status on a formulary, the rebates would be

higher.

        25.   Within months of sending its prescriber letters warning about the

dangers of OxyContin, Medco completely reversed course and informed Purdue that

it had become “very interested in partnering with Purdue.” Medco doubled its initial

quantity limits from 80 mg/day to 160 mg/day within the first year of OxyContin’s


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release. By 2000, Medco again doubled this limit to 320 mg/day (four times the limit

that Medco originally determined was medically appropriate for OxyContin). To make

its formulary changes more effective, Medco worked “behind the scenes” with Purdue

to persuade several of Medco’s largest clients (including Optum’s affiliate insurer

UHC) to lift any restrictions they had (such as prior authorizations and quantity

limits) on OxyContin sales.

        26.   But it wasn’t enough for Medco to just lift restrictions on the filling of

prescriptions (open the floodgates); it also worked with Purdue to increase the

number of prescriptions being written (increase the flow of water at the source). To

that end, it joined forces with Purdue on numerous marketing campaigns, assisting

Purdue in its dissemination of fraudulent misrepresentations about the safety and

efficacy of prescription opioids for a wide variety of conditions for which the drugs

had previously been understood to be dangerous and unsuitable. This included

mailings to prescribers fraudulently promoting OxyContin as safe and effective and

only very rarely leading to abuse and/or addiction.

        27.   Medco was not alone. Abandoning their initial resistance to OxyContin,

the other PBM Defendants quickly recognized the profit potential associated with it

and began partnering with Purdue and other opioid manufacturers to expand the

pain treatment market.

        28.   For years Express Scripts worked directly with Purdue to disseminate

misinformation about OxyContin. These efforts included Express Scripts using its

own “proprietary database” to locate high prescribers of opioids and then “blasting”


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these physicians with materials created by Purdue-paid front groups that promoted

myths about the use of opioids that they knew had no basis in fact. They did this to

overcome the resistance doctors had to prescribing dangerous opioids. In a

particularly telling exchange, Express Scripts informed Purdue that these efforts

were necessary “so that [Express Scripts] may squelch the anti-OxyContin pushback

from [Express Scripts] clients . . . due in large part to the [negative] national media

attention OxyContin is receiving.”5

        29.   OptumRx (then known as Prescription Solutions) initially excluded

OxyContin from its formularies, but it reversed course and by the mid-2000s it was

receiving $70 million per year in rebates from Purdue in exchange for preferring

OxyContin on its commercial formularies.

        30.   In addition, Optum’s affiliated research and consulting entities,

OptumInsight and OptumHealth, worked hand-in-hand with Purdue and the other

opioid manufacturers for decades to reshape the pain treatment market.

OptumInsight provided the opioid manufacturers a full range of services including

research, data, consulting, and marketing to deceive patients, prescribers, and payors

into believing that opioids are effective, and even necessary, to treat chronic pain, are

beneficial (both from a cost and clinical perspective), and are not likely to lead to

addiction, even for patients in long term opioid therapy.

        31.   None of this was true and the PBM Defendants knew it. In fact, opioids

are highly addictive, even in patients taking them for pain, and the risk of abuse


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increases at higher doses and longer durations. Moreover, opioid therapy is not, in

fact, particularly effective for chronic pain. Increased prescribing of opioids, for longer

periods and at higher doses, and without the scrutiny that would accompany use of a

drug whose risks were properly understood, would inevitably lead to increases in the

number of individuals suffering from opioid use disorder (“OUD”), the clinical name

encompassing the condition sometimes referred to popularly as addiction.

        32.   The PBM Defendants’ partnership with Purdue to expand the opioid

market was successful: in the years following its release, OxyContin sales exploded—

growing from $48 million in 1996 to $1.6 billion by 2003—and drove a huge

nationwide spike in overall opioid prescribing. During this same time, the annual

number of OxyContin prescriptions for non-cancer pain increased nearly tenfold, from

about 670,000 in 1997 to about 6.2 million in 2002.

        33.   As a direct result of the PBM Defendants’ and Purdue’s coordinated

efforts, opioid use and abuse escalated to epidemic levels by the mid-2000s,

devastating communities across the country, including Webb County. Plaintiff has

been dealing with the public health crisis caused by the PBM Defendants’ misconduct

for the past two decades.

        34.   Making matters worse, having helped launch the epidemic, the PBM

Defendants then failed to close the floodgates despite knowing that opioids were

causing a public health crisis. Their data told them what was happening, and they

had the tools to fix it. But for years, the PBM Defendants failed to address the

epidemic they helped create. Even as the federal government starting requiring


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certain controls be put in place in federal health plans, the PBM Defendants

deliberately chose not to offer similar controls to their commercial clients with the

full knowledge that such a choice would lead to continued opioid oversupply, diversion

and death.

        35.   As the opioid epidemic spread throughout the country, including

Plaintiff’s community, the PBM Defendants intentionally chose not to undertake

actions that they knew would have drastically reduced the inappropriate prescribing

and dispensing of opioids, such as enacting effective UM protocols or disadvantaging

opioids on their formularies. For example, for nearly every year for the past 20+ years,

Express Scripts has preferred OxyContin on its formularies over safer, more effective,

forms of pain treatment.

        36.   The PBM Defendants chose not to limit access to prescription opioids—

including both branded and generic drugs—because together and with the opioid

manufacturers, they had formed an agreement to do everything in their power to

grow the market for prescription opioids without regard for public safety in order to

profit from the sales of these drugs generated for each PBM Defendant and opioid

manufacturer. Over at least the last two decades, the PBM Defendants have received

millions of dollars in rebate payments from the opioid manufacturers in exchange for

actions and omissions that incentivized and facilitated easy prescribing of

prescription opioids (via favorable formulary and UM decisions), and led to

unrestricted dispensing of those same drugs (through DUR decisions).




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        37.   The PBM Defendants now publicly admit that they were “uniquely

situated” to stop the opioid epidemic and that they can create UM protocols that can

“ensure that physician prescribing and pharmacy dispensing is in line with the most-

up-date scientific evidence and national consensus guidelines.” The power that they

now admit possessing is the same power that allowed them to aid and abet with the

opioid manufacturers to drive the oversupply of opioids through increases in

prescribing and dispensing.

        38.   The PBM Defendants have always had the ability to offer and the power

to employ interventions that would minimize inappropriate opioid prescribing,

dispensing, use, and abuse and thereby to prevent the progression of the opioid

epidemic. Yet they failed to do so, not only at the outset of the opioid crisis, in the

1990’s, but for two decades after that, as they watched the opioid crisis steadily

unfold.

        39.   Despite knowing that opioids were highly addictive, overused, and

heavily abused, for over two decades the PBM Defendants intentionally did little to

curb inappropriate prescribing, diversion, and abuse—instead standing by while

retail pharmacies (as well as their own mail order pharmacies) dispensed wildly

excessive quantities of opioid prescriptions.

        40.   From their own data alone, the PBM Defendants could see that opioids

were far more addictive and dangerous than they, along with Purdue and the other

opioid manufacturers, had been telling the medical community and the public. They

could see from their own data that the drugs required greater restrictions on access


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than they had led their clients to believe. But the PBM Defendants had much more

than just their own data to tell them that what they had been saying, and the false

narrative that had been guiding their formulary and UM offerings, was untrue (even

assuming they had ever believed it): in May, 2007, Purdue pleaded guilty to federal

charges of criminal misbranding with respect to OxyContin. It paid a $635 million

fine and entered into a Corporate Integrity Agreement that required it to ensure that

its marketing of OxyContin would be fair and accurate. (Following its entry into this

agreement, Purdue promptly contracted with McKinsey & Co. for advice as to how to

continue to increase OxyContin sales.) As part of its plea agreement, in an agreed

statement of facts, Purdue agreed that it had “with the intend to defraud or mislead,

marketed and promoted OxyContin as less addictive, less subject to abuse and

diversion and less likely to cause tolerance and withdrawal than other pain

medications. . . .” The agreed statement of facts detailed the ways in which Purdue’s

marketing had been false and misleading.

        41.   Thus, regardless of what they knew before Purdue entered into its plea

agreement in May 2007, once that agreement was made public, the PBM Defendants

had certain knowledge that the marketing activities on which they had colluded with

Purdue (and with other opioid manufacturers) were fraudulent, leading to dangerous

opioid oversupply and death. They also had certain knowledge that any supposed

justifications for their formulary and UM offerings regarding prescription opioids—

that the drugs were appropriate for prescription with minimal scrutiny, that they

should be made available for a wide variety of conditions and for extended, long-term


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therapy without intensive scrutiny and review—were lies. Yet it would be ten more

years before the PBM Defendants changed their national formulary and UM offerings

to place meaningful restrictions on drugs they certainly knew were too dangerous to

be prescribed, dispensed, and used as freely as the PBM Defendants and Purdue had

led people to believe they could be.

        42.   Rather than use their granular claims data to limit problematic opioid

use or investigate outlier prescribing patterns, Defendants sold their data to third-

party vendors who in turn resold the data to opioid manufacturers, including Purdue,

who used the data to aid their marketing, so that they could continue to stoke

increased prescribing of opioid drugs.

        43.   The PBM Defendants played an additional role in creating the opioid

crisis. By virtue of operating their huge mail-order pharmacies, the PBM Defendants

were often themselves the entity that dispensed the drugs (that is, filled

prescriptions), a role that imposed on them affirmative duties to provide controls

against diversion of these dangerous drugs. The data in their possession, both from

their dispensing activities and from their prescription management activities across

virtually every retailer pharmacy in the nation (over 60,000 in each of their

networks), provided sufficient information and insight into patterns of prescribing to

enable them to provide the controls that were required by law. They failed, however,

to use this data to implement such controls. Instead, the PBM Defendants sold the

data to the opioid manufacturers for them to use in their marketing efforts to increase




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sales of prescription opioids, without regard to the effects of such increases on the

potential diversion of these drugs.

        44.   Defendants’ mail-order pharmacies have each operated within the

federally-regulated closed system for controlled substances. Despite their obligations

under the Controlled Substances Act to provide controls against diversion and to

dispense opioids only pursuant to valid prescriptions issued for a legitimate medical

purpose, they dispensed tens of billions of morphine milligram equivalents (“MMEs”)

(the standard measure used when measuring quantities of opioids of different

strengths) of opioids into communities across the country, often without adequate due

diligence to ensure that the prescriptions involved were valid and not likely to be

diverted.

        45.   This is especially true in the case of OptumRx, which is a single entity

with multiple roles. OptumRx is, and at all relevant times has been, registered with

the DEA as a dispenser. DEA registrants are required to provide effective controls

against diversion. But OptumRx’s business practices as a PBM, as described herein,

intentionally and/or negligently ignored the risks of diversion and even, at times,

increased them. OptumRx’s failure to implement effective controls against diversion

across all of its activities that affect dispensing, whether as a mail-order pharmacy

or otherwise, is a violation of its CSA duties.

        46.   Similarly to OptumRx, Express Scripts, too, is registered with the DEA

and as a registrant, is required to provide effective controls against diversion. It, too

failed to provide the requisite controls with respect to all of its activities that affect


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dispensing. It too, in its role as a PBM, intentionally and/or negligently ignored the

risks of diversion and even, at times, increased them. Even though Express Scripts

used separate entities to perform mail-order pharmacy and PBM functions, it, too,

was required by the CSA to provide effective controls against diversion across all of

its activities that affect dispensing, whether as a mail-order pharmacy or

otherwise. Its failure to do so was in violation of the CSA.

        47.   The PBM Defendants thus have not been mere bystanders in the opioid

crisis; rather they colluded with the opioid manufacturers, placed profits over safety,

and engaged in a clandestine and fraudulent scheme to increase the sale of

prescription opioids, despite the known dangers of these drugs.

        48.   It was only well after the opioid epidemic reached its peak, and after the

U.S. Senate and state governments began to investigate Express Scripts’ and

Optum’s role in causing the opioid epidemic, that the PBM Defendants finally began

to implement UM measures to address the public health crisis behind which they

were a driving force.

        49.   Notably, when Express Scripts and Optum finally took meaningful steps

to address the epidemic by enacting opioid management programs in 2017 and 2018,

the results were significant. Both Express Scripts’ and Optum’s own data show that,

following the implementation of the PBM Defendants’ opioid management programs,

opioid prescribing and use, as measured by multiple metrics, significantly decreased

across the populations of lives that each PBM Defendant respectively covers.




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        50.   The PBM Defendants could have implemented those same opioid

management measures at any point over the past two decades. Had they put in place

the tools that they knew would have reduced opioid overuse—such as those

implemented in 2017—when they first knew these drugs were causing a public health

crisis, they would have had a substantial impact on addressing the opioid epidemic.

        51.   Express Scripts’ own marketing material shows with shocking precision

the effect that Express Scripts’ delay had on its covered lives. A March 2017 Express

Scripts PowerPoint titled “Comprehensive Opioid Solution: What is Express Scripts

Doing to Combat this Epidemic?” included the following slide that detailed Express

Scripts’ calculation of how many of its own covered lives would die in the future if

Express Scripts did nothing to combat the opioid epidemic:




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        52.   Express Scripts said nothing about the covered lives that had already

been lost through its inaction over the decade or more that Express Scripts sat idly

by and watched the opioid epidemic escalate across the country and in Webb County.

But its ability to calculate with such precision the number of such lives going forward

speaks volumes both about its earlier failures to act and about the likely scale of the

losses attributable to that failure.




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        53.   Defendants’ scheme has had far-reaching public health consequences,

the costs of which have been borne by communities across the United States,

including Webb County.

        54.   According to the United States Centers for Disease Control and

Prevention (“CDC”), prescription opioids have directly and indirectly accounted for

more than 80% of overdose deaths in the United States, a toll that has quadrupled

over the past two decades. More people have died from opioid-related causes than

from car accidents or guns. More than 175 people die every day from opioid

overdoses—as if an airplane were to crash, killing everyone on board, every day.

        55.   The epidemic’s economic costs for healthcare, lost productivity,

addiction treatment, and criminal justice involvement is estimated at $1.02 trillion a

year.

        56.   The devastating human toll of opioid abuse cannot be overstated. After

years of decreasing death rates in the United States, these rates are now on the rise,

fueled in no small part by an increase in opioid-related drug overdose deaths. Drug

overdoses are now the leading cause of death for Americans under the age of fifty.

The number of Americans who died of drug overdose deaths in 2017 alone was

roughly equal to the number of Americans who died in the Vietnam, Iraq, and

Afghanistan wars combined.

        57.   From 1999 through the present, over 1,000,000 people have died from

an overdose involving opioids. Well over half of those deaths involved opioids

prescribed by doctors to treat pain. These opioids include brand-name prescription


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medications like OxyContin, Opana ER, Nucynta, Duragesic, Subsys, Actiq, and

Fentora, which were manufactured respectively by Purdue, Endo, Janssen/J&J,

Insys, and Teva/Cephalon. The drugs also include generic opioids such as

hydrocodone,     oxycodone,    fentanyl,   hydromorphone,    morphine,      methadone,

tapentadol, and oxymorphone manufactured by Teva, Mallinckrodt and other generic

drug makers.

        58.   The opioid epidemic rages on to this day and continues to worsen each

year. A staggering 110,000 people died of opioid overdoses in 2022 alone.

        59.   For many of the people whose lives were cut short by opioid overdoses,

even if the drug used at the time of overdose was a non-prescription opioid such as

heroin or illicit fentanyl, their opioid use began with prescription pills. Many opioid

users, having become addicted to, but no longer able to obtain prescription opioids,

turn to heroin. According to the American Society of Addiction Medicine, 80% of the

people who initiated heroin use in the past decade started with prescription

painkillers—which, at the molecular level and in their effect, closely resemble heroin.

Both heroin and oxycodone, for example, are semisynthetic derivatives of naturally

occurring alkaloids found in opium; heroin—or diacetylmorphine—is derived from

morphine. Unsurprisingly, people who are addicted to prescription painkillers are 40

times more likely to become addicted to heroin. The CDC has identified addiction to

prescription pain medication as the strongest risk factor for heroin addiction. In

recent years, individuals have become addicted to even stronger opioids, often turning

to illicit fentanyl, with even more lethal effects.


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        60.    According to Robert Anderson, who oversees death statistics at the CDC:

“I don’t think we’ve ever seen anything like this. Certainly not in modern times.” On

October 27, 2017, then-President Trump declared the opioid epidemic a public health

emergency. On December 22, 2022, Health and Human Services Secretary Xavier

Becerra renewed the determination that the “opioid public health emergency exists

nationwide.”

        61.    Texas is experiencing a drug overdose epidemic which is causing

devastating socio and economic consequences. Over the past five years, Texas’

overdose rates have increased more than 75%. On average, Texas has consistently

been among the states with a drastically rising distribution of milligrams of opioids

per adult, making its opioid-related death toll nearly triple from 2004 to 2022. The

CDC National Vital Statistics System reports Texas’ predictive count of overdose

deaths in 2022 to be 5,166 and in 2023 to be 5,770, an 11.69% increase in the rate of

Texans who have or will die from opioid overdoses over one year. However, due to

incomplete reporting, these grim numbers likely understate the number of Texans

who have been and will be lost to this scourge.

        62.    As in many other communities in the United States, opioid use has been

and continues to be at crisis levels in Webb County. The CDC reports that Webb

County mortality rates doubled in the ten (10) year period between 2007 and 2016.

These drug-related deaths grew steadily from 4-5.9 in 2007 to 10-11.9 in 2016, a 50%

increase. During the same period the population grew from 234,594 in 2007 to

271,193 in 2016, a mere fifteen percent (15%) increase. The rate of drug-involved


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deaths in Webb County climbed by 121% from 2011 to 2022, and most of that increase

is attributable to opioids. Opioid overdose deaths exceeded overdose deaths from

other substances by a wide margin each year during that period, often by more than

ten deaths annually. Opioids claimed 168 lives in Webb County from 2015-2022.

        63.   More recently, and since 2015, the number of overdose deaths has grown

on an exponential scale, jumping by 60% between 2015 and 2017, and jumping by an

additional 50% between 2017 and 2020. The numbers continue to climb: 19 overdose

deaths in 2021; 32 deaths in 2022.

        64.   DEA ARCOS data confirms that Webb County is experiencing the same

startling trend of drastically rising distribution of milligrams of opioids as seen in

Texas. The ARCOS data table below reflects transactional data for opioid drugs

submitted by the drug manufacturers and distributors doing business in Webb

County. The volume of opioid drugs distributed in Webb County, between 2006 and

2015 reflects an 88% increase, dramatically outpacing the population growth for the

same period, which according to U.S. Census estimates amounted to only an 18%

increase.




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                                                             Webb County
                                              Annual Calculated Base Weight in Milligrams
                                                             ARCOS Data
                                 42,000,000

                                 39,000,000

                                 36,000,000
            Calc_Base_WT_in_MG




                                 33,000,000

                                 30,000,000

                                 27,000,000

                                 24,000,000

                                 21,000,000

                                 18,000,000
                                              2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017


        65.                       Defendants’ conduct has had severe and far-reaching consequences for

public health, social services, and criminal justice, including the fueling of addiction

and overdose from illicit drugs such as heroin. The costs are borne by Plaintiff and

other governmental entities. These necessary and costly responses to the nationwide

opioid crisis include the handling of emergency responses to overdoses, providing

addiction treatment, handling opioid-related investigations, arrests, adjudications,

and incarcerations, treating opioid-dependent newborns in neonatal intensive care

units, burying the dead, and placing thousands of children in foster care placement,

among others.

        66.                       Government entities, including Webb County, have been strained to the

breaking point by this public health crisis, which has an impact on all of the services

they provide their citizens. The burdens imposed on Plaintiff are not the normal or
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typical burdens of governmental programs and services. Rather, these are

extraordinary costs and losses that are directly related to Defendants’ conduct.

        67.   The losses inflicted have cut across ages and generations. Many who

have succumbed to overdoses have overdosed more than once. Family members,

including young children, have watched their loved ones lose consciousness or die.

Young children, including toddlers, also have been the direct victims of overdoses

themselves after coming into contact with opiates, often being addicted at birth from

an addicted mother.

        68.   The resulting plague has meant that hundreds of children have been

displaced from their homes and have been raised by relatives or placed in Webb

County’s care due to their parents’ addiction. Others lose the chance to go home.

Unable to be discharged from the hospital with their mothers, hundreds of babies

who have been born addicted to opioids due to prenatal exposure have been placed in

the care of Webb County or local citizens or non-profits who do their best to comfort

them through the pain of withdrawal.

        69.   Individually, and colluding with each other and with opioid

manufacturers, Express Scripts and Optum each caused, contributed to, and

maintained the opioid crisis and now must abate the ongoing public nuisance they

created in communities across America.

        70.   Individually, and colluding with each other and with opioid

manufacturers, the PBM Defendants’ conduct was a substantial contributing factor

in the creation of the opioid crisis, which to this day continues to unreasonably


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interfere with the public health, safety, and welfare and is therefore a public

nuisance.

        71.   Express Scripts and Optum colluded together in, and aided and abetted,

the fraudulent marketing of prescription opioids.

        72.   The PBM Defendants and opioid manufacturers formed an association-

in-fact enterprise, the “Formulary & UM Enterprise.” The common purpose of the

Formulary & UM Enterprise was to profit from the increased and unrestricted

prescribing, dispensing, and sale of prescription opioids without regard for public

safety. The PBM Defendants conducted, and participated in the conduct of, the

Formulary & UM Enterprise by agreeing to not take action that would undercut each

other’s business; agreeing to work together with the opioid manufacturers; agreeing

to take and taking formulary action that would motivate and facilitate increased

opioid prescribing; agreeing to take and taking UM actions that would facilitate

easier and increased opioid dispensing and sales; working together with opioid

manufacturers to disseminate the false marketing and to support their detailing of

prescription opioids to prescribers; and failing to uphold their distribution and

dispensing obligations under the Controlled Substances Act and its implementing

regulations. All of this conduct furthered the underlying fraudulent scheme of the

Formulary & UM Enterprise because it served to deprive people of money and

property by means of an underlying fraudulent scheme, including taking actions that

directly contradicted the public representations they made about their conduct as

well as the promises they made to their clients. Furthermore, Express Scripts and


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Optum have engaged in additional illegal conduct, including filing false statements

about their revenue with the Securities and Exchange Commission (“SEC”).

        73.   Express Scripts and Optum undertook and assumed a duty to create

formularies and UM programs based on the health and safety of the public and of the

lives covered by the benefit plans that were their clients. Express Scripts and Optum

represented to the public, as well as to their clients, that their formulary and UM

offerings were based on the health and safety of the public and the lives their clients

insured, when in fact they were doing the exact opposite and the PBMs were acting

to maximize their own revenue in concert with the opioid manufacturers. Optum and

Express Scripts knew, at the time that they made these representations to the public

and to their clients, that they would not base their formulary and UM offerings on

the health and safety of the covered lives involved, nor of the public, but rather that

they would make, and were already making, formulary and UM decisions, and taking

formulary and UM actions, designed solely (or at least primarily) to increase profits

to the PBM Defendants.

        74.   The opioid manufacturers—with whom the PBM Defendants colluded in

creating the opioid crisis—have themselves faced substantial civil and criminal

liability for their roles and have agreed to pay billions of dollars to assist with the

generational devastation caused by their scheme. A few examples include:

        (a)   In October 2020, the Department of Justice announced that Purdue
              entered into a federal settlement of more than $8 billion to resolve
              pending criminal and civil allegations regarding Purdue’s role in
              causing the opioid epidemic;



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         (b)   In February 2022, Janssen/J&J agreed to finalize a proposed $5 billion
               settlement resolving claims by states and local governments that they
               helped fuel the U.S. opioid epidemic;

         (c)   In July 2022, Teva announced it would pay up to $4.25 billion as part
               of a nationwide settlement to end litigation over its alleged role in the
               U.S. opioid crisis; and

         (d)   In August 2022, Endo agreed to pay $450 million to states to resolve
               opioid lawsuits across the country.

         75.   The PBM Defendants, too, should be required to bear the costs of

abating the devastating nuisance that they, along with the other entities, brought

about.

         76.   Plaintiff brings this suit to hold Defendants accountable for the

devastating opioid crisis they helped caused, contributed to, and maintained.

II.      Jurisdiction and Venue

         77.   This Court has jurisdiction over the subject matter of this case pursuant

to 28 U.S.C. § 1332 because the amount in controversy exceeds $75,000 and, as

explained herein, the Plaintiff is of a different citizenship than Defendants.

         78.   This Court also has jurisdiction over the subject matter of this case

pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, et seq., raise a

federal question. This Court has supplemental jurisdiction over the Plaintiff’s state-

law claims under 28 U.S.C. § 1367 because those claims are so related to the RICO

claim as to form part of the same case or controversy.

         79.   This Court has personal jurisdiction over Defendants because the causes

of action alleged in this Complaint arise out of Defendants’ transacting business in

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Texas, contracting to supply services or goods in this state, causing tortious injury by

an act or omission in this state, and because Defendants regularly do or solicit

business or engage in a persistent course of conduct or derive substantial revenue

from goods used or consumed or services rendered in this state. Defendants have

purposefully directed their actions towards Texas and/or have the requisite minimum

contacts with Texas to satisfy any statutory or constitutional requirements for

personal jurisdiction. In the alternative, the Court has personal jurisdiction over all

Defendants under 18 U.S.C. § 1965(b) as to Webb County’s RICO claims and pendant

personal jurisdiction over all Defendants as to Webb County’s other claims, all of

which arise out of a common nucleus of operative facts.

        80.   Venue is proper in this district pursuant to 28 U.S.C. § 1407.

III.    Parties

A.      Plaintiff

        81.   Webb County is a county organized under the laws of the State of Texas.

        82.   Webb County provides a wide range of services on behalf of its residents,

including services for families and children, public health, public assistance, law

enforcement, and emergency care.

        83.   Webb County has all the powers possible for a county to have under the

constitution of the State of Texas and the laws of the State of Texas.

        84.   Webb County has standing to bring this action to protect the public

health, safety and welfare of its citizens.




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        85.   Defendants’ intentional, negligent, and/or unlawful conduct, alleged

more fully herein, has created a serious public health crisis of opioid abuse, addiction,

morbidity, and mortality and is a public nuisance in Webb County.

        86.   Webb County directly and foreseeably sustained all economic damages

alleged more fully herein. Plaintiff, like any other local government, endeavors in

good faith to provide a wide variety of necessary services on a limited budget funded

with taxpayer dollars. Defendants’ conduct has imposed an extraordinary burden on

Webb County’s limited resources and services for which it seeks relief.

        87.   Defendants’ conduct is beyond anything Webb County could have

prepared for, predicted or avoided. It is a repeated course of conduct that did, does,

and will—given the realities of addiction—continue to result in recurring and ongoing

harm to Webb County. Defendants’ conduct is especially pernicious when one

considers the harm it has wreaked on governmental entities such as Webb County

who, in good faith, endeavor to provide a wide variety of necessary services on a

limited budget funded with taxpayer dollars. The magnitude of Defendants’ scheme

is neither discrete nor of a sort that a county, including Webb County, could

reasonably expect to have to respond to at any time during its existence as such. It

would be unreasonable, unjust, and inequitable not to allocate the additional

governmental expenses, and any other costs associated with the harms Defendants’

wrongful conduct has caused, to the actual parties responsible for creating the need

for the resources to be expended as they are and were.




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B.      Defendants

        1.    The Express Scripts Defendants

        88.   Defendant Evernorth Health, Inc. (f/k/a Express Scripts Holding

Company) (“Evernorth”) is a Delaware corporation Evernorth Health, Inc.’s principal

place of business is at 1 Express Way, St. Louis, Missouri 63121.

        89.   Evernorth is the parent company to all of the Express Scripts entities

named as Defendants. Evernorth, through its executives and employees, controls the

enterprise-wide policies that inform all of Express Scripts’ lines of business in order

to maximize profits across the corporate family.

        90.   Evernorth’s conduct had a direct effect in Texas, including Webb

County.

        91.   Defendant Express Scripts, Inc. is a Delaware corporation and is a

wholly owned subsidiary of Evernorth Health, Inc. Express Scripts, Inc.’s principal

place of business is at 1 Express Way, St. Louis, Missouri 63121.

        92.   Express Scripts, Inc. is registered to do business in Texas and may be

served through its registered agent CT Corporation System, 1999 Bryan Street, Suite

900, Dallas, Texas 75201.

        93.   Express Scripts, Inc. holds active licenses (General Lines Agency and

Third Party Administrator) with the Texas State Department of Insurance.

        94.   Express Scripts, Inc. is the immediate or indirect parent of pharmacy

and PBM subsidiaries that operate throughout Texas that engaged in the conduct

which gives rise to this Complaint.


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        95.    During the relevant time period, Express Scripts Inc. was directly

involved in the PBM and mail order services businesses, including with respect to the

at-issue drugs, as well as Express Scripts’ data and research services.

        96.    Defendant Express Scripts Administrators, LLC, is a Delaware

limited liability company and is a wholly owned subsidiary of Evernorth Health, Inc.

Express Scripts Administrators, LLC’s principal place of business is at the same

location as Express Scripts, Inc.

        97.    Express Scripts Administrators, LLC is registered to do business in

Texas and may be served through its registered agent CT Corporation System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201.

        98.    Express Scripts Administrators, LLC holds an active Third Party

Administrator License with the Texas State Department of Insurance.

        99.    During the relevant time period, Express Scripts Administrators, LLC

provided PBM services in Texas, including Webb County, alleged in this complaint.

        100.   Defendant Medco Health Solutions, Inc. (f/k/a Merck-Medco)

(“Medco”) is a Delaware Corporation with its principal place of business located at

100 Parsons Pond Road, Franklin Lakes, New Jersey, and is a wholly-owned

subsidiary of Evernorth Health, Inc. Medco Health Solutions, Inc. was previously

known as Merck-Medco. Merck-Medco was acquired in the early 1990s by Merck &

Co. as its pharmacy benefit manager subsidiary. In 2002, Merck & Co. spun off

Merck-Medco into a publicly traded company, defendant Medco Health Solutions, Inc.




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        101.    Medco Health Solutions, Inc. is registered to do business in Texas and

may be served through its registered agent: CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

        102.    Defendant ESI Mail Order Processing, Inc. is a Delaware

corporation and is a wholly owned subsidiary of Evernorth Health, Inc.

        103.    ESI Mail Order Processing, Inc. is registered to do business in Texas and

may be served through its registered agent: CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201

        104.    During the relevant time period, ESI Mail Order Processing, Inc.

provided mail order pharmacy services in Texas, including Webb County, alleged in

this Complaint, which gives rise to the causes of action herein.

        105.    Defendant ESI Mail Pharmacy Service, Inc. is a Delaware

corporation and is a wholly owned subsidiary of Evernorth Health, Inc. ESI Mail

Pharmacy Service, Inc.’s principal place of business is at the same location as Express

Scripts, Inc.

        106.    ESI Mail Pharmacy Service, Inc. holds six active licenses with the Texas

State Board of Pharmacy and is registered with the DEA to dispense controlled

substances, including opioids.

        107.    During the relevant time period, ESI Mail Pharmacy Service provided

mail order pharmacy services in Texas, including Webb County, as alleged in this

Complaint, which gives rise to the causes of action herein.




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        108.    Defendant Express Scripts Pharmacy, Inc. is a Delaware

corporation and is a wholly owned subsidiary of Evernorth Health, Inc. Express

Scripts Pharmacy, Inc.’s principal place of business is at the same location as Express

Scripts, Inc.

        109.    Express Scripts Pharmacy, Inc. is registered to do business in Texas and

may be served through its registered agent: CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

        110.    Express Scripts Pharmacy, Inc. holds six active licenses with the Texas

State Board of Pharmacy and is registered with the DEA to dispense controlled

substances, including opioids. During the relevant time period, Express Scripts

Pharmacy, Inc. provided mail order pharmacy services in Texas, including Webb

County, alleged in this Complaint, which gives rise to the causes of action herein.

        111.    Express Scripts Pharmacy, Inc. and ESI Mail Pharmacy Service, Inc.

are referred to herein collectively as “Express Scripts Mail Order Pharmacy.”

        112.    In 2021, Express Scripts Mail Order Pharmacy was the third largest

dispensing pharmacy in the United States and reported $54.4 billion in prescription

revenues.

        113.    From 2006 to 2014, Express Scripts Mail Order Pharmacy bought over

22.9 billion MMEs of opioids spread over 1.1 billion opioid dosage units.

        114.    Defendant Express Scripts Specialty Distribution Services, Inc.

is a Delaware corporation and is a wholly owned subsidiary of Evernorth Health, Inc.




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Express Scripts Specialty Distribution Services, Inc.’s principal place of business is

at the same location as Express Scripts, Inc.

        115.   Express Scripts Specialty Distribution Services, Inc. is registered to do

business in Texas and may be served through its registered agent: CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

        116.   Express Scripts Specialty Distribution Services, Inc. holds two active

licenses with the Texas State Board of Pharmacy and is registered with the DEA to

dispense controlled substances, including opioids.

        117.   During the relevant time period, as alleged in more detail herein,

Express Scripts Specialty Distribution Services, Inc. worked directly with the opioid

manufacturers to expand the opioid market, including with Purdue and Endo to

administer and dispense opioids through these opioid manufacturers’ Patient

Assistance Programs, including in Texas.

        118.   Collectively, Defendants Evernorth Health, Inc., Express Scripts, Inc.,

Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI Mail Order

Processing, Inc., ESI Mail Pharmacy Service, Inc., Express Scripts Pharmacy, Inc.,

and Express Scripts Specialty Distribution Services, Inc., including all predecessor

and successor entities, are referred to as “Express Scripts” or “ESI.”

        119.   Express Scripts is named as a Defendant in its capacities as a: (1) PBM;

(2) data, analytics, and research provider; and (3) mail order pharmacy. During the

relevant time period, Express Scripts contracted directly with the opioid




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manufacturers in each of these capacities. At all relevant times, Express Scripts

performed these services in Texas and Webb County.

        120.   In 2019, Express Scripts merged with Cigna, Inc. Prior to merging with

Cigna, Express Scripts was the largest independent PBM in the United States.

        121.   In 2012, Express Scripts acquired Medco in a $29.1 billion deal.

        122.   Prior to 2012, Express Scripts and Medco were separate companies.

Standing alone, these companies were two of the largest PBMs in the country and

had been since at least the mid-1990s.

        123.   As a result of the merger, the combined Express Scripts was formed and

became the largest PBM in the nation.

        124.   Following the merger, all of Medco’s PBM and data and research

functions were combined into Express Scripts. The combined company (Medco and

Express Scripts) continued under the name Express Scripts with all of Medco’s clients

becoming Express Scripts’ clients and Medco’s top executives becoming Express

Scripts executives.

        125.   The chart represents the consolidation of PBM entities that that are now

all part of Express Scripts today:




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        126.   Express Scripts is now the largest PBM in the United States, with

annual revenue (as of 2022) of over $100 billion. Express Scripts provides pharmacy

benefit service to more than 100 million Americans, filling 1.4 billion prescriptions

per year.

        127.   At all times relevant hereto, Express Scripts offered pharmacy benefit

management services nationwide and maintained standard, national formularies

that were offered to and used by Express Scripts’ clients nationwide, including in

Texas and Plaintiff’s community. Express Scripts’ national formularies include its

National Preferred Formulary, Basic Formulary, High Performance Formulary, and

Prime Formulary. These Express Scripts formularies were utilized by prescription

drug benefit plans in Webb County throughout the relevant time period. At all times

relevant hereto, those formularies dictated the terms of reimbursement for opioids

dispensed in Texas and Webb County.

        128.   Express Scripts offers pharmacy benefit services to a variety of plan

sponsors with covered lives in the Webb County area, including both large national

companies and local/regional businesses.

        129.   Express Scripts (and/or its predecessors) processed claims for opioids

dispensed pursuant to Express Scripts’ national formularies and standard UM

guidelines in Webb County throughout the opioid epidemic.




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        2.     The Optum Defendants

        130.   Defendant UnitedHealth Group, Inc. (“UnitedHealth Group” or

“UHG”) is a corporation organized under the laws of Delaware with its principal place

of business at 9900 Bren Road East, Minnetonka, Minnesota, 55343.

        131.   UnitedHealth Group may be served through its registered agent: The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware 19801.

        132.   UnitedHealth Group holds an active license with the Texas Department

of Insurance.

        133.   UnitedHealth Group, Inc. is a Fortune 5 diversified managed healthcare

company. In 2022, UnitedHealth Group listed revenue in excess of $324 billion.

UnitedHealth Group, Inc. offers a spectrum of products and services including health

insurance plans and pharmacy benefits through its wholly-owned subsidiaries.

        134.   UnitedHealth Group operates through two connected divisions—Optum

and UnitedHealthcare (“UHC”). As discussed in greater detail below, Optum provides

PBM services; mail order pharmacy services; and data, analytics, consulting, and

research services. UHC provides health insurance and health benefit services.

        135.   UnitedHealth Group, through its executives and employees, control the

enterprise-wide policies that inform both UHC and Optum’s lines of business in order

to maximize profits across the corporate family.

        136.   UnitedHealth Group’s conduct had a direct effect in Texas, including

Webb County.


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        137.   Defendant Optum, Inc. is a Delaware corporation with its principal

place of business located in Eden Prairie, Minnesota. Optum, Inc. has previously held

a Texas taxpayer number with the Texas Comptroller.

        138.   Optum, Inc. is a health services company managing the subsidiaries

that administer UnitedHealth Group’s pharmacy benefits, including OptumRx, Inc.

        139.   Since 2005, Optum, Inc. has been a part of the UnitedHealth Group.

UnitedHealth Group has two major segments of its business: UnitedHealth Care

(“UHC”) which is its medical insurance arm and Defendant Optum, Inc., which

includes UHG’s PBM and research, data, and consulting arms. In 2022, UHC insured

over 46 million Americans and generated $249 billion in revenue.

        140.   Optum, Inc. is engaged in five types of business activities: (1) data

analytics; (2) pharmacy benefit management; (3) healthcare services; (4) mail-order

pharmacy dispensing; and (5) medical discount card services.

        141.   Defendant OptumInsight, Inc. (f/k/a Ingenix, Inc.) is a Delaware

corporation with its principal place of business located in Eden Prairie, Minnesota.

OptumInsight was formerly known as Ingenix, Inc. The name change came after the

State of New York investigated Ingenix related to a scheme to defraud consumers by

manipulating reimbursement rates, resulting in a $50 million settlement with the

State and giving rise to U.S. Congressional hearings.

        142.   OptumInsight, Inc. is registered to do business in Texas and may be

served through its registered agent, C T Corporation System, 1999 Bryan St., Suite

900, Dallas, TX 75201.


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        143.   OptumInsight, Inc. holds an active Third Party Administrator license

with the Texas State Department of Insurance.

        144.   Defendant OptumInsight Life Sciences, Inc. (f/k/a QualityMetric,

Inc.) is a Delaware corporation with its principal place of business located in Eden

Prairie, Minnesota. OptumInsight Life Sciences, Inc. is a wholly-owned subsidiary of

UnitedHealth Group (“UHG”). OptumInsight Life Sciences, Inc. has previously held

a Texas taxpayer number with the Texas Comptroller and has contracted with Texas

universities. Prior to 2011, OptumInsight Life Sciences, Inc. was known as

QualityMetric.

        145.   OptumInsight, Inc., OptumInsight Life Sciences, Inc., as well as their

predecessors, successors, affiliates, including but not limited to Innovus, Innovus

Research, i3, QualityMetric, HTAnalysts, ChinaGate, and CanReg, are referred to

herein as “OptumInsight.” OptumInsight is the Optum group that engages in data

analytics.

        146.   OptumInsight emerged from a collection of entities acquired by the

UnitedHealth Group over the years. Those legacy entities include Innovus,




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QualityMetric, HTAnalysts, ChinaGate, CanReg, Ingenix, and the Lewin Group.




        147.   As discussed more fully below, OptumInsight partnered with various

opioid manufacturers to create studies, marketing, educational programs, and even

identifying algorithms to simultaneously downplaying opioids’ addictive properties

and expand its use and availability throughout the country, including in Texas.

        148.   Defendant OptumRx, Inc. (“OptumRx”) is a California corporation

with its principal place of business at 2300 Main St., Irvine, California, 92614.

OptumRx is the arm of Optum that provides PBM and pharmacy dispensing services.



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        149.   OptumRx, Inc. is registered to do business in Texas and may be served

through is registered Agent CT Corporation System, at 1999 Bryan St., Ste. 900

Dallas, TX 75201.

        150.   OptumRx, Inc. holds four active licenses with the Texas State Board of

Pharmacy, an active Third Party Administrator license with the Texas State

Department of Insurance, and is registered with the DEA to dispense controlled

substances, including opioids.

        151.   Prior to 2011, OptumRx was known as Prescription Solutions. In

addition, as depicted in the PBM Consolidation Chart below, OptumRx grew as a

result of numerous mergers and acquisitions. For example, in 2012, a large PBM,

SXC Health Solutions, bought one of its largest rivals, Catalyst Health Solutions Inc.

in a roughly $4.14 billion deal. Shortly thereafter, SXC Health Solutions Corp.

renamed the company Catamaran Corp. Following this, UHG bought Catamaran

Corp. in a deal worth $12.8 billion and merged Catamaran with OptumRx.

        152.   Prior to merging with OptumRx (or being renamed), Prescription Health

Solutions, Catalyst Health Solutions, Inc., and Catamaran Corp. engaged in the at-

issue PBM and mail-order activities alleged more fully herein.

        153.   OptumRx now provides both PBM and mail-order dispensing services.

At all relevant times, OptumRx provided PBM services for entities in Webb County.

        154.   At all relevant times, OptumRx has sold and continues to sell

prescription opioids through its mail order pharmacies in Texas, including in Webb

County.


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        155.   OptumRx and all of its predecessors, including but not limited to

Prescription Solutions, Catalyst Health Solutions, Inc., SXC Health Solutions Corp.,

and Catamaran Corp. are referred to herein as “OptumRx.”

        156.   The consolidations that led to the emergence of OptumRx in its current

form are shown on the chart below:




        157.   Defendant OptumRx Discount Card Services, LLC is a Delaware

limited liability company with its principal place of business at 1423 Red Ventures

Drive Building RV4, 3rd Floor, Fort Mill, South Carolina 29707.

        158.   OptumRx Discount Card Services, LLC is registered to do business in

Texas and may be served through its registered agent: CT Corporation System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201.

        159.   OptumRx Discount Card Services, LLC (f/k/a HealthTran, Inc.,

Catamaran PBM of Colorado, LLC, and Catamaran Discount Card Services, LLC)

contracts with third-party businesses to administer prescription discount cards on

their behalf. For example, the AARP’s prescription discount card program is

“endorsed” by the AARP, but is otherwise run by Optum Discount Card Services,

which pays the AARP a royalty fee to the AARP for use of its intellectual property.

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        160.   Defendant Optum Perks, LLC is a Delaware limited liability

company with its principal place of business in Livonia, Michigan.

        161.   Optum Perks, LLC is registered to do business in Texas and may be

served through its registered agent: CT Corporation System, 1999 Bryan Street,

Suite 900, Dallas, Texas 75201.

        162.   Optum Perks, LLC (f/k/a Script Relief, LLC) is a discount card program

that originally started as a joint venture between Loeb Enterprises, LLC, and

Catalyst, where by 2012 Catalyst had a 47% ownership interest. Per Catamaran’s

2012 10-K, “Script Relief is a variable interest entity with Catamaran being the

primary beneficiary, as the Company's underlying PBM and pharmacy contracts

represent Script Relief's key business operations and the Company has the power to

direct these activities.”

        163.   By 2019, OptumRx, Inc. had fully acquired Script Relief and renamed

the program Optum Perks.

        164.   Defendant OptumHealth Care Solutions, LLC is a Delaware

limited liability company with its principal place of business at 11000 Optum Cir.,

Eden Prairie, Minnesota 55344.

        165.   OptumHealth Care Solutions, LLC is registered to do business in Texas

and may be served through its registered agent: CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201.

        166.   OptumHealth Care Solutions, LLC holds an active Third Party

Administrator license with the Texas State Department of Insurance.


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        167.   OptumHealth for a number of years partnered with Purdue to educate

many case managers, nurse practitioners, and medical directors throughout

UnitedHealth Group’s various enterprises. These programs were specifically

endorsed and coordinated through one of Optum Health’s national medical directors.

The content of these programs targeted pain as an undertreated disease, among other

issues, and contained the similar dangerous messaging regarding the use of

OxyContin that Purdue plead guilty to in 2007.

        168.   Defendant OptumHealth Holdings, LLC is a Delaware limited

liability company with its principal place of business at 11000 Optum Cir., Eden

Prairie, Minnesota 55344. OptumHealth Holdings, LLC has previously held a Texas

taxpayer number with the Texas Comptroller.

        169.   Defendant Optum Health Networks, Inc. is a Delaware corporation

with its principal place of business at 9900 Bren Road East, Minnetonka, Minnesota

55343.

        170.   Optum Health Networks, Inc. provides care services to enrolled

members of its subsidiaries and parents that includes care management services,

arranging for delivery of services, and managing client relationships and contracts

for access to said services.

        171.   Together, OptumHealth Care Solutions, LLC, Optum Health Holdings,

LLC, and OptumHealth Networks, Inc. are referred to herein as “OptumHealth.”

        172.   OptumHealth is a healthcare service provider that includes specialty

health services, health banking services, ancillary care networks, and health


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education and information services to both individuals and health care professionals.

It does this through four main lines of business: Care Solutions, Behavioral Solutions,

Specialty Benefits, and Financial Services. In 2022, OptumHealth served 102 million

individuals.

        173.   Relevant to the opioid epidemic and Plaintiff’s claims—detailed infra—

OptumHealth partnered with Purdue throughout the 2000s to provide “education” to

health care providers, including medical directors, nurse practitioners, case

managers, and care advisors throughout the country regarding the so-called

“undertreatment” of pain and expanding the use of opioids.

        174.   Collectively, OptumRx, Optum, Inc., Optum Discount Card Services,

LLC, Optum Perks, LLC, OptumHealth Care Services, LLC, OptumHealth Holdings,

LLC, Optum Health Networks, Inc., and OptumInsight are referred to herein as

“Optum.”

        175.   Optum is named as a Defendant in its capacities as a: (1) PBM; (2) data,

analytics, consulting, and research provider; and (3) mail-order pharmacy. During

the relevant time period, Optum contracted directly with opioid manufacturers in

each of these capacities. At all relevant times, Optum performed these services and

derived substantial revenue in Texas, including in Webb County.

        176.   Optum, Inc. is a health services company comprising three sectors—

OptumRx, which manages pharmacy benefits for both UHC and third party clients;

OptumHealth, which provides medical services as well as education and support for




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individuals throughout the country; and OptumInsight, which is the data, research,

and consulting sector.

        177.   OptumRx is the third largest PBM in the United States. It provides

PBM services to more than 65 million people.

        178.   At all times relevant hereto, OptumRx offered pharmacy benefit

management services nationwide and maintained standard, national formularies

that were offered to and used OptumRx’s clients both across the country and in Webb

County. At all times relevant hereto, those formularies included opioids, including

those at issue in this case. OptumRx national formularies include the Essential

Health Benefits, Generic Centric, Core Standard, Core Choice, Select Standard,

Select Choice, Premium Standard, and Premium Choice.

        179.   Optum (and/or its predecessors) processed claims for opioids dispensed

pursuant to Optum’s standard, national formularies and utilization management

guidelines in Webb County throughout the opioid epidemic.

        180.   In addition to its pharmacy benefit services, Optum entities also provide

services related to pharmaceutical reimbursement and dispensing that generate

revenue and benefit from a lack of opioid controls.

        181.   At all times relevant hereto, Optum offered mail-order pharmacy

services and dispensed opioids in Texas, including Webb County.

        182.   In 2021, Optum’s mail order pharmacy was the fourth largest

dispensing pharmacy in the United States and received $34.2 billion in prescription

revenues.


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        183.   From 2006 to 2014, Optum’s mail order pharmacy bought over 4.5 billion

MMEs of opioids spread over 252 million opioid dosage units.

        184.   OptumInsight, Optum’s data, research, and consulting arm, is one of the

largest health information, technology, and consulting companies in the world. It

collects, processes, sells and profits from the vast data all managed lives—which in

2011 covered over 75 million lives. It also provides clinical research, consulting,

marketing advisory services, and analytics tools to its clients.

        185.   OptumInsight is an integral part of the conduct that gives rise to

Plaintiff’s causes of action. As alleged in detail herein, throughout the relevant time

period, OptumInsight worked directly with opioid manufacturers to convince

patients, prescribers, payors and the public that long term opioid use was appropriate

for the treatment of chronic pain and that opioids were not addictive.

        186.   Each opioid manufacturer had dedicated executives assigned to work

with OptumInsight. The opioid manufacturers used their relationships with

OptumInsight to deepen their ties to the overall Optum corporate family.

        187.   OptumInsight was paid tens of millions of dollars by the opioid

manufacturers during the relevant time period for its work to expand the opioid

market.

IV.     The Role of PBMs in Prescription Drug Transactions

A.      PBMs Operate on All Sides of Prescription Drug Transactions

        188.   PBMs such as Express Scripts and OptumRx contract with insurers,

self-insured employers, and state and federal government agencies (referred to by the

PBMs as their “clients”) to provide pharmacy benefit management services. One of
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the services the PBMs provide is to create standard, national formularies and UM

programs. The PBMs offer these standard formularies and UM programs to their

clients, and most clients adopt these standard offerings for their prescription drug

plans without modification. In crafting these standard formularies and UM

programs, PBMs review and make determinations regarding which medications are

effective or appropriate. PBMs also review and pay claims for the drugs dispensed to

their covered lives. As a result, PBMs exert significant influence over prescriptions

dispensed in the United States and in Texas, including influencing the quantity,

dosage strength, duration, and refill availability for each prescription. PBMs also

collect and maintain all of the data associated with all of the prescriptions dispensed

to their covered lives, giving them granular insight into the ongoing health and

pharmaceutical patterns of these patients. This data is available to the PBMs when

they craft their standard formularies, implement standard UM programs and even

informs standard “retrospective utilization” programs that offer services to patients

after a prescription has been filled.

        189.   Although PBMs contract with third-party payors to provide pharmacy

benefit management services, they also contract with drug manufacturers and with

pharmacies. They are paid by their clients to make safe and effective drug therapies

available to their covered lives. But, as described below, they are also paid by drug

manufacturers to provide the greatest access to their products, so as to increase sales,

with little to no regard for safety or efficacy. And they are paid by the pharmacies

where the plan beneficiaries’ prescriptions are filled, to verify coverage but also to


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assist the pharmacy in ensuring that a prescription is appropriate. Thus, in any given

transaction, a PBM may be receiving money from both the payor and the pharmacy

to exercise independent judgment about whether to authorize payment for a

prescription, while also receiving money from the manufacturer to ensure that the

sale is made.

        190.    The business model that PBMs, including the PBM Defendants, use is

thus rife with conflicts of interest and self-dealing through which they have enriched

themselves at the expense of their clients and the public. Inherent in the services

offered by the PBM Defendants in their agreements with the opioid manufacturers

(and with pharmacies) are the same services for which they are already ostensibly

receiving payment from their clients, albeit with the incentives often running in the

opposite direction.

        191.    This chart illustrates the central role the PBM Defendants play in the

prescription drug market:6




6   The Commonwealth Fund, Pharmacy Benefit Managers and Their Role in Drug
    Spending                    (Apr.                 22,                  2019),
    https://www.commonwealthfund.org/publications/explainer/2019/apr/pharmacy-
    benefit-managers-and-their-role-drug-spending.
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        192.   It is in part because of the multiple roles that PBMs play in prescription

drug transactions that they have access to, and collect, the vast amounts of data they

have. No other party has access to so much data because no other party is so

thoroughly embedded into every aspect of prescription drug prescribing and

dispensing.

        193.   Yet rather than use their vast data resources to craft formulary and UM

offerings that would address the dangers of opioids and help reduce utilization of

these dangerous drugs, the PBM Defendants instead worked with opioid

manufacturers to adopt policies and offerings that drove opioid utilization and helped

fuel the epidemic. In pursuit of opioid profits, the PBM Defendants intentionally



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disregarded their obligations, to the detriment of communities around the country,

including Webb County.

B.      PBMs Use Their Formularies as Leverage to Negotiate with Drug
        Manufacturers

        194.   Formularies are a central tool that PBMs, including the PBM

Defendants, offer to clients for use in designing, managing and publicly identifying

the extent of the coverage and benefits provided to their covered lives. Because

formulary listing affects how much a patient pays for a drug, formulary placement

makes a prescriber more likely to prescribe, and a patient more likely to pay for,

certain drugs over others. Indeed, driving drug utilization is one of the key purposes

and functions of formulary design, implementation, and management.

        195.   Moreover, the PBMs’ clients rely upon the PBM Defendants’

formularies. The Pharmaceutical Care Management Association (“PCMA”), the PBM

trade association, testified to the Pennsylvania House of Representatives that even

sophisticated clients rely almost entirely on PBMs to manage their drug benefit.7

Indeed, it is their expertise that the PBMs are marketing to their clients, so it makes

sense that most clients rely on that expertise and, lacking their own expertise, have

little choice but to do so. Many PBM clients utilize the PBMs’ standard national

formularies. Even though there may be a few large, sophisticated clients that

ostensibly use “custom” formularies, in reality, these formularies often either mirror

the PBMs’ standard formularies or were constructed in large part by the PBMs.


7   \ Letter from Barbara Levy, Vice President of PCMA to Matthew E. Baker,
    Pennsylvania House of Representatives, Comm. on Health.
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        196.   Since the PBM Defendants’ standard formulary offerings heavily

influence drug reimbursement terms for 160+ million covered lives, the PBMs have

significant leverage when negotiating with brand drug manufacturers. The PBM

Defendants use this leverage to maximize the amount of rebates paid to them by

brand drug manufacturers, including opioid manufacturers. These rebates are paid

to the PBMs on every eligible drug dispensed; thus, the more the PBMs drive

utilization, the more rebates are paid by opioid manufacturers to the PBMs.

        197.   Rebate eligibility is a critical factor. In a typical PBM rebate contract

with an opioid manufacturer, eligibility for rebate payments is tied to the way a

particular drug is treated on the formulary and whether the drug is or is not

“restricted” by UM. Put differently, if a drug is placed on a non-preferred tier, or if

the drug is restricted by UM programs, rebates will either be adversely impacted or

not paid at all.

        198.   Thus, the PBM Defendants are incentivized to structure their standard

formulary and UM offerings in ways that enhance and do not restrict opioid

utilization so that they can maximize the rebate payments for which they will be

eligible.

        199.   PBMs do at times share manufacturer rebates with their clients. But

the PBM Defendants generally pass through only a portion of these rebates to their

clients and retain the rest as profit. As a result, the PBM Defendants have profited

handsomely      from   rebates   received   from   drug    makers,   including   opioid

manufacturers, for each brand drug sold.


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        200.   In addition, if a PBM can generate higher volume (more sales) for

manufacturers, it can then negotiate higher rebates that the manufacturer will pay

to the PBM (which in turn increases the PBMs’ profit).

        201.   PBMs also make money other ways by increasing the volume of

prescriptions that are sold to their covered lives. One way is through money that the

PBMs earn on “spread pricing.” Spread pricing is where a PBM will charge its client

a higher price for a prescription than what the PBM pays the pharmacy for the same

drug. The PBM will then pocket the difference in this price spread as profit. Spread

pricing is particularly profitable for the PBMs for generic drugs, including generic

opioids. Put simply, the more generic opioid prescriptions dispensed to the PBMs’

covered lives, the higher profit the PBM earns through this spread pricing.

        202.   Ultimately, PBMs are very much incentivized to keep sales volumes

high for both generic and brand opioids.

        203.   As a result, PBMs—including Defendants here—have a monetary

interest in ensuring that favored drugs are covered, prescribed, and dispensed.

        204.   The structure of the pharmacy benefit market also aids the PBM

Defendants’ efforts to maximize opioid manufacturer rebates. PBM Defendants

became a major force in the late 1980s, expanding from solely processing pharmacy

claims to a business model that invited drug manufacturers to negotiate prices in

several drug categories.   Because of market consolidation, the PBM Defendants

control a significant portion of the pharmacy benefit market. The PBM market is thus

highly concentrated, both within Texas and throughout the United States.


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        205.   In contrast, the market for their clients is much less concentrated, with

the largest companies accounting for less than two-thirds of the business in 2014. For

brand-name drug manufacturers, thirteen companies account for 90% of the U.S.

pharmaceutical market. Thus, it is typical to have one of the (large) PBMs negotiating

with the (large) opioid manufacturers on behalf of a number of relatively small

clients.

        206.   The small world consisting of the PBM Defendants and approximately

ten opioid manufacturers facilitated collusive negotiations that benefitted the

manufacturers and the PBM Defendants at the expense of patient health and safety.

For example, PBMs have typically used their clout to negotiate master rebate

agreements on behalf of all their covered lives. Rather than negotiate with respect to,

or on behalf of, particular clients or particular plans, they enter into master

agreements that will apply across the board. As a result, in the world of drug price

negotiation, market power is most highly concentrated among the PBM Defendants,

who have more negotiating leverage than any individual drug manufacturer or health

plan on either side of a transaction.

        207.   These negotiations can be of such great financial importance to

pharmaceutical companies and the PBM Defendants that they are often attended by

senior executives up to and including the chief executives, which has also facilitated

the formation of personal business relationships and an understanding of the

common purpose of the negotiations between the PBM Defendants and the opioid

manufacturers.


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        208.   Because the PBM Defendants are paid based on the volume of

prescriptions, including for opioids, that flow through their formularies, restricting

this flow would cause the PBM Defendants to lose substantial revenue.

        209.   Moreover, rebate payments are only part of the payments PBM

Defendants receive from opioid manufacturers. In addition to rebates, drug

manufacturers, including opioid manufacturers, have paid the PBM Defendants

substantial amounts of various “administrative fees” and “service fees” in exchange

for, among other things, ensuring a given drug’s formulary placement and providing

various services to the drug makers—the same services they are already being paid

to provide to their clients.

        210.   For example, Express Scripts’ standard form of contract discloses that it

receives    “administrative    fees”   for,   among   other   things,   providing   opioid

manufacturers access to “drug utilization data, and receives “service fees” (which are

explicitly described as separate from both rebates and administrative fees) for

“formulary compliance initiatives, clinical services, therapy managements services,

education services, medical benefit management services, including, for example,

formulary compliance initiatives, clinical services, therapy management services,

education services, medical benefit management services, and the sale of non-patient

identifiable claim information”:

        ESI provides administrative services to formulary rebate contracted
        manufacturers, which include, for example, maintenance and operation
        of the systems and other infrastructure necessary for managing and
        administering the PBM formulary rebate process and access to drug
        utilization data, as allowed by law, for purposes of verifying and
        evaluating the rebate payments and for other purposes related to the
        manufacturer’s products. ESI receives administrative fees from the
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        participating manufacturers for these services. These administrative
        fees are calculated based on the price of the rebated drug or supplies
        along with the volume of utilization and do not exceed the greater of (i)
        4.58% of the average wholesale price, or (ii) 5.5% of the wholesale
        acquisition cost of the products. In its capacity as a PBM company, ESI
        also may receive service fees from manufacturers as compensation for
        the performance of various services, including, for example, formulary
        compliance initiatives, clinical services, therapy management services,
        education services, medical benefit management services, and the sale
        of non-patient identifiable claim information. These service fees are not
        part of the formulary rebates or associated administrative fees.8

        211.   The PBM Defendants are able to minimize the portion of monies from

drug manufacturers that they pass along to their clients in part through misleading

labeling of the various payments. This lack of transparency, and the PBM

Defendants’ central role in ensuring it, has allowed the PBM Defendants to conceal

their collusion with the opioid manufacturers from their own clients and from the

public.

        212.   As industry expert Linda Cahn observed, “[i]f a PBM enters into

contracts with drug manufacturers and chooses to give rebates another name—like

administrative fees or health management fees or grants—the PBM will arguably

eliminate its obligation to pass through the financial benefits to its clients.”9

        213.   Administrative fees can make up a substantial portion of the total dollar

amount of drug company payments to a PBM. According to pharmacy-benefits




8
    ESI_JEFFCOMO_000231588 (1/1/14).
9   Jeanne Pinder, “Don’t Get Trapped By PBM’s Rebate Labeling Games: Managed
    Care magazine by Linda Cahn” Clear Health Costs (Feb. 26, 2018),
    https://clearhealthcosts.com/blog/2018/02/dont-get-trapped-pbms-rebate-labeling-
    games-managed-care-magazine/.
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consultant David Dross, administrative fees can amount to 25-30% of total payments

from drug companies like Purdue.

         1.     Express Scripts’ Formularies

         214.   Express Scripts develops its operative national formularies utilizing

three committees—Therapeutic Assessment Committee (“TAC”), Pharmacy &

Therapeutics Committee (“P&T”), and the Value Assessment Committee (“VAC”).

The TAC reviews the clinical properties of new drugs and pre-existing drugs (to the

extent new or developing clinical information warranted such review) and prepares

research memoranda discussing the benefits and drawbacks for each drug. The TAC

also makes recommendations regarding whether any particular drug under review

should or should not be included on Express Scripts’ national formularies. The TAC’s

research memoranda and recommendations are then provided to the Express Scripts’

P&T Committee.

         215.   The P&T Committee consists of outside, third-party medical providers

who were not employees of Express Scripts. Express Scripts claims that the P&T is

fully independent and exercises its own clinical judgment. Express Scripts further

claims that “the P&T Committee considers the drug’s safety and efficacy,” and the

company “fully compl[ies] with the P&T Committee’s clinical recommendations

regarding drugs that must be included or excluded from the formulary based on their

assessment of safety and efficacy.”10




10   Eichholz Dep. 33-39. (emphasis added).
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        216.   The P&T reviews the research memoranda provided by TAC. The P&T

then places each drug it reviewed into one of three categories: “must include,” which

meant that the drug must be included on Express Scripts’ national formularies; “must

exclude,” which meant the drug could not be included on Express Scripts’ national

formularies; and “optional,” which meant that the drug could or could not be included

on national formularies, at the discretion of yet a third committee.

        217.   This third committee is known as the VAC. Like the TAC, the VAC also

consists of Express Scripts employees. But, in important other respects, the VAC is

different. Notably, while Express Scripts represents that neither the TAC nor the

P&T is supposed to consider any financial or economic factors, the VAC expressly

considers financial factors. The financial factors considered by the VAC include

rebates and administrative fees paid by manufacturers, including the opioid

manufacturers. At all times Express Scripts has benefited from these rebates and

administrative fees, because Express Scripts retains some portion of them. After

giving consideration to these financial factors, the VAC is then the committee that

actually constructs the Express Scripts’ national formularies, and determines on

which tier a drug is placed. The lower the tier, the greater the access/utilization.

        2.     Optum’s Formularies

        218.   OptumRx develops its formularies through a process primarily involving

the following committees: the Clinical Programs Subcommittee (“CPS”); Drug

Intelligence; the National Pharmacy and Therapeutics Committee (“P&T”); and the

Business Implementation Committee (“BIC”).


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        219.   The CPS is an advisory subcommittee of the P&T. CPS’s role is to: (1)

review and approve treatment guidelines for patients with specific conditions; (2)

review and approve clinical algorithms for disease state management and other

clinical activities; (3) review and approve prior authorization algorithms and decision

support tools; (4) provide expert guidance to the P&T regarding national and local

guidelines for medical care; (5) review certain UM for medications and make

recommendations to the BIC committee based on those reviews.

        220.   OptumRx’s P&T committee’s role is to: (1) review PBM formularies and

PDLs at least annually for drug inclusions/exclusions; (2) review and approve clinical

guidelines and/or criteria and procedures related to the timely use of and access to

medications annually; (3) create procedures that guide UM tools and formulary

management activities; and (4) advise on clinical education programs for plan

sponsors’ members, health care provider networks, plan participants, and pharmacy

providers.

        221.   OptumRx’s P&T committee creates recommendations on formulary

inclusion, UM, and clinical programs that are then provided to the BIC. The BIC

determines the tiering and UM for the OptumRx national formularies. The BIC’s

recommendations are informed by “financial analysis.” When determining clinical

program, or UM strategies, the BIC also considers economic and pharmacoeconomic

evidence.




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        222.   Once the BIC has made its final recommendations regarding formulary

placement and utilization management for medications, it communicates those to

OptumRx. The final formularies are then provided to the client.

C.      PBMs’ Drug UM Programs

        223.   In connection with their formulary development, PBMs, including the

PBM Defendants, also create standard drug UM programs and rules, which they offer

to their clients and which most clients adopt.

        224.   One example of UM offered by the PBM Defendants since at least the

late 1990s is a “quantity limit,” or QL, which is a utilization management tool that

limits the total dosage of a particular drug that a beneficiary may receive. Another

example is a “step edit” or “step therapy,” which requires a patient to try a different

drug (designated by the PBM) before the patient can receive the drug they were

prescribed. Another is a “prior authorization,” or PA, which is a tool that requires a

clinical follow-up with the prescribing physician prior to the drug being dispensed to

double-check and make sure the prescription is appropriate for the patient

beneficiary.

        225.   Studies, including those conducted by the PBM Defendants themselves,

have shown that implementing PAs can reduce the utilization of dangerous and

addictive drugs like OxyContin. Thus, like their standard formulary offerings,

standard UM offerings are another tool the PBM Defendants use to steer patients.

UM tools, if used as intended, should act as an impediment to patients gaining access




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to drugs that are susceptible to oversupply and abuse, or that are more costly than

others.

        226.   Express Scripts and OptumRx’s business is set up on a model of

standardization. While clients have the option to design their own programs, most

clients accept the PBM Defendants’ standard formularies and UM programs, like step

therapy, prior authorizations and drug utilization review (“DUR”) edits. Thus, it is

the manner in which Express Scripts and OptumRx construct their standard

formularies and programs (outside of any client interaction) that has an enormous

influence on drug utilization.

        227.   The amount of influence that each PBM Defendant had over drug

utilization was a frequent topic of discussion between the PBM Defendants and the

opioid manufacturers that was central in the parties’ discussions about rebates and

administrative fees. The more a PBM Defendant could drive market share to or away

from a drug by controlling formulary and UM decisions, the more an opioid

manufacturer was willing to pay.

        228.   Notably, the PBM Defendants leverage their ability to steer drug

utilization to generate substantial profits. Indeed, Express Scripts and Optum profit

from every branded and generic opioid sold in myriad ways.

        229.   Express Scripts and OptumRx have always had the ability to provide

baseline opioid UM controls for its clients, which they did on September 1, 2017 (when

Express Scripts offered its Advanced Opioid Management program) and January 1,

2018 (when it kicked off its Opioid Risk Management Program).


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D.      PBMs Contract with Pharmacies

        230.   As noted above, PBMs, including the PBM Defendants, also contract

directly with retail pharmacies to dispense drugs to a patient.

        231.   Express Scripts contracts with approximately 65,000 retail pharmacies,

representing over 98% of all retail pharmacies in the United States. These

pharmacies become part of Express Scripts’ network for coverage purposes.

        232.   Similarly, Optum contracts with a network of more than 70,000 retail

pharmacies and multiple delivery facilities.

        233.   When a pharmacy is in the network with Express Scripts and Optum

(and generally with both), a covered life pays out-of-pocket for a small portion of the

prescription and the PBM arranges for direct payment to the pharmacy of the

remainder of the cost of the prescription. In this way, covered lives need not advance

the cost of their prescriptions and seek reimbursement afterwards.

        234.   In connection with contractual arrangements with their network

pharmacies, the PBM determines the patient’s copay and how much it will reimburse

pharmacies for each medication covered under the drug plan. PBMs generally pre-

determine how much each drug covered under their standard formularies should cost,

and this determination affects the amount they reimburse to the pharmacies.

Critically, the PBM Defendants also receive real-time claims data from pharmacies

at the point of sale, as part of their electronic adjudication of claims, which includes

determining eligibility for reimbursement and conducting concurrent drug utilization

review (“cDUR,” discussed in detail below).


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        235.   As described below, pursuant to its contracts with its network of

pharmacies, Express Scripts undertakes to perform “drug utilization review” and to

provide mechanisms to ensure safe dispensing. Express Scripts claims that it uses

drug utilization review to “review prescriptions for safety and effectiveness, in real-

time, electronically and systematically, when presented to our pharmacies or

submitted for coverage by network pharmacies, and alert the dispensing pharmacy

to detected issues. Issues not adequately addressed at the time of dispensing may

also be communicated to the prescriber retrospectively.”11

        236.   Through its contracts with its network pharmacies, Optum similarly

undertakes to perform services, including drug utilization review, to ensure safe

dispensing.

V.      The PBM Defendants’ Role in Causing the Opioid Crisis

A.      The PBM Defendants and the Opioid Manufacturers Colluded to
        Ensure Virtually Unfettered Access to Opioids

        1.     The PBM Defendants Negotiated with the Opioid
               Manufacturers to Give Opioids Favorable Placement on
               National Formularies in Exchange for Rebates and Other Fees

        237.   As noted above, PBMs have significantly more market power than the

drug manufacturers with whom they negotiate drugs prices and formulary

placement. The vast market power of the PBM Defendants compared to their clients

has allowed the PBM Defendants to negotiate deals with the opioid manufacturers

for the payment of additional rebates and other fees that the opioid manufacturers




11   OPTUMRX_JEFFCO_0000616539; OPTUMRX_JEFFCO_0000443821.
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pay to the PBMs that induced the cooperation of the PBM Defendants and the opioid

manufacturers to work together in a fraudulent scheme.

           238.   The terms of the agreements between opioid manufacturers and the

PBM Defendants are considered extremely confidential by the PBM Defendants and

are not even disclosed to their health plan clients. As a result, until key highly

confidential documents were recently obtained in discovery in In re: National

Prescription Opiate Litigation, Case No. 1:17-md-2804-DAP (N.D. Ohio), and other

opioids litigation, there has been little public insight into how these agreements

affected the volume of opioids flooding American households.

           239.   From the time it first released OxyContin, Purdue pushed its sales force

to “Sell, Sell, Sell OxyContin.”12 In an early sales memo in 1996, Purdue’s head of

sales stressed that his team should “[r]emain focused on positioning OxyContin as

the opioid to start with and stay with in chronic malignant and non-malignant pain

states. In addition, continue to aggressively position OxyContin for use in

osteoarthritis, low back pain, post neuropathic neuralgia and post-surgical

applications.”13

           240.   Purdue’s aggressive marketing campaign worked and OxyContin sales

exploded in the years following its release, reaching almost $2 billion in annual sales

by 2003. In addition, during this same time period the annual number of OxyContin




12   PDD1503490547.
13   Id.
                                              68

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prescriptions for noncancer pain increased nearly tenfold, from about 670,000 in 1997

to about 6.2 million in 2002.

        241.   During this time of rapidly expanding OxyContin sales, Medco was the

largest customer of Purdue products. For example, in 1996, Medco was the largest

PBM in the country and received over one-third of the rebates paid by Purdue for all

opioid sales. By 2001 and 2002, Medco’s gross sales of Purdue opioids totaled $250.4

million and $281 million respectively, “making [Medco Purdue’s] largest customer.”14

        242.   When OxyContin was first released, Medco made several attempts to

restrict its utilization. For example, in early 1996, Medco established a “ceiling dose”

quantity limit for OxyContin of 80 mgs/day because of the potential for abuse for that

drug.

        243.   In January 1997, Purdue received notice from “pain clinic doctors” that

Medco was sending letters to prescribers because of a “concern[] about abuse

potential” in patients taking OxyContin for chronic non-malignant pain.15 Medco’s

concerns were forwarded up to several high ranking Purdue executives, including the

president of the company, Richard Sackler. James Lang, head of marketing and sales

at Purdue, explained, “Our success with OxyContin is starting to create concerns

amongst the large PBMs as you already know because they recognize we are targeting




14   PPLPC012000064369.
15   E513_00045035.
                                          69

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non cancer pain. This goes beyond their initial perception that [OxyContin] was

primarily a cancer pain medication.”16

           244.   While this issue was originally presented as a concern about addiction

and abuse, a number of Purdue executives saw this as pretextual, and thought that

Medco’s true intentions were focused on cost and extracting larger rebates.

           245.   For example, when Purdue’s medical director Paul Goldenheim

suggested, “[w]e need to talk to Medco and others about addiction,” Purdue’s

president Richard Sackler responded, “we should consider that ‘addiction’ may be a

convenient way to ‘just say ‘NO’ and when this objection is obliterated, [Medco] will

fall back on the question of cost.”17

           246.   Mark Alfonso, Purdue’s vice-president of marketing, also weighed in:

“My impression of this issues is that there are several major products . . . that are

growing at a great rate and [managed health care]18 organizations are not slowing

them. . . I also believe that a lot of what [Purdue’s Managed Care Account Executives]

hear from their accounts is with the intention of softening them up before the

[managed health care] asks for more aggressive rebates. They are told ‘I am going to

drop you from the formulary’ for several months and then one day they are told if you

give me higher rebate you can keep OxyContin in the formulary.”19




16   E513_00006452; E513_00045035; PDD9316506319.
17   Id.
18
     Purdue refers to payors, such as the PBM Defendants, as “managed care.”
19   E513_00006452.
                                             70

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        247.     Purdue executives did, however, recognize the substantial threat this

posed to OxyContin’s success—if Purdue did not take immediate action to address

Medco’s economic concerns it could be an existential threat to Purdue’s business.

Sales and marketing executive Michael Friedman (who would later become Purdue’s

CEO), stated, “If we do not do [demonstrate the economic value of OxyContin], I can

promise you that we will eventually be shut out. . . This is a serious matter that we

cannot ignore and that we must discuss . . . We cannot go on ignoring the reality of

[the PBMs’] economic proof requirements . . . If we are to stay in business we need

this proof of economic performance.”20

        248.     Purdue’s own data shows the impact that a major payor (such as Medco)

moving OxyContin from a preferred formulary tier to an excluded product has on

utilization:21




20   E513_00045035.
21   PPLPC030000773368.
                                            71

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        249.   Ultimately, in response to Medco’s actions in 1996, Purdue determined

that it needed to expand the OxyContin market by demonstrating the economic value

of OxyContin in chronic non-cancer pain use to Medco and other PBMs. As Paul

Goldenheim, Purdue’s medical director, explained to Richard Sackler: “We have the

tiger by the tail, and I wonder if we should add more muscle. Let’s discuss over live

sushi!”22

        250.   Importantly, had Medco in 1997—Purdue’s largest customer at that

time—excluded OxyContin from its formularies or put in place hard UM edits (i.e.



22   E513_00045035.
                                          72

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prior authorizations) to restrict OxyContin use in non-cancer pain treatment it would

have had a substantial impact on the success of OxyContin and would possibly have

driven the drug off the market. Other major payors at that time, such as Cigna, had

excluded OxyContin from their formularies. OptumRx (then known as Prescription

Solutions) also refused to put OxyContin on its commercial formularies in 1997, due

to concerns regarding the abuse potential of oxycodone (the active ingredient in

OxyContin), especially considering its limited comparative effectiveness to morphine

sulphate.

        251.   Medco, however, did not take action to exclude or restrict the sales of

OxyContin. To the contrary, within three months of this exchange between Purdue

executives, as detailed in this May 1997 Purdue memo, Medco had completely

reversed course and “become very interested in ‘partnering with Purdue’” on

numerous projects to expand opioid use into the chronic pain market:23




23   PPLPC025000003668.
                                          73

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        252.   Notably, within three years of this memo, Joe DaBronzo, Medco’s

Director of Utilization Management, took a position as an executive director at

Purdue.

        253.   As a first step reflecting its new “partnership” with Purdue, Medco

significantly raised its quantity limits on OxyContin. As discussed above, Medco
                                         74

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initially implemented an 80 mg/day quantity limit at the release of OxyContin.

However, within five months of the release and following further discussions with

Purdue, Medco doubled it to 160 mg/day by May 1996. And by at least 2001, Medco

again doubled this quantity limit and the “most restrictive [quantity limit] that

Medco would recommend is for 320mg/day as per [Purdue’s] platform.” 24 For

comparison, Express Scripts’ current Advance Opioid Program has a 90 MME/day

opioid quantity limit for opioid naïve patients. Medco’s 320mg/day is equivalent to

480 MME/day—over four times the limit that Medco originally placed on OxyContin

upon its release, as well as over five times the limit that Express Scripts now imposes

on the drug.

        254.   This covert collusion between the PBM Defendants and the opioid

manufacturers opened the flood gates to the unfettered formulary access for their

opioids in exchange for rebates and other fees.

        255.   The PBM Defendants’ influence over formulary positioning has been a

key contributor to the ongoing relationship with the opioid manufacturers, because

the manufacturers pay rebates and other fees based on the PBM Defendants’ ability

to deliver favorable drug placement within their standard formulary offerings.

Because favorable formulary status is likely to increase a drug’s usage and sales, and

formulary exclusion (or a downgrade in formulary position) is likely to reduce a drug’s

usage and sales, the rebates and other fees are conditioned on a drug’s formulary

status. As Cottingham & Butler (a national insurance broker) noted in a client


24   PPLPC012000064369.
                                          75

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presentation, PBMs have “unilateral control . . . over formularies and tiering—driving

greater profits for PBMs through rebates[.]”25

         256.   The PBM Defendants and the opioid manufacturers regularly discussed

and agreed about which, if any, UM measures would be utilized for particular opioid

drugs.

         257.   As discussed above, the PBM Defendants maintain internal committees

that determine which drugs are placed on their formularies. These committees are

comprised of company personnel. In addition, the PBM Defendants have trade

relations employees who are responsible for negotiating rebate agreements with drug

manufacturers. Express Scripts refers to this committee as the Trade Relations

Group and Optum refers to this committee as the Industry Relations Group.

         258.   Years ago, the PBMs devised and managed what were known as “open”

formularies: formularies that offered varying degrees of plan coverage and benefits

for virtually all available FDA-approved drugs. Consequently, with open formularies,

drug companies strived to have their drugs placed by PBMs on the portion of the

formulary that allowed the easiest (and least expensive) access to their drugs.

         259.   By the 2000s, however, the PBM Defendants began shifting to “closed”

formularies as the standard offerings to their clients. “Closed” formularies provide

tiered benefits, but unlike open formularies, they restrict the overall number of drugs




25Nancy Daas, “Prescription Drug Plan Strategies,” Cottingham & Butler (Mar. 2017)
  https://www.cottinghambutler.com/wp-content/uploads/2017/03/Prescription-Drug-
  Strategies.pdf.
                                          76

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that are on the formulary. For the past two decades, most PBM covered lives have

been governed by closed formularies.

           260.   As noted above, the PBM Defendants have greatly influenced access to

opioids through formulary placement. Preferential formulary placement, such as

being listed on a lower cost tier, increases a drug’s utilization. Additionally, the PBM

Defendants have influenced access to opioids through UM measures they utilize (or

elect not to utilize) as part of their standard formularies. When implemented

properly, UM measures could have restricted much of the flow of opioids entering the

market.

           261.   Since at least 2000, opioid manufacturers have paid rebates and other

fees to Express Scripts and Optum in exchange for preferred formulary placement for

their opioid products.

           262.   The opioid manufacturers early on recognized that Express Scripts and

Optum would provide unrestricted formulary status on their standard formularies in

exchange for rebates and other fees. For example, in a candid February 15, 2000 email

exchange, Purdue Managed Care Account Executive David Wallen explained that he

could get Express Scripts “to steer [OxyContin] prescriptions” to retail pharmacies

because of the rebates it received.26 According to Wallen, “Express Scripts makes their

money from the rebate, so they cannot make any money on this account if they do not

get rebates.”27 In a later February 25, 2000 email, Wallen explained that Express



26   PPLPC024000012498 (2/28/00).
27   Id.
                                             77

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Scripts pressured its clients to put OxyContin on its formularies without restrictions:

“[Express Scripts puts] pressure on [their client] to put OxyContin on formulary . . .

because they make their money from rebates, and they do not get rebates if

OxyContin is [subject to UM restrictions that reduce prescriptions].”28

           263.   For almost every year since 2001, Express Scripts and Medco granted

OxyContin preferred formulary placement in its standard, national formularies.

           264.   Internal Express Scripts documents show that by 2013, some within

Express Scripts believed that, with respect to OxyContin, Express Scripts was “out of

alignment with the rest of the PBM/Health Plans in . . . putting this drug on a

preferred tier (and) that other organizations have leaned more towards taking a

harder stance on this highly abused medication.”29

           265.   By the time of the Express Scripts-Medco merger, internal Purdue

meeting notes reflect that in a meeting between Express Scripts/Medco and Purdue,

Express Scripts/Medco representatives stated that “when Medco reviewed the drug

spend for 2013, OxyContin was at the top of the list . . . OxyContin use at Medco is

out of control compared with [the other large PBMs] . . . Patients are selecting Medco

because Medco [has] OxyContin in a preferred position.”30

           266.   After the merger (and years after it knew OxyContin was a heavily

abused drug), Express Scripts was still pushing Purdue for more rebate dollars in




28   Id.
29   ESI_JEFFCOMO_000265250 (4/19/13).
30   PPLPC012000373022.
                                            78

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exchange for granting OxyContin preferred positions on its standard formularies. In

2014, Express Scripts reached out to Purdue requesting a higher rebate rate for

OxyContin to maintain its preferred position. Purdue executives agreed given the

importance of the Express Scripts relationship to OxyContin sales, stating: “[Express

Scripts/Medco commercial is 20-25% of our total OxyContin gross business, and the

spillover effect of a negative move by [Express Scripts] on OxyContin in 2015 cannot

be underestimated . . . Given the importance and impact of this customer on

OxyContin sales . . . I approve [the decision to increase OxyContin rebate rates].”31

Express Scripts celebrated this rebate increase as a win: “we got $20M in incremental

from Purdue on OxyContin . . . Not too bad considering likely not doing anything.”

         267.   Notably at the same time (2014) that Express Scripts was pushing

Purdue for more rebates to continue preferring OxyContin on its formularies, Express

Scripts was also preparing the press releases and sales communications for its

“Nation in Pain” report (discussed above).32 Thus, on one hand Express Scripts was

releasing a report for marketing purposes on the opioid epidemic in 2014 to “highlight

the power of Express Scripts data and clinical expertise, and our commitment to

identifying ways to make the use of prescription opiates safer and more effective,”

while on the other hand Express Scripts was receiving millions of dollars in extra

rebates in order to continue to preferring the drug that started the opioid epidemic

(OxyContin) on its standard formularies.



31   PPLPC012000475266; PPLPC035000217128; Zilocchi Dep. Ex. 13.
32   Nowak Dep. Ex. 10.
                                           79

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        268.   Despite its knowledge of the nationwide opioid health crisis, and despite

its knowledge of the impact that preferred formulary placement and the lack of UM

restrictions had on increasing opioid sales, through at least 2017, Express Scripts

continued granting OxyContin on the most preferred brand formulary tier, with no

UM restrictions, on nearly all Express Scripts’ standard formulary offerings.

        269.   Likewise, for most of the relevant time period, OptumRx also granted

OxyContin unrestricted, preferred formulary status for most of its standard

formularies. Along with the aforementioned lack of prior authorization, OptumRx

refused to put effective quantity limits on opioids.

        270.   Up until 2017 OptumRx allowed OxyContin to have a quantity limit

(QL) of four tablets a day of any strength, including 80mg strengths.

        271.   Quantity limits were only NDC specific, meaning a member could get

the quantity limit of multiple NDCs (that is, different opioids or different

formulations of the same opioid) at a time. In 2010, Purdue would still pay rebates

to OptumRx so long as its covered lives were able to obtain—whether through

multiple NDCs or four tablets of 80mg OxyContin a day—320mg per day of

OxyContin.

        272.   The 320mg limit did not apply to short-acting opioids. In fact, OptumRx

increased its quantity limits for short-acting opioids between 2007 and 2012. For

example, the quantity limit for Opana was 12 tablets a day, or 1080 tabs for a 90 day

supply. In mid-2014, Optum had the following Quantity Limits for opioids: MS Contin

at 120 tablets a month, with the 200mg strength at 90 tablets a month; Nucynta


                                           80

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100mg at 210 tablets per month, with lesser strengths at 180 tablets per month;

Opana was 180 tablets per month; OxyContin was at 270 tablets per month. Of note

is none of these opioids featured a prior authorization.

        273.   In 2015 and 2016, OptumRx increased the QL on United commercial

plans. Hydromorphone limits were for 2mg and 4mg strengths from six to eight

tablets a day; MS Contin from three to four tablets a day for the 30 and 60 mg

strengths and from one to two tablets a day for the 200 mg strength due to “PA

volume” to override the current QL.33 The morphine dose equivalent maximum was

360 tablets for United commercial plans.

        274.   Express Scripts and Optum have been so successful in working with the

opioid manufacturers to optimize their common purpose between formulary

placement/utilization management and rebates and other fees that payments have

reached as high as 70% to 80% off wholesale acquisition cost for some opioid drugs.

        275.   To make matters worse, as the market shifted from branded opioids to

generics in the mid-2000s, Express Scripts and Optum continued to grant generic

opioids unrestricted and preferred placement on their standard formularies because

of the profits these drugs generated for the PBM Defendants through spread pricing

and in other ways. Indeed, OptumRx’s own internal presentation from 2013 touts

generic utilization as a “high driver of revenue and profit,” even more so than brand

rebates.34



33   OPTUMRX_JEFFCO_0000661986.
34   OPTUMRX_JEFFCO_0594849.
                                           81

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        276.   Thus, from the late 1990s through 2018, Express Scripts, Medco, and

Optum granted both brand and generic opioids, including OxyContin, preferred

positions on its standard formulary offerings, which was critical to the success of the

opioid manufacturers increasing utilization and expanding the opioid market both

nationally and in Webb County.35

        2.     The PBM Defendants and the Opioid Manufacturers Used
               Parity to Limit the Use of Utilization Management Measures
               for Opioids

        277.   If they had been implemented earlier, the PBM Defendants’ UM

measures would have helped control the flow of opioid drugs into every community in

America. These measures include days’ supply quantity and daily dosage limits,

refill-too-soon limits, prior authorizations (which require additional approval before

drug is dispensed) and step edits (which could require that a patient try a different,

safer drug before being given a more dangerous one).

        278.   The PBM Defendants, however, have financial incentives to give opioids

preferential treatment relative to other methods of treating pain (including non-

pharmacological methods), and these incentives have made them less likely to

mitigate inappropriate opioid usage. While the PBM Defendants have represented

that they use UM measures to ensure only the safe and effective use of



35
   Since 2014, Purdue has had a distribution and supply agreement with Teva
  Pharmaceuticals USA, Inc. pursuant to which Purdue supplied oxycodone to Teva
  and Teva labeled and sold it as a generic Teva product. Admitted trial exhibit P-
  25038, P-25038 Distribution and Supply Agreement By and Between Purdue
  Pharma L.P. and Teva Pharmaceuticals USA, Inc. Dated as of December 18, 2014,
  TEVA_MDL_A_03434545.
                                          82

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pharmaceuticals, behind closed doors they had entered into confidential agreements

with the opioid manufacturers to bargain away the use of these measures which

would have limited dispensing to only medically appropriate uses.

         279.   Instead of placing limits on the inappropriate use of these dangerous

drugs, the PBM Defendants bartered the use of UM measures which would have

helped control the widespread abuse and diversion of opioids in Webb County and in

communities throughout the country.

         280.   Throughout    their   confidential   negotiations   with   the   opioid

manufacturers, in exchange for rebates and other fees, the PBM Defendants have

agreed that they would not “disadvantage” their opioid drugs, nor would they place

UM restrictions on their use within their standard offerings. Effectively, this has

meant that the PBM Defendants have bartered away application of UM measures,

which opened the floodgates to these dangerous drugs. Thus, the parties agreed that

none of the opioid drugs would be disadvantaged and that they all would have the

same UM restrictions as other drugs that did not have the propensity for abuse

inherent in opioid drugs. These parity and “no disadvantage” contract terms had the

effect of the PBM Defendants and the opioid manufacturers sharing a common

purpose of ensuring the unfettered access to opioids across the entire class of opioid

drugs.

         281.   Express Scripts’ standard rebate agreements defined the term

“disadvantage” as any time when the opioid manufacturer’s product is “subject to

prior authorization, NDC blocks, counter-detailing, co-pay differentials, or a step edit


                                           83

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that negatively had to have affects the reimbursement and/or Formulary status of

the Product as compared to other products in its designated [competitive product

category] . . . .”36

        282.   Optum’s template rebate agreements had similar language tying

payment of rebates to common treatment of all other opioids in the formulary’s

therapeutic category. Its agreements’ language stated that rebates would only be

payable if the opioid manufacturer’s product is not “subject to Disadvantaging

including, but not limited to: prior authorization, NDC blocks, counter-detailing, co-

pay differentials, dispensing restrictions, or endorsed targeted messages (electronic

edits).”37

        283.   Express Scripts and Purdue’s 2002 contract included language stating

Purdue would not pay rebates if its opioids were restricted. Likewise in 2009, Purdue

would only pay rebates if its opioids were “unrestricted on the preferred brand tier.”

Again in 2014, Purdue would only pay rebates on OxyContin if it was on “lowest

preferred brand tier, without restrictions, including no prior authorization or step

therapy.” Even as late as 2016, Express Scripts acknowledged that if it tried to put

any restrictions on OxyContin (such as restricting opioid use to acute pain, blocking

opioids unless the use was for cancer or other approved uses, or requiring prior

authorization) that it would violate its rebate agreements with Purdue and would

result in a loss of rebates.



36   ESI_JEFFCOMO_000250248 (1/1/16).
37   OPTUMRX_JEFFCO_0000473712 (3/20/14).
                                         84

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        284.   Another example occurred in 2010. During negotiations between

Janssen and Medco (Express Scripts’ predecessor) regarding the formulary

placement of the fentanyl drug Nucynta, the parties agreed Janssen would only pay

rebates so long there were no step edit restrictions and agreed that Nucynta would

be protected from “being disadvantaged vs. any branded agent in our defined market

basket” of short-acting opioid (“SAOs”).38

        285.   Likewise, in 2012 negotiations between Express Scripts and Endo the

parties agreed that “Endo Products are ‘not disadvantaged to any other brand name

pharmaceutical product in the same [competitive product category]’” and that this

disadvantaged language meant any UM restrictions must apply to all products in the

competitive class.39

        286.   The same parity terms are included in Optum agreements. For example,

the 2011 Rebate Agreement between OptumRx (then known as Prescription

Solutions) and Johnson & Johnson for Nucynta (and other J&J drugs) required that

it not be “disadvantaged as compared to other Branded or specialty Drugs within the

Manufacturer Drug’s Defined Drug Market . . .”40

        287.   The 2012 Catamaran (now part of OptumRx) rebate agreement with

Reckitt Benckiser for Suboxone Film required that it “not be subject to

Disadvantaging including, but not limited to: prior authorization, NDC blocks,




38   JAN-NYDFS-00001455181 (2/25/10).
39   ENDO-OPIOID_MDL-07228036 (4/22/10).
40   OPTUMRX_JEFFCO_0000006804 (1/1/11).
                                             85

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counter-detailing,     co-pay   differentials,   dispensing   restrictions,   therapeutic

conversion programs, therapeutic substitution, other access or reimbursement

restrictions, or endorsed targeted messages (electronic edits).”41

        288.   Likewise, in 2012 negotiations between OptumRx and the drug maker

Covidien with regard to tiering of its opioid drug, the parties agreed to use the

OptumRx “boilerplate disadvantaging language.”42

        289.   The same was true for Teva’s 2015 agreement with OptumRx, which

required unrestricted access and “parity” between its fentanyl drug Fentora and other

drugs in its “Defined Drug Market,” meaning that there would be no prior

authorization limits unless it is applied to all “competing drugs” as well.43

        290.   The 2016 agreement between OptumRx and Depomed with regard to

Nucynta required that “[p]rior authorization shall not be allowed unless applied to

all other single source branded Drugs in the Defined Drug Market that are on

Formulary . . . .”44

        291.   The lockstep parity terms that each PBM Defendant and opioid

manufacturer negotiated served and furthered the common purpose of the Formulary

& UM Enterprise (described in greater detail below) because it normalized the use of

UM measures across the entire class of opioids and guaranteed that the overall

market for prescription opioids would not diminish because of utilization


41
     OPTUMRX_JEFFCO_0000473712 (3/20/14).
42   OPTUMRX_JEFFCO_0000140266 (6/1/12).
43   TEVA_CAOC_08826718 (1/12/17).
44   OPTUM_JEFFCO_0000011106 (4/1/16).
                                            86

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management. The rebate agreements conditioned payment on each opioid

manufacturer not being disadvantaged with regard to applying UM measures unless

the entire market basket of all competing drugs was treated the same. The parity

terms therefore ensured that no single opioid manufacturer would be disadvantaged

against the other and then, each could be free to compete outside of the Formulary &

UM Enterprise for market share of their drug within the fraudulently increased

system. The opioid manufacturers knew that UM presented a slippery slope—if more

UM were employed, it would ultimately lead to the adoption of restrictions across the

entire class of drugs.

        292.   Indeed, this is precisely what happened. As summarized in a 2017

Express Scripts document, “Opioid management is currently a hot button issue.

Express Scripts clients are demanding a solution as CMS and states implement

requirements around appropriate opioid management (i.e. 3 states took action on

prescriber 1st fill day supply restrictions; 12 additional states in process of

implementing restrictions around morphine equivalent dose edits etc.)        . . . We

anticipate our opioid retail margin to be at risk over the next two to five years as

states and federal government continue to intervene and prescribing practices

change.”45 This was obviously a significant issue to Express Scripts, which made

roughly $60 million in margin on opioids in 2016.46


45   ESI_JEFFCOMO_000029922 (3/9/17).
46 ESI_JEFFCOMO_000178613 (3/1/17) (“If we were to implement either the 7 day or
  the 10 limit on short acting opioids which are most profitable for us we are looking
  to lose $10-$20 Million in margin assuming 100% of patients get their first fill and

                                          87

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        293.     As alleged more fully herein, each member of the Formulary & UM

Enterprise thus conducted and participated in the conduct of their enterprise through

a pattern of racketeering activity—including mail and wire fraud—in which they

formed a common purpose of growing the unfettered use of opioid drugs.

        3.       The PBM Defendants Misrepresented that They Were Using
                 Their Formularies to Promote Safe Use and Appropriate
                 Prescribing of Opioids

        294.     Rather than provide transparency into their dealings with the opioid

manufacturers, Express Scripts and Optum represented to their clients, patients, and

the public that they used their market power to design formulary offerings to promote

the safe use and appropriate prescribing of opioids. These representations were false.

Express Scripts and Optum instead have constructed standard formularies that

garnered significant rebates and other fees in exchange for often unfettered access

for “preferred” opioids.

        295.     For years the PBMs have represented that they promote better health

and are dedicated to making the use of prescription drugs safer. For example:

             •   For years between 2000 and 2010, Express Scripts represented in its
                 SEC filings that it “works with clients, manufacturers, pharmacists and
                 physicians to . . . improve members’ health outcomes and satisfaction.”

                    o During these same years, Express Scripts also represented in its
                      SEC filings that it “is a company dedicated to making the use of


  then 50% of patients get their 2nd, 3rd 4th fill. Based on the NY data we looked at
  since their state mandate went in 25% of members shifted from short acting to long
  acting opioids where we make the least money on and we are already seeing a hit
  on NY clients. . . . If we don't take any action in the next 1-3 years all states will
  move this and we will lose this margin anyway with a lost opportunity to charge for
  it now.”).
                                            88

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                      prescription drugs safer and more affordable for plan sponsors
                      and over 50 million members and their families.”

            •   During the same time period Medco represented in its SEC filings that
                “[Medco] capitalize[s] on our clinical expertise and advanced
                information technology infrastructure . . . to improve safety and the
                quality of care for patients. We do this by developing action-oriented
                clinical programs and services based on clinical rationale. . .”

            •    In its 2008 annual report, Medco represented that “[a]t Medco
                innovation, precision, and advocacy are in our DNA. We strive to make
                all of medicine smarter and as a result make healthcare better.”

            •   In a 2013 interview, Express Scripts CIO Gary Wimberly represented
                that “by filling 1.4 billion prescriptions per year, we have over 10
                petabytes of useful data from which we can gain insights and for which
                we can develop solutions . . . [to] improve the health of patients.” In
                addition, Mr. Wimberly stated, “[Express Scripts] has researchers and
                scientists whose sole job is to interpret and analyze the data to identify
                opportunities to improve health outcomes.”

            •   In 2002 Prescription Solutions represented in public filings: “We
                recognize the treatment value of prescription medications. Our goal is .
                . . to increase the appropriate use of prescription medications. Getting
                the right medication to the right person at the right time is the best
                approach for everyone concerned.”

            •   In 2007 Prescription Solutions represented – “Our goal is to promote the
                appropriate use of prescription medications. By focusing on clinical
                quality and total patient care, we help our clients and members improve
                outcomes.”

            •   In its 2008 Annual Report, Optum represented– “Beyond the data and
                technology, and beyond the numbers and networks, our businesses are
                made up of people who strive, every day, to fulfill our mission by helping
                people live healthier lives.”

            •   UnitedHealth Group’s 2009 Annual Report stated “Information
                technology has the power to transform health care. UnitedHealth Group
                built a $2 billion business, Ingenix [OptumInsight predecessor], around
                that idea. Ingenix is committed to using the power of health information
                and analytics to help save lives, improve care and modernize the health
                care system.”

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            •   In UnitedHealth Group’s 2011 Annual Report it stated “OptumRx is
                dedicated to helping people achieve optimal health . . . improving
                quality and safety, increasing compliance and adherence, and reducing
                fraud and waste.”


        296.    Similarly, in a September 2013 letter to the Pennsylvania House of

Representatives Committee on Health, Express Scripts stated that “[o]ur company’s

mission is to make prescription drugs safer . . .”47

        297.    Likewise,      OptumRx’s       parent     company,    UnitedHealth   Group,

represented in its 2013 Annual Report that “UnitedHealth is advancing strategies to

improve the way health care is delivered and financed . . ..”48

        298.    In a 2013 interview, Express Scripts CIO Gary Wimberly summed it up:

“Everything we do every day focuses on health outcomes.”

        299.    As   alleged    more   fully    herein,    despite   the   PBM   Defendants’

acknowledgement that they are supposed to construct formulary and UM offerings

that promote safe and affordable drugs for their members, the PBM Defendants have

not actually done so. To the contrary, the PBM Defendants have used their power to

negotiate rebates and other fees, to control the offered formulary structures, to refrain

from implementing or offering UM measures, all in an effort to allow the opioid



47 Letter from David Dederichs, Sr. Dir. Express Scripts to Matthew Baker,
  Pennsylvania House of Representatives, Comm. on Health, Re Opposition to HB
  746,             at            1           (Sep.            4,         2013)
  https://www.legis.state.pa.us/WU01/LI/TR/Transcripts/2013_0159_0011_TSTMNY.
  pdf.
48  UnitedHealth Group 2013 SEC Form 10-K, at p. 2 (Dec. 31, 2013)
  https://www.sec.gov/Archives/edgar/data/731766/000073176614000008/unh201312
  3110-k.htm.
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manufacturers unfettered access to their formularies so that the number of opioids

prescribed and sold could continue to grow and generate more profits for the PBM

Defendants and the opioid manufacturers, thereby bringing the opioid epidemic to

the doorstep of nearly every household in America.

B.      During the Early Years of the Epidemic, the PBM Defendants
        Conspired with the Opioid Manufacturers to Expand the Opioid
        Market and Increase Opioid Utilization

        300.   Not content merely to permit access to opioids, the PBM Defendants

colluded with opioid manufacturers affirmatively to increase opioid prescribing. Since

the release of OxyContin, the PBM Defendants have conspired with Purdue in several

crucial ways to expand opioid market and increase the sales and prescribing of

OxyContin.

        301.   Medco partnered with Purdue on therapeutic exchange programs to

increase OxyContin utilization during the years immediately following the drug’s

release. For example, in 1997-1998, Medco worked with Purdue to develop a “switch

program” where pharmacies would switch out a competing product for OxyContin at

the pharmacy counter. Purdue executive Michael Friedman explained the value of

this program: “Medco is a huge customer and the potential gain from this effort could

dwarf that of many other opportunities.”49

        302.   In addition, during key years in the growth of OxyContin utilization,

Medco also worked with Purdue “behind the scenes” to get large health plans to lift

restrictions—such as prior authorizations and quantity limits—on OxyContin


49   E513_00022558.
                                          91

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utilization. For example, a 2002 email reveals Medco and Purdue working together

to prevent the implementation of a prior authorization (PA) that would have reduced

the supply of opioids:50




         303.   To that end, in a telling exchange in 2002, when Highmark Blue Cross

Blue Shield decided it would put a 300mg daily limit on OxyContin, Medco pushed

back because this meant that Medco would lose rebates from Purdue. At the time,

Purdue warned Medco that “[o]ur platform for rebates is to permit the patient to

reach 320 mg/day of OxyContin,” so if Highmark adopted a 300mg a day limit, Medco

“will be loosing [sic] rebates for a mere 20mg/day differential.” In order to rectify the

situation, Ed Adamcik, Medco’s Vice President of Contracting, then intervened and

convinced Highmark to drop its daily dosage limit.

         304.   During this same time period, internal Purdue emails show how the

data that Purdue received from Medco helped eliminate potential UM restrictions




50   PPLPC029000064034 (3/13/02).
                                           92

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 and further strengthen the partnership between these two companies. In 2003,

 Purdue’s Medco Account Representative Bernadette Katsur stated:

         “I do see tremendous value in the data that [Medco] is willing to provide.
         As he explained to me the large MCO’s could be identified by number,
         and then he would be willing to discuss opportunities or concerns on a
         plan sponsor by plan sponsor basis. He would then be willing to work
         with me to develop individualized strategy for that account. That would
         mean pulling in Medco Client Manager as well as the local account
         executive. This type of working relationship has proven to be extremely
         successful with AdvancePCS. We have eliminated many attempts to
         [prior authorization] and place [quantity limits] on product through this
         type of process. We have not had that degree of intimacy with Medco, and
         I think that Ed [Adamcik] would be willing to take that leap with the
         understanding that the extra percentage is being paid for that purpose.”51

         305.   An exchange between Medco, Medco’s largest client (UHC), and Purdue

 that same year, 2003, exemplified the ideas in Ms. Katsur’s email above. In early

 2003, Medco worked again behind the scenes with Purdue to convince UHC to double

 a contemplated quantity limit from 60 tablets per prescription to 124 tablets per

 prescription. Given the amount of OxyContin that was sold through UHC plans in

 2003 and the years thereafter—both nationally and in Webb County—convincing

 UHC to double its quantity limit to 124 tablets likely resulted in a substantial

 increase in OxyContin sales during crucial years when the opioid epidemic was taking

 hold.

         306.   Rather than implement standard protocols that they knew would limit

 OxyContin to narrow, appropriate usage, the PBM Defendants engaged in a pattern

 of deception (working in conjunction with the opioid manufacturers and often using




 51   PPLPC012000067648 (emphasis added).
                                            93

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 manufacturer-created data and information) in order to increase opioid utilization

 and their own profits.

 C.      For Two Decades after the PBM Defendants Knew the Opioid
         Epidemic Was Occurring, the PBM Defendants Continued to
         Conspire with the Opioid Manufacturers in the Deceptive Marketing
         of Opioids

         307.   Beginning the late 1990s, opioid manufacturers—including, but not only

 Purdue—engaged in a multifaceted campaign to expand the opioid market by

 creating and disseminating misinformation about the safety and efficacy of opioids

 used in chronic pain treatment and the risks of opioid addiction.

         308.   The PBM Defendants knew that there has never been reliable evidence

 demonstrating opioids were safe or effective at treating chronic pain long term. The

 PBM Defendants further knew that opioids, particularly when used long term to treat

 chronic pain carry serious risks of addiction. And yet, starting shortly after the

 release of OxyContin and continuing for years after the opioid epidemic was

 spreading throughout the country, the PBM Defendants worked with the opioid

 manufacturers in numerous capacities in furtherance of these efforts. In particular:

 (1) the PBM Defendants disseminated the opioid manufacturers’ false messages

 about chronic pain and addiction to high prescribers and patients, and (2) the PBM

 Defendants provided research, data, and consulting services to the opioid

 manufacturers to assist in expanding the opioid market.

         309.   As one type of example, PBM Defendant Express Scripts (along with its

 subsidiaries – e.g., Express Scripts Specialty Distribution Service; Express Scripts

 SDS; HealthBridge, United BioSource LLC; Curascript, Inc.) partnered and/or
                                           94

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 collaborated with opioid manufacturers (e.g., Purdue, Endo) on Patient Assistance

 Programs (“PAPs”) – which provide free or low-cost medications to eligible individuals

 based on factors such as low-income and/or lack of health insurance. PAPs are “a

 triple boon for manufacturers” as they “increase demand, allow companies to charge

 higher prices, and provide public-relations benefits.52

         310.   For more than two decades, from the mid-1990s through 2017, Express

 Scripts and/or its subsidiaries partnered and/or collaborated with Purdue on its PAP

 - which is significant in multiple respects: a) as Purdue’s partner mail order

 pharmacy, Express Scripts dispensed 100 million+ opioid pills specifically for

 Purdue’s PAP and it repeatedly did so in violation of the Controlled Substances Act

 (“CSA”) (as discussed in greater detail below); b) since 2002 Express Scripts also

 administered Purdue’s PAP, further establishing its collaboration and critical role in

 this early, continuing, and very successful marketing effort to increase utilization,

 drive volume, and facilitate access relative to OxyContin and other Purdue opioid

 products; and c) as a result of Express Scripts’ integral involvement with Purdue’s

 PAP, it was well aware of the addiction, abuse and diversion issues surrounding

 OxyContin and other opioids since the mid-1990s.

         311.   Express Scripts and/or its subsidiaries played multiple roles (e.g.,

 partner mail order pharmacy, program administrator, etc.) in Purdue’s and Endo’s

 respective PAP marketing schemes. The importance of Express Scripts is evident


 52
   Howard, David H., Drug Companies’ Patient-Assistance Programs – Helping
  Patients or Profits? New England J. Med, 97, 97-99 (2014), available
  athttps://www.nejm.org/doi/pdf/10.1056/NEJMp1401658
                                           95

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 from internal emails. For example, a 1996 email outlined how Purdue’s “IPAP

 useage[sic] has sky rocketed since [Purdue] instituted the Express Script policy,”

 noting that “utilization has nearly quadrupeled[sic].” 53 In a subsequent email in the

 chain, a Purdue employee stated that “Express Scripts has made it much easier to

 get the free product, thus, some may be using it that wouldn't be before. For example,

 I can remember several instances where we were having difficulty getting retailers

 to participate in the program before Express Scripts.”54 Moreover, as a result of

 Express Scripts’ collaboration and work, Purdue’s and Endo’s respective PAPs were

 highly successful in increasing utilization, driving volume, and facilitating access

 relative to Purdue’s and Endo’s opioids, especially OxyContin and Opana.

            312.   The PBM Defendants’ participation in the increasing opioid utilization

 and the fraudulent marketing of opioids continued even after Purdue pleaded guilty

 to criminal misbranding of OxyContin in 2007, as described above. Thus, even after

 Purdue acknowledged the falsity of its claims, the PBM Defendants, in collaboration

 with opioid manufacturers including Purdue, continued to spread the same

 misrepresentations about the safety and efficacy of opioids.

            313.   The PBM Defendants’ participation in the fraudulent marketing of

 opioids continued long after their own data told them that the huge increases in opioid

 prescribing were creating a crisis of addiction, overdose, and death across the United

 States.



 53
      PPLPC008000000530.
 54
      Id.
                                              96

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         314.   Regardless of what the PBM Defendants knew or did not know at the

 outset of their marketing activities, they continued to engage in fraudulent marketing

 of opioids long past the point where they had actual knowledge of the falsity of the

 representations they were disseminating.

         1.     The PBM Defendants Disseminated the Opioid Manufacturers’
                Deceptive Propaganda

         315.   Starting in the late 1990s—after granting Purdue’s opioids preferred,

 unrestricted formulary placement in their standard offerings—the PBM Defendants

 partnered with Purdue and other opioid manufacturers to spread false information

 about opioids in order to increase opioid sales and expand the market.

         316.   For example, in 1999, Medco arranged for its pharmacists to be trained

 by Purdue’s speaker consultants regarding chronic pain management and the use of

 OxyContin.

         317.   In 2003, internal Purdue documents show “[o]pportunities have been

 presented by Medco to work more closely with targeted clients within the

 marketplace on a client-by-client basis.” These “opportunities” included developing

 educational programs to “stave off any formulary restrictions,” disseminating Purdue

 created “educational” materials—including “New Perspectives on the Pharmacology

 of Opioids and Their Use in Chronic Pain” and Drug Diversion and Abuse: The Facts,

 Legal and Ethical Issues Affecting Pain Management: Fact or Fiction.” Purdue




                                           97

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 provided this information to Medco to “be used with employers and managed care

 plans on the appropriate utilization of [Purdue’s] products.”55

         318.   During these same years, along with Medco, Express Scripts was also

 one of Purdue’s largest customers. Notably, Medco and Express Scripts remained

 Purdue’s largest customers for OxyContin for the years up to and following the 2012

 merger of these companies.

         319.   And in similar fashion to Medco, Express Scripts also worked directly

 with Purdue in the critical years of OxyContin growth to expand the pain treatment

 market through the dissemination of misinformation about the use of opioids to treat

 chronic non-cancer pain.

         320.   For example, in 2000 and 2001, Express Scripts worked together on

 numerous programs to disseminate “educational” materials to tens of thousands of

 patients and high prescribers of OxyContin advocating for opioids in chronic pain

 treatment and downplaying the risks of addiction. These programs included Express

 Scripts engaged in mass mailings of Purdue created propaganda such as “Dispelling

 the Myths about Opioids,” “The Impact of Chronic Pain: An Interdisciplinary

 Perspective CME booklet,” “Overcoming Barriers to Effective Pain Management,”

 and “Use of Opioids in Chronic Noncancer Pain CME booklet.”56 These documents




 55   PPLPC012000064369.
 56   PPLPC029000016774;    PPLPC029000020703;     PPLPC009000021694;
  PPLPC009000021695; PPLPC029000040033; PPLPC029000040028.
                                           98

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 contained false information downplaying the risk of addiction and promoting the use

 of opioids in long term chronic pain treatment.

         321.   In one particularly telling internal Purdue “call note,” a Purdue

 executive discussed “developing a piece on Opioid guidelines, [New England Journal

 of Medicine (NEJM)] quotes, and addiction terms.” Notably, the “NEJM quotes” likely

 refer to a one-paragraph letter that was published in the New England Journal of

 Medicine reporting an observed low rate of addiction in patients prescribed opioids

 for short periods in an in-patient hospital setting. (Purdue and other opioid

 manufacturers misrepresented this letter as a “study” and claimed that it

 demonstrated that the risk of addiction to opioids was low when the drugs were

 prescribed for long-term, outpatient use.) The Purdue executive continued: “[l]egal

 has stated that [Purdue] representatives cannot utilize this [NEJM] piece. My

 thoughts are that this piece may be sent out by Express Scripts. Express Scripts and

 Purdue could target [family practitioner physicians and internal medicine

 physicians] who are the high writers of [DEA Schedule II and III drugs]. The mailer

 was intended to educate the physician on the beneficial uses of OxyContin and the

 preferred formulary status.”57

         322.   A number of these joint programs between Express Scripts and Purdue

 were prompted by Express Scripts’ desire to work with Purdue to address the

 negative attention that OxyContin was receiving related to abuse and diversion in

 the early 2000s. For example, a March 14, 2001 letter from Express Scripts to Purdue


 57   PPLPC009000021694; PPLPC009000021695.
                                          99

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 explained “[c]learly with the market turbulence surrounding OxyContin you and your

 organization have significant demands on your time . . . there are several strategic

 initiatives where Express Scripts can support Purdue Pharma in your efforts to

 educate the market on the prescribing, administration and consumption of

 OxyContin.”58

         323.   These “strategic initiatives” proposed by Express Scripts included

 sending 15,000 “targeted” mailings to physicians which included a letter written by

 Express Scripts’ Medical director summarizing key principles of the Purdue front

 group, American Pain Society, and included the Purdue-created brochures “The

 Patient Bill of Rights for Pain Management” and “Dispelling the Myths about

 Opioids” which contained misinformation about OxyContin risks, such as “addiction

 risk also appears to be low when opioids are does properly for chronic noncancer

 pain.”59

         324.   An April 2001 Purdue memo further described the reasons behind

 Express Scripts and Purdue’s collaborations at that time: “[Express Scripts] has told

 us that this mailing is necessary so that [Express Scripts] may squelch the anti-

 OxyContin pushback from their clients (Managed Care Organizations and Employer

 Groups) due in large part to the national media attention OxyContin is receiving.”60




 58   PPLPC028000031679.
 59   PPLPC028000031679.
 60   PPLPC029000040033; PPLPC029000040028.
                                         100

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         325.   Purdue’s and Express Scripts’ joint efforts to expand the opioid market

 continued in the summer of 2001, when they used an Express Scripts “proprietary

 database” to identify the top 1,900 physicians with high prescribing rates for

 Schedule 2 narcotics and then mailed these 1,900 physicians materials created by the

 front-group American Pain Society (“APS”).61 The mailed APS material promoted use

 of pain scales and the debunked, industry-advocated concept of pseudo-addiction.

         326.   Express Scripts and Purdue’s collaboration continued through 2004,

 when Express Scripts and Purdue developed a series of pain management

 presentations for an Express Scripts’ clients, to be conducted by Purdue’s Medical

 Liaisons, who were doctors and medical professionals employed by Purdue to promote

 opioid therapy.

         327.   During these same years, Purdue also conspired with Optum to spread

 misinformation about the use of opioids to treat chronic pain and the risks of opioid

 addiction. One example occurred in February 2003, when UHC and OptumInsight

 met with Purdue to give a presentation on “Managing Chronic Pain Associated with

 Lower Back Pain.” The goal of this presentation was to develop a comprehensive plan

 between Purdue, UHC, and OptumInsight to re-educate physicians on opioid use for

 the treatment of chronic pain and low back pain. The program included “[t]argeting

 physicians not aligning with UHG clinical objectives [for treating chronic pain] to

 modify behavior.”




  PDD8801134968;
 61                     PPLPC036000005057;                      PPLPC036000005058;
  PPLPC029000045118; PPLPC021000012726.
                                           101

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         328.    As a result of this meeting, in 2004 OptumInsight and Purdue executed

 a Master Services Agreement to roll out this program in 2004-2005. The program

 would include Purdue, UHC, and OptumInsight working together to identify

 physicians from UHC and OptumInsight’s database and then developing

 comprehensive education materials on the effectiveness of opioids in chronic pain

 treatment to send to these physicians.

         329.    OptumInsight and Purdue delivered this information through a series

 of teleconferences, newsletters, faxes, live meetings, case study monographs, letters,

 and website and web-based programming directly to physicians.

         330.    The project, referred to as the United Healthcare Physician Education

 program, included the following false and misleading messages targeted at UHC

 prescribing physicians:

             •   Opioid use is associated with some moderate side effects, but the risk of
                 drug dependence is low;

             •   Concerns about abuse, addiction, and diversion should not prevent the
                 proper management of chronic and low back pain;

             •   Opioids are the most effective way to treat pain;

             •   Opioid addiction does not occur in the chronic pain patient; and

             •   Certain signs of dependence that sometimes can be confused with
                 addiction are actually “pseudoaddiction.”


         331.    To assist in the marketing efforts of opioid manufacturers, Express

 Scripts and Optum have for years provided multiple opioid manufacturers with lists

 of all their plan clients as well as the names of physicians who were participating in


                                             102

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 the plan’s provider networks. The manufacturers used this information to target the

 highest opioid prescribers with pull-through marketing.

         332.   For example, according to one 2011 email, Endo sales representatives

 were instructed to “[m]aximize pull-through with key managed care plans,” “[d]rive

 brand awareness across top [Opana ER] prescribers,” and promote favorable Opana

 ER formulary positioning.62 Sales representatives were also told to focus on providers

 “that have the most potential” and not “waste time” on other physicians.63 Sales

 representatives also were dispatched to (and did) promote Opana ER formulary

 status to prescribers.

         333.   In another example, after Endo had negotiated a favorable Tier 2

 formulary deal with Optum in 2010, sales representatives were told to “present the

 great information” to prescribers and take advantage of the Opana ER “opportunity”

 for “pull through” sales.64




         334.   In addition, beginning in 2006, Express Scripts and Purdue entered into

 an ongoing “Participating Manufacturer Agreement” under which, in return for




 62   ENDO_OPIOID_OHAG-00030138 (1/14/11).
 63   ENDO_TXMDL_00448429 (10/4/09).
 64   ENDO-OPIOID_MDL-00719759 (3/3/10).
                                           103

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 “administrative fees,” Express Scripts would



                                                                         Express Scripts

 would also                                                                         And,

 Express Scripts agreed it would provide numerous deliverables to Purdue, including

                                                                  which enabled Purdue

 to more effectively pull through its drugs’ formulary status to physicians. The

 “administrative fees” Express Scripts received were tied to the number of opioids it

 sold—i.e., the more opioids it sold, the more it made. This agreement was strictly

 confidential. Express Scripts and Purdue renewed this agreement on at least three

 occasions, and it was in place until at least the end of 2010.

          335.   In 2011 and 2012, Express Scripts and Purdue collaborated on false and

 misleading guidelines for workers’ compensation patients to promote “safe and

 effective chronic opioid therapy.”65

          336.   In fact, as late as 2017, Express Scripts gave educational presentations

 on pain management that treated the risk of addiction to opioids as minimal. In a

 presentation regarding “The Management of Persistent Pain in Older Persons,”

 Express Scripts Vice President Andrew Behm asserted that psychological dependence

 to narcotic analgesics was “rare” and that “Addiction associated with the appropriate

 use of opioid analgesics is uncommon.”66 The presentation also described “physical



 65   See PPLPC012000368690 (3/8/12); PPLPC012000368687 (3/8/12).
 66   ESI_JEFFCOMO_000012632, at slide 56 (4/24/17).
                                            104

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 dependence” as “common” and a “state of adaptation to chronic opioid therapy,” and

 recommended fentanyl for chronic pain in older adults.67

            337.   OptumRx also participated in a Purdue advisory board in 2013 for the

 “abuse deterrent” version of OxyContin, which was focused on payers in managed

 care. In 2016, OptumRx conducted studies for Purdue to assess the economic impact

 of reformulated OxyContin.

            338.   OptumRx affiliates also marketed their data analytics capabilities to

 Purdue for research projects related to opioids, proposing, for example, to sell medical

 and pharmacy claims data from its “Cliniformatics DataMart” to Purdue, 68 to study

 patient disenrollment in Medicare Advantage plans that discontinued coverage of

 OxyContin ER, and to research overdoses associated with OxyContin.

            2.     The PBM Defendants’ Affiliated Entities Provided Research,
                   Data, and Consulting to the Opioid Manufacturers to Expand
                   the Opioid Market

            339.   In addition to assisting the opioid manufacturers in spreading false

 information about opioids, for years the PBM Defendants and their affiliated

 companies provided the manufacturers with data, research, and consulting services

 needed to expand the opioid market.

            340.   For example, in the late 1990s and early 2000s, Express Scripts’ affiliate

 research entity, Practice Patterns Sciences, Inc. (“PPS”), and Medco’s Institute for

 Effectiveness Research provided research and studies for Purdue in to aid its efforts



 67   Id.
 68   PPLPC018000829180 (6/6/13).
                                               105

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 to expand the opioid market. One example occurred in 2001, when Express

 Scripts/PPS developed a study for Purdue on “The Value of OxyContin Therapy in

 Patients with Moderate to Severe Pain due to Osteoarthritis.”69

         341.   In addition, from the early 2000s until 2015, OptumInsight, a sister

 company of OptumRx, also helped Purdue generate clinical studies, educational

 materials, and marketing programs to downplay the addictive properties of

 OxyContin and expand its use throughout the country.

         342.   In order to do so, OptumInsight was paid by Purdue to reverse engineer

 studies to achieve desired outcomes; create algorithms to identify potential pain

 patients to suggest OxyContin prescriptions; and create large-scale marketing plans

 to convince payors that long-term opioid usage was not only useful for many types of

 pain and did not lead to serious addiction for long-term opioid users.

         343.   For example, in 2000 and 2001, OptumInsight (then known as Ingenix)

 worked with Purdue to develop algorithms and studies to identify chronic pain

 patients. One was an algorithm that would mine UHC’s claims data called “the

 chronic pain patient identification algorithm.”70 The other was called “Profiling the

 OxyContin Patient.”71 The purpose of this study was to assist Purdue in shifting

 formulary discussions with PBMs/health plans from a purely per-member fiscal

 discussion to an overall “clinical and fiscal” benefits discussion. Purdue paid for this




 69   PDD8801105525.
 70   PPLPC028000016640.
 71   PKY181047060.
                                           106

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 study, in part, to counter the recent focus in the market on “cases of diversion” and

 “premium pricing” of OxyContin. Purdue’s goal of this study was to use the

 OptumInsight’s “data/evidence” to demonstrate from a payer and patient perspective

 the clinical/financial benefit of OxyContin given the overall costs associated with the

 undermanagement of pain.72

         344.   In October of 2002, OptumInsight proposed a “Chronic Pain

 Management” study and education initiative to present a series of teleconferences to

 providers in the UHG/UHC network. The purpose of this educational initiative was

 to “optimize patient care in the treatment of chronic pain.” One of the themes of this

 report is that “[m]ost specialists in pain medicine and addiction agree that patients

 with prolong opioid therapy . . . do not usually develop addictive behavior” and to

 convince the providers that “[o]pioids are effective, have a low addiction potential,

 and may have fewer long-term side effects than other pain treatments.”73

         345.   This clinical initiative was launched by UHG that same year; UHG

 requested $200,000 to implement the initiative and begin targeting plans for the

 program. Purdue stated that while that was a big investment, that the return would

 be high. The study did with UHG proved overall to “significantly improve the

 relationship with this client” and would “provide outcomes data that can prove




 72   PKY181047060.
 73   PPLPC036000014773.
                                          107

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 valuable in the future with regard to placement and pull-through for United and

 other major HMOs.”74

         346.   In February 2003, UHC threatened to implement a stricter quantity

 limit on OxyContin and other Purdue products. Purdue worked with OptumInsight

 to provide “new data” for June 2003.75. Based on the joint efforts of Purdue and

 OptumInsight, UHC subsequently doubled its quantity limit (to a level that Purdue

 stated was high enough that it should not affect OxyContin sales).

         347.   In March of 2005, OptumInsight prepared an Executive Summary to

 Purdue for “A Usual Care, Multicenter, Open-label, Randomized, 4-month Parallel

 Group Trial to Compare the Impact of Therapy with OxyContin on Health Outcomes

 and Research Utilization in Subjects with Moderate to Severe Osteoarthritis Pain of

 the Hip or Knee.” The purpose of the study was to present evidence to “health-system

 decision-makers” of the cost effectiveness of treating osteoarthritis with OxyContin.76

 OptumInsight went on to present this study on behalf of Purdue at the International

 Society for Pharmacoeconomics and Outcomes Research annual meeting in 2005

 where it won an award.

         348.   Because these studies were reverse engineered and constructed in order

 to advance Purdue’s market share of OxyContin, in certain instances, members of the




 74   PPLPC035000032658.
 75   PPLPC012000057093; PPLPC012000057095.
 76PPLPC018000065660 (this study was performed by Innovus Research Inc. As noted
  above, Innovus subsequently merged with Ingenix and then later was renamed
  “OptumInsight”).
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 medical/health care community pushed back on Purdue’s and OptumInsight’s joint

 medical journal publications. When that occurred, the two companies worked

 together to respond.

         349.   From 2011 through at least 2015, Purdue and OptumInsight worked

 together to build a comprehensive, multi-step “aspirational statement” and

 “evidence-generated” strategies for Butrans, OxyContin, Intermezzo, Targin, and

 hydromorphone.77 The goal of this coordinated effort was to identify the best way to

 position these drugs with the public, patients, providers, and payors to increase

 utilization and maximize sales.

         350.   The first phase occurred in April 2012. It included a “Product Review”

 for each Purdue drug to “complete a focused review of product, literature, and on-line

 information to establish the likely interplay between the product, competitors, and

 the market access and reimbursement environment.”78

         351.   The second phase occurred simultaneously in April 2012 and included

 “Event Mapping” which was an in-person workshop for the “Satellite [Purdue-

 OptumInsight] Team.” The purpose of Event Mapping was to identify “significant

 events that will affect future evidence generation strategies.”79




 77The examples below represent OptumInsight’s effort with respect to OxyContin.
  OptumInsight produced similar documents for Purdue for Butrans, OxyContin,
  Intermezzo, Targin, and Hydromorphone.
 78   PPLPC019000666914.
 79   PPLPC019000665555; PPLPC019000665974.
                                          109

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         352.   The third phase occurred in June 2012; it was called the “Aspirational

 Value Proposition” phase. During this time, the group would create the “ideal value

 proposition statement” which “is concise, appeals to payers’ strongest decision-

 making drivers and is evidence based to: (1) identify the burden and unmet need that

 OxyContin will fulfill; (2) describe the solution provided by OxyContin compared to

 existing treatments; (3) describe the risks of OxyContin compared to existing

 treatments; and (4) delineate the economic benefit of OxyContin compared to existing

 treatments.” OptumInsight’s OxyContin “value statement” was targeted at moderate

 to severe pain and to endorse the reformulated OxyContin as lowering abuse,

 addiction, and diversion rates.80

         353.   The fourth phase occurred in September 2012. It included a “Semi

 Structured Payer Interview Guide for Hydrocodone, Oxycontin, Butrans to gather

 insight re: market access and reimbursement considerations.”81

         354.   The fifth phase, occurring in November 2012 included reviewing

 “Results from Payer Interviews Oxycontin, Butrans, Hydrocodone.”82

         355.   The next month, the group started the sixth phase, called “Evidence

 Generation Plan for OxyContin. Recommendations for a value evidence generation

 plan to support aspirational value proposition evidence base.” OptumInsight relied

 on this evidence to revise the “Aspirational Value Proposition.” One notable change—




 80   PPLPC018000697326.
 81   PPLPC020000610710.
 82   PPLP004148372; PPLPC018000742542.
                                          110

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 removing the value proposition that “Abuse of prescription opioids (primary and

 secondary) has substantial impact on society.” The reason behind removal was

 “Payers value pain management. They perceive tamper resistance and abuse

 deterrence as societal benefits which they cannot further impact unless all products

 are tamper resistant.” OptumInsight’s motivation behind the “Payers value pain

 management” was financially motivated based on aspirational statement #1 “annual

 total and direct costs of moderate to severe chronic pain in the US are 2- to 3-fold

 higher than the economic burden posed by other major conditions such as diabetes,

 heart disease and obesity.

         356.   From 2003 to at least 2012, OptumInsight conducted similar studies for

 other opioid manufacturers. For example, in 2012, OptumInsight did an analysis

 attempting to show that Suboxone film vs. a tablet formulation was superior to

 prevent diversion/abuse/misuse.83

         357.   Alongside the studies OptumInsight was producing for Purdue to

 further legitimize the proliferation of opioids without adequate controls throughout

 the United States, OptumHealth, a subsidiary of UnitedHealth Care (“UHC”), began




 83RBP-00030919. In 2019, Reckitt Benckiser/Indivior was fined $1.4 billion for
  marketing of Suboxone as less-divertible and less-abusable and safer around
  children, families, and communities than other buprenorphine drugs, even though
  such claims have never been established. Indivior made these claims publicly,
  including to the Massachusetts Medicaid program. OptumInsight provided Reckitt
  Benckiser/Indivior “data/evidence” related to these marketing efforts, as well as
  other “data/evidence.”
                                          111

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 an “educational partnership” campaign in the early 2000s to educate nurses and case

 managers throughout the country on the undertreatment of pain.84

         358.   In 2004, David Rosen, an employee at Purdue, connected his father, Dr.

 Michael Rosen, a National Medical Director at OptumHealth from 1996-2021, with

 Account Executives at Purdue to begin educating the UHC and client clinical staff on

 how to effectively manage pain. Dr. Rosen was not only the head medical director at

 OptumHealth, but UHC’s P&T Committee directly reported to him. His son was on

 the marketing team at Purdue and utilized his connection with his father to connect

 Purdue with OptumHealth and UHC.

         359.   In January 2005, Dr. Rosen coordinated with Purdue to present two

 major Continuing Education Programs to be given to case managers at UHC. The

 next month, the educational initiatives were implemented.

         360.   Part of the program targeted nurse practitioners, and included a

 presentation called “Communication to Enhance Collaboration and Outcomes.”85 The

 presentation was wholly endorsed and coordinated with Optum’s Dr. Michael

 Rosen.86 The PowerPoint presentation emphasized the “Possible Adverse Effects of

 Undertreated Pain” and had speaker notes to quote during the presentation that

 advocated for increased opioid use and stated “[i]f we continue to provide pain care

 as it has always been provided, patients will continue to suffer needlessly.” 87 The


 84   PPLPC021000066876; PPLPC022000059801.
 85   PPLPC028000120866; PPLPC028000130521.
 86   See PPLPC020000038112; PPLPC022000050740; PPLPC022000050741.
 87   PPLPC022000051750.
                                          112

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 same presentation was given to case managers, then expanded to UHC affiliated

 groups throughout the country, including to risk managers, telephone triage nurses,

 and every case manager.

            361.   In 2006 and 2007, Dr. Rosen and Purdue worked together on multiple

 programs, including a program called “UHC Educate the Educator.”88

            362.   In 2009, Dr. Rosen worked with Purdue to roll out a six month “chronic

 pain mgmt. program” that would directly link to Purdue’s “Partners Against Pain”

 website.89 The program would focus on case managers for Optum throughout the

 country and would focus on Purdue’s FACETS modules. The series would be

 presented by Optum Medical Directors and some Purdue employees.90 In March 2009,

 Optum employees reached out to Purdue to facilitate Medical Director Faculty Forum

 presentations regarding pain. One of the faculty presentations was about how to treat

 lower back pain with opioids using one of the FACETS topics. Optum distributed the

 literature for the topic to medical directors. Following this, Purdue held multiple

 educational seminars with the Medical Directors at Optum to then disseminate this

 information to hundreds of case managers throughout the country via seminars and

 literature.

            363.   In sum, the opioid manufacturers’ efforts to disseminate misinformation

 about opioid addiction, opioid use for chronic pain, and opioids as a first-line therapy




 88   PPLPC012000105112; PPLPC029000207366.
 89   PPLPC028000245007; PPLPC022000260832; PPLPR001000287899.
 90   Id.
                                              113

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 inappropriately expanded the opioid market. And since the 1990s, the PBM

 Defendants collaborated with Purdue to spread this misinformation in an effort to

 increase opioid utilization and sales. The result of these joint efforts (in Express

 Scripts own words) was the “opiate explosion: vast increase in prescribing [and] more

 potent formulations [of opioids].”91

 D.      The PBM Defendants Had Access to Real-Time Data Regarding Drug
         Utilization Which Gave Them a Unique Vantage Point into the
         Opioid Epidemic

         364.   Express Scripts and Optum have had a front row seat to the spread of

 the opioid epidemic. They have watched as the number of opioids prescribed and

 dispensed has exploded. They were made aware of opioid epidemic through the vast

 amount of data they have had, the knowledge gained through their clients,

 manufacturers, and other entities in the health care arena, and through clinical

 evaluations for things such as formulary placement.

         1.     The PBM Defendants track every prescription claim they
                process across all the health plans they service which provided
                them with uniquely granular and comprehensive data.

         365.   Because of their business model, Express Scripts and Optum have

 access to an extraordinary amount of data. Express Scripts and Optum can see

 detailed information on individual prescribers and pharmacies, but can also

 aggregate that data across manufacturers, patients, pharmacies, and payors. Their

 visibility into these data is thus both uniquely granular and comprehensive.




 91   ESI_JEFFCOMO_000032900.
                                          114

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          366.   These data include information such as the volume, nature, dosage, and

 conditions for which health care providers are prescribing opioids to individual

 patients and on an aggregate basis; the volume of opioids obtained by individual

 patients and by geography; the pharmacies at which opioids were dispensed and the

 volume of opioids dispensed by geographic area, among other data. Express Scripts

 and Optum also had data from their own mail order pharmacies.

          367.   For the past two decades, Express Scripts has processed 8 to 10 million

 prescription claims per day—1.4 billion claims per year—for its members with

 hundreds of data points for each transaction. At all times since the 1990s, Express

 Scripts has had as much—if not more—detailed claims data on opioid utilization and

 prescribing than any other entity in the pharmaceutical industry.

          368.   Express Scripts not only collected prescription data, but also analyzed it

 to track utilization patterns. Since 1997 Express Scripts has compiled in-depth drug

 utilization analyses of its own claims data from millions of Express Scripts’ members

 across the country in its Drug Trend Reports. Starting in at least 1999, Express

 Scripts Drug Trend reports reflected both Express Scripts’ knowledge of increasing

 OxyContin and opioid utilization, as well as its understanding of the dangers of these

 drugs.

          369.   Express Scripts’ ability to monitor and analyze opioid prescription data

 is exemplified by its 2014 “A Nation in Pain” report focusing on the opioid epidemic.

 The report reviewed 36 million pharmacy claims from 2009 to 2013, which illustrated

 the widespread opioid epidemic. In the report, ESI demonstrated its ability to identify


                                             115

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 opioid use trends by geography, age, and gender, as well as by the prevalence of doctor

 and pharmacy shopping and drug cocktail use.

          370.   Optum (and/or its predecessors) have had access to data for its 66

 million UHC and OptumRx covered lives for the duration of the relevant time period

 as well, processing 3.8 million prescription claims per day, or 1.4 billion a year. Before

 2011, Optum had access to claims for over 75 million individuals nationwide. Since

 its inception, Optum has been able to track how many opioids its millions of members

 were receiving, including the quantity of pills, the dosing strengths, the combination

 of drugs being dispensed, and the travel distance of members to acquire prescription

 opioids. Additionally, Optum has access to clinical information for millions of

 patients, which includes clinical files and over 4.5 billion text notes from a member’s

 clinical records.

          371.   In a presentation touting the effectiveness of Optum’s opioid

 management program, Optum’s Senior Vice President of Clinical Engagement

 described the power that Optum has to not only track data, but to use it to stop

 inappropriate opioid utilization at the pharmacy counter:

          “I have billions of claims, literally billions of claims. Every claim that we
          go through goes through an algorithm. This is all happening in realtime
          at the pharmacy. When you go to the pharmacy, in microseconds, I know
          if my patients are on a concurrent benzo. I know what the dose is. I know
          what the day’s supply is. I know what other drugs they’re taking, and I
          can have realtime [point of sale] edits going through making sure
          everything is happening appropriately.”92




 92   Beshara Dep. 61:9-62:3 (Sept. 12, 2023).
                                              116

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           372.       Similarly, Optum has touted its ability to use “near-real-time data feeds

 to integrate medical claims data into our intelligent claims engine,” and boasts that

 “[o]ur data capabilities are structured in order to flag these individuals using both

 our own pharmacy claims data plus medical claims data.”93 Furthermore, OptumRx

 claims “[w]hen it comes to identifying at-risk patients, we get maximum leverage out

 of our claims-paying role as a PBM. In this capacity, we have direct insight into which

 patients are getting which drugs.” Before 2007, Prescription Solutions (OptumRx’s

 predecessor) had the ability to review every claim submitted by its members and “look

 for problem patterns and intervene with prescribers closer to the point of a member’s

 care,” including being able to identify both doctor shopping and pharmacy shopping

 by patients as well as other red flags such as early refills or suspicious drug

 combinations.94

           373.       OptumRx has described its “comprehensive retrospective drug

 utilization review” (“RDUR”) as “specifically designed to look for problem patterns

 and intervene with prescribers closer to the point of a member’s care,” including being

 able to identify both doctor shopping and pharmacy shopping by patients as well as

 other red flags such as early refills or suspicious drug combinations.95 Furthermore,

 OptumRx claims:

           When it comes to identifying at-risk patients, we get maximum leverage
           out of our claims-paying role as a PBM. In this capacity, we have direct



 93   OPTUMRX_JEFFCO_0000004463 (8/25/20).
 94   Id., at p. 5.
 95   Id., at p. 5.
                                                  117

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            insight into which patients are getting which drugs. This insight feeds
            our RDUR capability.

            The RDUR clinical opportunities directly contribute preventing
            progression to chronic use. For example, retrospective data helps
            identify “shoppers,” those that are using multiple physicians,
            pharmacies, and/or multiple prescriptions. This is key, because when
            patients are using multiple prescriptions it is not uncommon to see dose
            escalation over time, putting them at higher risk for overdose.

            The system is also looking for other patterns of high risk behavior, such
            as early refills, or those who are using dangerous combinations of
            products.96

            374.   Optum’s ability to control drug utilization was best stated by Dr. David

 Calabrese, Optum’s Chief Clinical Officer, “we drive the ship in terms of how their

 drugs get used, not [the opioid manufacturers].”97

            375.   Because of all of data they had, the PBM Defendants were aware that

 the volume of opioids being prescribed in the United States, and in the Plaintiffs’

 jurisdiction, far exceeded an amount that could possibly be justified as medically

 necessary or appropriate. They knew that opioids were being overprescribed and

 used inappropriately, and that the Plaintiffs’ communities were being flooded with

 an oversupply of these dangerous drugs.

            376.   To make matters worse, rather than use their data to stop the public

 health crisis that they were watching unfold, since at least 1997, the PBM Defendants

 sold their detailed claims data, as well as their clients’ formulary and health plan

 information, to Purdue and other opioid manufacturers. The opioid manufacturers




 96   Id.
 97   OPTUMRX_JEFFCO_0000360074.
                                              118

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 then used this data to gain insight into the pharmacies and health care providers who

 were dispensing and prescribing their opioids (as well as their competitor’s products)

 and more importantly those pharmacies and prescribers who were not prescribing

 and dispensing their products. This allowed sales representatives of Purdue and the

 other opioid manufacturers to have laser precision targeting high prescribers and

 pharmacies in order to aggressively push opioids onto the market.

         377.   For as long as they have been PBMs, Express Scripts and Optum have

 received, compiled, and analyzed massive amounts of prescription claims data

 demonstrating that opioids were being over-utilized, abused, and diverted. Indeed,

 these PBMs had more data on and awareness of the opioid epidemic unfolding than

 any other entity in the pharmaceutical industry. They knew or certainly should have

 known for decades that opioids were causing a public health crisis.

         2.     The PBM Defendants had knowledge about the opioid
                epidemic and about abuse and diversion.

         378.   According to the CDC, the rise in opioid overdose deaths can be outlined

 in three distinct waves.98 As the CDC explains: “The first wave began with increased

 prescribing of opioids in the 1990s, with overdose deaths involving prescription

 opioids (natural and semi-synthetic opioids and methadone) increasing since at least

 1993. The second wave began in 2010, with rapid increases in overdose deaths

 involving heroin. The third wave began in 2013, with significant increases in overdose




  Centers for Disease Control and Prevention, Understanding the Opioid Overdose
 98

  Epidemic (Aug. 8, 2023), https://www.cdc.gov/opioids/basics/epidemic.html#three-
  waves.
                                           119

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 deaths       involving   synthetic   opioids,   particularly   those   involving   illicitly

 manufactured fentanyl.”99

            379.   Very recently, as of September 2023, the United States has entered the

 Fourth Wave of the Opioid Epidemic. A study100 released by the Center for Social

 Medicine and Humanities, University of California, Los Angeles, California, USA,

 found that “recently, scholars have argued that the ‘fourth wave’ of the US overdose

 crisis has begun, in recognition of rapidly rising polysubstance overdose deaths

 involving illicitly manufactured fentanyl, with stimulants playing a key role. By

 2021, methamphetamine and cocaine were the only leading co-involved substances

 as depicted below. This represents current 2021 trends, a culmination of a long road

 of crisis level addiction beginning with prescription opioid abuse.




 99   Id.
 100Friedman, J, Shover, CL, Charting the fourth wave: Geographic, temporal,
  race/ethnicity and demographic trends in polysubstance fentanyl overdose deaths
  in the United States, 2010–2021, 118 ADDICTION 12 (Dec. 2023),
  https://doi.org/10.1111/add.16318.
                                             120

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         380.   The following chart, depicting “Geographic, temporal, race/ethnicity and

 demographic trends in polysubstance fentanyl overdose deaths in the United States,

 2010–2021” shows the four waves of the epidemic:




                                           121

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         381.   Express Scripts own marketing material explicitly recognized this

 evolution in the national opioid crisis:




         382.   Likewise, Optum’s promotional material also acknowledged these

 progressive stages of the opioid epidemic:101




 101   OPTUMRX_JEFFCO_0000341787.
                                            122

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          383.   Long before the second wave of the crisis started in 2010, both Express

 Scripts and Optum knew that opioid abuse and misuse posed serious problems.

          384.   The PBM Defendants knew that opioids were addictive and carried a

 significant risk of serious injury or death, and they have known this for at least the

 past 20 years.

          385.   For example, both Medco and Prescription Solutions informed Purdue

 that they had concerns about the potential for abuse in OxyContin right out of the

 gate in 1997. A few years later, in early 2001, an executive of Optum’s parent

 company, UHG, wrote to Purdue to discuss the “whole OxyContin overuse issue . . .

 which has been brought about by the ‘heightened marketing skills of Purdue.” The

 email continued, “I believe Purdue has acted irresponsibly in over-promoting the use

 of oxycodone . . . the activity has resulted in the overuse of morphine, an increase in

 the abuse of this narcotic, unnecessary and significant increases in pharmacy trend,

 and most importantly, an increase in patient morbidity and mortality.”102 In other

 words, Optum/UHG recognized that OxyContin was being overused and killing

 people in increasing numbers over two decades ago.

          386.   Similarly, starting in at least the early 2000s, certain Express Scripts

 and Medco clients also began to express concern to them about abuse and diversion

 issues related to OxyContin. Upon hearing from their clients, Express Scripts and

 Medco would often reach out to Purdue directly seeking help to quash these concerns.




 102   PKY181977016.
                                            123

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 Purdue often worked with the PBM Defendants by providing research and

 “educational” materials downplaying the risks associated with opioid use.

          387.   For example, in 2002, internal Purdue emails describe a call with Medco

 regarding clients who “had concerns about tablet restrictions and proper utilization

 of OxyContin.”103 Medco informed Purdue that “an overview of the abuse and

 diversion issue surrounding OxyContin would be helpful for [Medco] to respond to

 their customers questions/concerns.”104

          388.   In 2003, Medco’s largest client, UHC, expressed concerns that “there

 were patients taking 960-1000 tabs of OxyContin per month” and stated that it

 wanted to take action “to reduce the abuse and diversion issues.” Following this,

 Medco and Purdue worked together to compile research and data to provide to this

 client to alleviate these concerns.105

          389.   Also in 2003, an Express Scripts employee gave a presentation at a 2003

 conference in which that employee, while discussing OxyContin, stated, “This is a

 narcotic. All narcotics are addictive. In addition, this is a controlled release narcotic,

 so when someone would crush it up and either ingest it or inject it there was a

 potential for serious injury or even death.”106 This same Express Scripts employee

 also indicated that because patients were becoming tolerant, chronic use of opioids



 103   PPLPC029000063491.
 104   E01_00004716.
 105  PPLPC028000078492;    PPLPC012000057093;                     PPLPC012000057095;
  PPLPC029000087372; PPLPC012000064369.
 106   See PPLPC012000061345, 13486 (6/5/03) (family).
                                            124

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 was occurring and patients were taking increasingly higher doses over time

 (sometimes referred to as “dose-creep” or “dose-creeping”).107 Following a study of

 opioid use in a private plan that revealed this pattern, Express Scripts conducted an

 internal study and “found that similar patterns were occurring . . . across ESI’s book

 of business.”108

             390.   The PBM Defendants also knew or had reason to know that opioids were

 being improperly marketed. They were aware, for example, that the price of at least

 some opioids (including OxyContin) increased as dosage increased. And when

 describing this dose-creeping phenomenon during the 2003 conference, an Express

 Scripts employee suggested that this phenomenon is not merely attributable to

 tolerance from chronic use—he said dose-creeping “may be reflective of detailing for

 this drug.”109 Indeed, a Purdue employee who attended this conference said in an

 email to other Purdue personnel that “[Express Scripts] is looking at the detailing of

 the drug. [Express Scripts] implied that there may be improper detailing by the

 manufacturer.”110

             391.   The PBM Defendants also knew that opioids were being improperly

 marketed because, in 2007, Purdue pleaded guilty to criminal misbranding of

 OxyContin.         The plea agreement identified specific representations that Purdue

 acknowledged          were   false.   The   PBM   Defendants   knew   that   these   same


 107   Id.
 108   Id.
 109   Id.
 110   Id.
                                               125

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 misrepresentations were still being used by Purdue and others in the marketing of

 prescription opioids. Yet they failed to use their standard formulary and UM offering

 to counteract the effects of this fraudulent marketing.

          392.   In 2006, Express Scripts executives again recognized the abuse risk

 opiates posed. But Express Scripts was reluctant to implement more robust

 monitoring for fear of customer blowback and loss of prescription volume:111




          393.   As early as 2008, Express Scripts acknowledged the acute diversion risk

 with opioids. For example, Express Scripts employee Adam Kautzner (now its

 President) noted the “improved street value” of brand name narcotics:112




 111   ESI_JEFFCOMO_000260226 (8/14/06).
 112   ESI_JEFFCOMO_000273681 (11/4/08).
                                            126

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          394.   The following slide was included in a client-facing presentation

 discussing the 2008 Express Scripts Drug Trend Report. The slide included speaker

 notes acknowledging Express Scripts’ own awareness that in 2008 it needed to do

 something about OxyContin abuse: “We all know the abuse potential for [Oxycontin]

 and we knew that a solution needed to be offered to all of you here if you wanted to

 address it:”113




          395.   In 2009, Express Scripts received an email from a client stating,

 “Houston, we have a problem, and its name is Oxycontin.”114 That same year another



 113   ESI_JEFFCOMO_000278190; ESI_JEFFCOMO_000278192.
 114Gross Dep. 55-56, Ex. 4; see also Gross Dep. 74 (discussing exhibit in same time
  period where ESI clinical personnel observed that “there has been quite a bit of
  client buzz around increasing Oxycontin use”)).
                                         127

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 large client reached out to Express Scripts regarding its desire to put into place an

 “aggressive PA policy” on opioids to combat “rampant abuse and inappropriate” opioid

 use.115

           396.   Another example occurred in 2011, when Express Scripts Vice President

 of Clinical Evaluation & Policy wrote to the chair of one of Express Scripts formulary

 committees, stating:

           I think the overutilization of opiates continue to be a significant
           problem. From what I’ve heard, there are thoughts out there that the
           opiates are being greatly over-utilized by patients with chronic non-
           cancer pain . . . MDs should be pushing for more non-opiate
           pharmacotherapies and non-pharmacologic options.116

           397.   Not only that, but the PBM Defendants were well aware for years that

 as many as 80% of users of illicit opioids started out using a prescription opioid. Below

 is a slide from a presentation by OptumRx Chief Pharmacy Officer Calabrese, quoting

 from a 2014 CDC study in this regard:117




 115   ESI_JEFFCOMO_000259907.
 116   ESI_JEFFCOMO_000299137.
 117   OPTUMRX_JEFFCO_0000374488 (5/8/18).
                                            128

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         398.   In 2013 Express Scripts put together the following client-facing

 marketing poster utilizing its own data, as well as outside sources, that not only

 recognized that opioid abuse was “deadlier than cocaine and heroin combined” but

 also recognized the pivotal role that Express Scripts plays in “collaborating to end the

 epidemic”:




                                           129

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          399.   Express Scripts’ 2014 report, “A Nation in Pain,” concluded, among

 other things, that “[p]rescription rates for opioids increased dramatically in the past

 two decades . . .” and that “[o]pioid abuse is an epidemic in the U.S.”118 “A Nation in

 Pain” also referenced a separate ESI study that found that 40% of opioid prescriptions

 filled by members with employer-sponsored drug coverage between 2011 and 2012

 were written by only 5% of prescribers.119




   “A Nation in Pain: Focusing on U.S. Opioid Trends for Treatment of Short-Term
 118

  and Longer-Term Pain, An Express Scripts Report,” (Dec. 2014),
  https://d11tr245s7jfj6.cloudfront.net/2019-08/Opioid%20Report_0.pdf.
 119   ESI_JEFFCOMO_000003092 (12/9/14).
                                          130

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             400.   The PBM Defendants knew about the epidemic not only from their own

 data, but from other sources as well. One of these sources was almost surely their

 own P&T committees. These committees have historically been concerned with “the

 documented safety and efficacy of new drug formulations.”120 P&T committees are

 typically “comprised of physicians, pharmacists, and other clinicians” that meet

 regularly to keep up with the fast pace of pharmaceutical innovation.121 Express

 Scripts, for example, describes its P&T Committee as “a panel of independent

 physicians and pharmacists in active clinical practice, representing a variety of

 specialties and practice settings and typically with major academic affiliations.”122

             401.   The   University   of   Wisconsin-Madison         Division     of   Pharmacy

 Professional Development lists, among its “5 Best Practices for P&T Committee

 Members,” the need for committee members to “be informed,” “be objective,” and

 “emphasize patient-focused outcomes.”123 In particular, to stay informed, “[t]hey

 should regularly seek out information from reputable sources, including peer-

 reviewed journals, industry thought-leaders and the FDA.”124 With respect to being


 120Zhixiao Wang et al., “Cost-Effectiveness Analysis and the Formulary Decision-
 Making Process,” Journal of Managed Care Pharmacy, Vol. 10, no. 1, pp 48–59 at p.
 48 (Jan./Feb. 2004).
   Peri Iz, “Study of Pharmaceutical Benefit Management,” PricewaterhouseCoopers
 121

  HCFA Contract No. XXX-XX-XXXX/0097, p. 79 (June 2001).
   Express Scripts Holding Company, 2017 SEC Form 10-K, at p. 5 (Dec. 31, 2017)
 122

  https://www.sec.gov/Archives/edgar/data/1532063/000153206318000004/esrx-
  12312017x10k.htm.
 123 UW-Madison School of Pharmacy, Division of Pharmacy Professional Development, 5 Best

 Practices for P&T Committee Members, (Sep. 25, 2023), https://ce.pharmacy.wisc.edu/blog/5-best-
 practices-for-pt-committee-members/.
 124   Id.
                                                131

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 objective, the Division notes that “[f]ormulary decisions are objective and evidence-

 based.”125 When discussing the focus on patient outcomes, P&T committee members

 “should be focused on the quality, efficacy, and safety of the treatment patients

 receive.”126

             402.   Given this responsibility to stay informed, P&T committee members

 knew or should have known of the nationally available information regarding the

 risks of opioids. And through these P&T committees, the PBM Defendants knew or

 should have known that information throughout the relevant time period.

             3.     The PBM Defendants Failed to Timely Undertake Actions to
                    Address the Opioid Epidemic that They Helped Create.

             403.   The PBM Defendants not only had knowledge of the dangers of opioids,

 they had the ability and the opportunity to rein in opioid access, but chose not to.

             404.   As early as 2007, Prescription Solutions, OptumRx’s predecessor,

 identified patients engaging in doctor and pharmacy shopping for opioid analgesics

 as part of its Narcotic DUR program. However, the scope of the Narcotic DUR was

 extremely narrow: to be identified by the program, a patient had to see four or more

 prescribers for the exact same opioid analgesic, or fill prescriptions for the exact same

 opioid analgesic at three or more pharmacies, within a three-month period. And even

 when patients were identified under these limited criteria, the action taken was

 minimal. The prescribers involved received a fax or mailing with the patient drug




 125   Id.
 126   Id.
                                              132

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 utilization information and materials on “appropriate opioid use”—based on

 guidelines by the American Pain Society and the Federation of State Medical Boards,

 pro-opioid front groups working closely with the opioid manufacturers.127 These

 mailings, unsurprisingly, did little to change prescribing patterns; if a prescriber

 chose to respond, he or she could simply state that the medication use was

 appropriate. And if the prescriber responded that further monitoring for that patient

 was not needed, Prescription Solutions would exclude that patient from any

 subsequent reports. The program did nothing to limit the quantity of opioids the

 prescribers could provide, nor did it identify prescriber-level red flags, such as writing

 the same controlled substance prescription repeatedly or writing a high ratio of

 controlled substance prescriptions compared to other drugs.

          405.   In a 2013 email, an OptumInsight Life Sciences consultant forwarded

 an article to opioid manufacturer Endo indicating that CVS was cutting opioid access

 for “risky” prescribers and that OptumInsight could do the same: “Within our data,

 we can track the physicians, their # of prescriptions within the Optum database, their

 patients comorbidities and conditions (e.g. do their patients have pain issues?). . . We

 can also track the pharmacies as well.”128

          406.   In 2013, Catamaran, a PBM that subsequently became part of Optum,

 promoted its ability to identify “current as well as future at-risk patients and drive

 interventions in our clinical programming” based on a “dynamic rules engine that



 127   See id. at 90557 and 90560.
 128   ENDO-OPIOID_MDL-02875114 (8/26/13).
                                            133

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 continuously scans patient data.” Catamaran claimed it could identify these risks “in

 real time” based on just 30 days of prescription data.129

                 a.    The PBM Defendants chose not to use their claims data
                       and their formulary and UM offerings to address
                       overprescribing, abuse, and diversion

          407.   Claims data available to the PBM Defendants gave them the ability to

 identify opioid abuse and fraud. Having individually identifiable information for

 patients, physicians, and retail pharmacies allowed the PBM Defendants to analyze

 opioid utilization, patterns, and abuse. Yet despite having an array of available,

 commonly used tools to detect physician overprescribing and manage patient drug

 utilization, the PBM Defendants failed to timely implement opioid limits that would

 have drastically reduced the inappropriate prescribing and dispensing of opioids, and

 failed to reveal what they knew from the data they collected and analyzed so informed

 decisions could be made about ongoing dispensing practices and system-wide abuses.

 Moreover, the PBM Defendants were at the same time contracting with opioid

 manufacturers for payments of rebates and fees based on utilization, without

 restriction, of opioids.

          408.   The PBM Defendants have been on notice for decades that they needed

 to and had the ability to address the overutilization of prescription opioids, which was

 contributing significantly to the growing opioid crisis.




 129   OPTUMRX_JEFFCO_0000026040 (1/24/13).
                                           134

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          409.   For instance, Express Scripts’ own studies dating back to at least 2002

 demonstrated the effectiveness that UM tools such as prior authorizations had at

 decreasing inappropriate opioid overutilization.

          410.   In 2002, Express Scripts researchers conducted a study to “examine the

 clinical and economic outcomes associated with a prior authorization (PA)

 requirement for OxyContin.” The results of the study were: “post (PA)

 implementation PMPM claims and expenditures for OxyContin decreased

 significantly without an increase in PMPM trend. The PMPM trend in claims for

 other C-2 narcotics slowed. Results indicated that those who obtained PA approval

 were more likely to have had a pain-related diagnosis than those who did not attempt

 PA approval but there was no difference in pain-related health services use between

 the groups after PA implementation.” In other words, Express Scripts’ own research

 conducted in 2002 demonstrated that prior authorization significantly decreased

 inappropriate OxyContin utilization.

          411.   In response to this study, Purdue executives expressed concern that the

 study may decrease OxyContin utilization: “The emphasis [that the study] placed on

 statements about areas of tolerance, safety, abuse and detailing of the product may

 have left the impression that other ESI Medicaid and commercial clients should

 consider implementation of a similar restriction on OxyContin.”130

          412.   That same year, in 2003, describing how opioids were dispensed to

 Medicaid patients in the State of Georgia, one ESI employee noted how the


 130   Henderson Dep. Ex. 18; Henderson Dep. Ex. 19.
                                            135

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 deployment of a prior authorization process significantly curtailed OxyContin use in

 that state:

             Now for this particular program there was a special kind of PA [prior
             authorization] [for opioids] and it included quantity level limits. So what
             was happening in this PA was that a patient would call-in for the
             approval and at that time depending on their indication for short-term
             pain such as a fracture or long-term pain such as cancer, they would get
             the length of the amount of refills they get. So for the short-term they
             would be allotted two one-month refills for the drug. For the long-term
             pain they would get up to six one-month refills for the drug. So . . . we
             looked at the outcomes and in this case we examined pain related
             emergency room visits. Now understandably this is not the best way to
             assess a pain outcome, but we had limited data, we had to do a
             retrospective analysis. If we had been able to do it prospectively we
             would have looked at things such as quality of life and activities of daily
             living.131

             413.   The result of this PA program was that, “For this client, this plan,

 Oxycontin went from ranked number seven to number 14 in drugs spent after the PA

 implementation.”132 Importantly, Express Scripts “found that [these] patients who

 did not receive the Oxycontin did not have a greater use of medical services[,] so there

 was not an unintended medical consequence from this program.”133 And not only did

 Express Scripts “think this [Georgia] program worked,” but it also declared that “this

 isn’t just exclusive to [Express Scripts], but any PBM should be doing these things.”134

 Unfortunately, it was not until fourteen years later that Express Scripts started to

 push clients to implement systemic opioid management tools.




 131   PPLPC012000061348 (6/4/03).
 132   Id.
 133   Id.
 134   Id.
                                                136

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          414.   In 2006, Express Scripts again conducted a study on its Medicaid

 population that showed the effectiveness of PA’s on reducing Oxycontin utilization.

 Specifically, a state-run Medicaid program had been concerned about the chronic use

 and potential abuse of OxyContin™, a Class 2 narcotic. Express Scripts also noted

 that “media and legislators had raised questions regarding potential abuse of

 OxyContin. Express Scripts implemented a prior authorization to “limit the

 medication to only those patients with a demonstrated medical need” and

 incorporated a quantity limit. At the end of a year of this program, Express Scripts

 found that “patients who requested a prior authorization were more likely to have a

 pain-related diagnosis than those members who did not request a prior authorization

 after being denied at the pharmacy.” Express Scripts also concluded that the “prior

 authorization program addressed this Medicaid program’s goal of fostering

 appropriate pain management while not increasing the use of emergency services for

 pain.”135

          415.   Despite knowing for decades that prior authorizations were a best

 practice for preventing opioid overutilization and abuse, Express Scripts failed to

 create or offer a standard prior authorization protocol on opioids to its clients until

 2017—after the Senate had contacted Express Scripts (twice) regarding its role in the

 opioid epidemic.

          416.   To make matters worse, Express Scripts had considered implementing

 a prior authorization on opioids as early as 2007. Internal Express Scripts documents


 135   ESI_JEFFCOMO_000306081.
                                          137

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 reveal that Express Scripts had received “requests in 2007 for [point of sale] programs

 for inappropriate narcotic utilization . . . [because] a more robust standard program

 covering all narcotics was desired.”136 Express Scripts elected not to pursue this

 program.

          417.   Indeed, when the FDA in 2013 removed the indication for use of long-

 acting narcotics to treat moderate pain, Express Scripts admitted, “we don’t really

 have a standard OxyContin PA program. Our current UM strategies are more focused

 on driving preferred products and managing quantities.”137

          418.   Prior to 2017, whenever Express Scripts was questioned by federal or

 state governments or its own clients on what it was doing to combat opioid abuse, it

 pointed to its step therapy policy on long-acting opioids (LAO). This policy required a

 patient to try a generic opioid before the patient could be dispensed a brand opioid.

          419.   However, Express Scripts knew its LAO step policy was not created to

 address opioid overutilization or abuse. Rather, it was merely a cost containment and

 stockpiling/waste measure. In fact, in 2011, Express Scripts Vice President of Clinical

 Evaluation & Policy, Andrew Behm, wrote to Express Scripts Clinical Director Amy

 Gross asking whether the following statement in the draft Drug Trend Report was

 true: “Possible abuse continues to concern plan sponsors. In 2010, Express Scripts

 initiated a long-acting opioid strategy designed to ensure that published pain-

 treatment guidelines are followed.” Amy Gross responded:



 136   ESI_JEFFCOMO_000273099; ESI_JEFFCOMO_000273100.
 137   ESI_JEFFCOMO_000169781 (9/11/13).
                                           138

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          What??? The [long acting opioid step therapy policy] has nothing to do
          with pain treatment guidelines. It is just generic before brand. Then we
          updated the OxyContin [Drug Quantity Management] to include the
          other long-acting meds. But again not to ensure published treatment
          guidelines were follow. I HATE this sentence . . .The [Step Therapy] and
          [Drug Quantity Management] are in place for cost-containment (generic
          before brand) and stockpiling/waste.138

          420.    On its face, it is clear Express Scripts’ long-acting step therapy policy

 was never intended to limit opioid overutilization or abuse. Generic versions of the

 long-acting opioids are just as addictive as the brand versions. Stepping from a

 generic version to a brand did not promote effective use of opioids; rather it opened

 the gates to the use of generic long-acting opioid given that for the most part generic

 versions of these drugs were unrestricted, Tier 1 status on Express Scripts’ standard

 formularies.

          421.    Express Scripts could have created a policy where the Step 1 drug for

 certain patients was a non-opiate product. Indeed, the same year that Express Scripts

 implemented its LAO step policy, Express Scripts Vice President of Clinical

 Evaluation & Policy, Andrew Behm acknowledged that “overutilization of opiates

 continue        to   be   significant   problem”   and   recognized    that   “non-opiate

 pharmacotherapies” should be promoted.139 Yet, Express Scripts failed to offer a non-

 opiate step and opted instead to create a policy that substituted an opioid for another

 opioid.




 138 Gross Dep. Ex. 4.


 139   ESI_JEFFCOMO_000299137.
                                              139

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          422.   Express Scripts also failed to implement this policy during crucial years

 when the opioid epidemic was taking root as brand opioids (such as when OxyContin

 which was released in 1996) were expanding the pain treatment market and were

 being heavily abused and diverted. Had Express Scripts implemented a step therapy

 policy in the early 2000s that shifted utilization from brand opioids to non-opioid pain

 treatments it could have had a significant impact on the opioid epidemic. But Express

 Scripts failed to do so.

          423.   By the time that Express Scripts enacted its long-acting opioid step

 policy, its financial incentives with respect to opioids had shifted and Express Scripts

 was making more money on generic opioids.

          424.   Therefore, while Express Scripts long-acting opioid policy did nothing to

 address the opioid epidemic, it did shift utilization from addictive brand opioids to

 equally addictive generic opioids that were more profitable for Express Scripts.

          425.   To make matters worse, prior to 2017, Express Scripts knew that the

 programs it ostensibly had in place to address opioid overutilization were failing. For

 example, a 2015 email from the head of Express Scripts’ eFWA program to Express

 Scripts Vice President of Clinical Evaluation & Policy stated:

          [Express Scripts Fraud, Waste, and Abuse Department] have been
          seeing way to many egregious drug seeking activity over the years. So
          much so that it is hard to defend how our systems would allow 68 control
          scripts by 47 physicians, and 28 pharmacies in a year for one patient.
          This is one of many that we use as examples. My thought is to try to fix
          this issue as well as the patient safety concern on the front end. Who
          could I work with around the control substance logic at POS edit? There
          has to be something to stop this proactively.140 (Emphasis added).

 140   Nader Dep. Ex. 10.
                                             140

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         426.   In another example, an Express Scripts fraud, waste and abuse

 investigation using its data mining and analytics tools for its client         benefit

 plan found that one plan member filled 49 opioid prescriptions from 14 prescribers at

 6 pharmacy locations in 14 months’ time. Another                  member had filled 36

 opioid prescriptions in just one year’s time, including some 1,898 dosage units (749

 days’ worth) in just one year. Yet another                    member filled 29 opioid

 prescriptions in just 5 months’ time. Despite these clear examples of gross over-

 dispensing, Express Scripts refused to change course and implement programs that

 it knew would have reduced inappropriate opioid utilization such as prior

 authorizations.

         427.   Had Express Scripts created and offered a robust prior authorization

 program on opioids in 2007 it likely would have resulted in tens (if not hundreds) of

 millions of fewer opioids being dispensed throughout the country, including in Webb

 County, Texas.

         428.   For years, Optum also expressed concerns regarding implementing prior

 authorizations and offering other Utilization Management protocols because of lost

 profits.

         429.   For example, OptumRx would frequently put PAs on opioid products

 that did not offer high enough rebates, and thus use the PA to steer use to “preferred”

 opioids—typically OxyContin products.

         430.   The best example of this occurred in 2013, OptumRx created a “pay to

 avoid PA” program on long-acting opioids. This was not a clinical PA; instead, it was
                                           141

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 a threat to extract higher rebates from the opioid manufacturers. The strategy was

 simple, make the opioid manufacturers “Pay to avoid a PA.”141 The PA only required

 documentation of failure of multiple other preferred opioids.142

             431.   Clinically appropriate prior authorizations were not placed on Optum’s

 highest selling long-acting Opioids for OptumRx until January 1, 2018, because the

 profitability of long-acting opioids would necessitate that any edit would need to be

 “thoroughly reviewed.”143 This required OptumRx to renegotiate all its current rebate

 agreements with opioid manufacturers.144

             432.   OptumRx did not offer a standard prior authorization program targeting

 short-acting opioids until the launch of its Opioid Risk Management Program in late

 2017, despite Optum being aware that opioid abuse was driven primarily by short

 acting generic opioids.

             433.   Beyond prior authorizations, by no later than 2011, the PBM

 Defendants had been put on notice by the Centers for Medicare and Medicaid Services

 (“CMS”) that all actors involved in delivery of healthcare in the United States needed

 to take steps to address the overutilization of prescription opioids, which was

 contributing significantly to the growing opioid crisis.




   OPTUMRX_JEFFCO_0603451; OPTUMRX_JEFFCO_0000014268;
 141

  OPTUMRX_JEFFCO_0000184961.
 142   Id.
 143   OPTUMRX_JEFFCO_0000360057.
   Note, at this time Optum began offering its discount card partnership to these
 144

  same manufacturers.
                                              142

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           434.    In September 2011, CMS sent a memorandum to “All Part D Sponsors”

 (which included the PBM Defendants and/or their predecessors-in-interest)

 describing the agency’s desire to work with them to develop policies and procedures

 to significantly reduce opioid abuse. This notice advised all recipients that Medicare

 data show overutilization of prescription opioids that is “highly indicative of drug

 seeking behavior due to drug abuse or diversion.”145 The PBM Defendants received

 the notice and were aware of the need to take action to address the opioid crisis

 through the use of utilization management tools. While CMS acknowledged that some

 Part D sponsors were employing “claim-level” controls to try to prevent opioid misuse,

 CMS advised that these measures do not adequately address the opioid

 overutilization that concerned CMS and suggested that “beneficiary-level controls”

 are needed, including clinical upper thresholds for appropriate dosing, beneficiary-

 level utilization reports that identify unusual patterns of opioid use, and denial of

 payment for any claims that reflect amounts in excess of appropriate clinical

 thresholds that cannot be justified after review.

           435.    In response to feedback generated by the September 2011 notice, CMS

 issued another notice in December 2011. CMS assured sponsors in this notice that

 prompt pay regulations are not an impediment to their efforts to reduce

 overutilization and diversion of opioids because those regulations only apply to “clean

 claims” while prescriptions that raise concerns—for example, because they would




 145   Id. at 1.
                                            143

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 exceed appropriate clinical thresholds—are not “clean.”146 This notice also encouraged

 sponsors, including the PBM Defendants, to self-report instances of potential fraud

 or abuse (e.g., drug-seeking behavior) and noted that mandatory reporting may be

 the subject of future rule-making. And CMS also advised sponsors that, while

 wholesale prior authorization requirements may not be implemented for “protected

 class drugs,” sponsors can “conduct retrospective reviews on . . . protected class

 drugs,” and where such a review reveals that opioids are being diverted or misused,

 the sponsor “can require documentation to determine medical necessity and may deny

 payment for subsequent claims if insufficient evidence is obtained to substantiate”

 the legitimacy of the prior opioid prescriptions. This notice further reminded

 sponsors, including the PBM Defendants, that they “may conduct appropriate

 consultations with physicians regarding treatment options and outcomes.”147 Finally,

 the December 2011 CMS notice suggested that sponsors should “encourage

 prescribers to prescribe in less than 30 days supplies” and “promote less than 30 day

 prescribing of drugs that are more susceptible to abuse or diversion, especially

 opioids.”148

           436.      Likewise, in June 2012, CMS issued a draft guidance on improving drug

 utilization review controls. In this guidance, CMS explained that, because of sponsor

 comments seeking clarification of what is expected, CMS was providing a “sample




 146   Id. at 1-2.
 147   Id. at 2.
 148   Id.at 3.
                                               144

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 program” and “additional detail” on “how such a program could be implemented.”149

 This sample program called for, among other things:

               •     Written policies and procedures that are updated and reviewed by plan’s
                     P&T Committee;

               •     Establishment of “methodology to identify potential opioid overutilizers
                     based on drug claims data through clinical thresholds and prescription
                     patterns set by the P&T committee that would trigger case
                     management”;

               •     A protocol to exclude from retrospective review persons who truly need
                     significant amounts of opioids (cancer patients, palliative care);

               •     Regular communication with prescribers and beneficiaries about case
                     management actions;

               •     A process for data sharing among sponsors when beneficiary/patient
                     disenrolls voluntarily from a plan; and

               •     Policies and procedures for reporting to appropriate agencies when
                     overutilization occurs.150

           437.      The CMS guidance also included sample form communications that

 sponsors can use in implementing programs to prevent overutilization and diversion

 of opioids.

           438.      However, even with CMS calling attention to PBM Defendants’ role and

 responsibility to prevent opioid misuse, Defendants’ internal resistance to

 implementing policies and procedures to significantly reduce opioid abuse continued

 for years. For instance, in a February 6, 2017 email, Nathan Merrill, the OptumRx

 Manager of Clinical UM Operations, wrote to David Calabrese, the OptumRx Chief



 149   Id. at 1.
 150   Id. at 2-6.
                                                145

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 Pharmacy Officer, highlighting concerns with placing prior authorization limits on

 the opioids Embeda (Pfizer), OxyContin (Purdue), and Opana ER (Endo) because

 “these are preferred products that are tied to ‘significant’ rebates,” and that “[b]y

 adding a [prior authorization] to these products we jeopardize any rebates we have

 contracted with the manufacturer.”151




          439.   In a later 2017 email chain, Optum employees internally discussed

 whether they should implement a hard limit to morphine equivalent dosing (“MED”)

 on OxyContin 80mg to align with the 2016 CDC Prescribing guidelines if it would

 mean loss of rebates. In an April 14, 2017 email from Brian Sabin, the Manager of

 Industry Relations, he responded they should delay implementing the formulary

 CDC MED limits on OxyContin 80mg to “ensure we protect rebates” because “we

 cannot sacrifice rebates on only the 80mg strength here” as that would mean Optum

 would “sacrifice rebates on all OxyContin scripts.”152




 151   OPTUMRX_JEFFCO_0000366595 (2/6/17).
 152   OPTUMRX_JEFFCO_0000107098 (4/14/17).
                                          146

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          440.   Even as of 2019, Optum was still profiting from keeping OxyContin on

 its standard formularies. In a March 2019 email exchange, Optum Director of

 Industry Relations Brian Sabin asked Senior Director of Industry Relations Venkat

 Vadlamudi whether Optum should remove OxyContin from its formularies

 altogether, “rebate losses be damned,” noting that Purdue “basically caused the

 Opioid epidemic” and Optum’s continued inclusion of OxyContin on its formularies

 was “essentially rewarding their bad behavior.” He added, “From a purely PR

 perspective, I think it would look good on us.”153




 153   OPTUMRX_JEFFCO_0000506200 (3/4/19).
                                           147

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             441.   Senior Director Vadlamudi replied, “We as a company looked into this,

 but the amount of utilization on Oxycontin and the rebates we collect prevented us

 from doing it.”154 Vadlamudi then adds that “maybe we can change” if Sabin “can

 look into it and model the scenarios”:155




             442.   Express Scripts likewise resisted limits that threatened rebates and

 other fees. For example, in a 2017 email chain, several Express Scripts employees

 derided the fact that the effort to put a prior authorization limit on OxyContin had

 been overruled by the ESI Value Assessment Committee. Janelle Kuntz, the Express

 Scripts Clinical Director for the Office of Clinical Evaluation & Policy, stated that the

 decision “[w]as not sitting well with me at all,” and wanted it escalated “to ensure

 that the rebate gain outweighs the likely erosion of our reputation.” Nancy Pehl,

 Senior Director, Drug Evaluation Unit Office of Clinical Evaluation & Policy at




 154   Id.
 155   Id.
                                              148

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 Express Scripts, responded the same day that the decision “is really sad, really

 disheartening” and made “[n]o clinical sense to say the least.”156

             443.   For years, Express Scripts’ executives observed that efforts to address

 opioid overutilization with respect to Medicare              were not being offered or

 implemented on the commercial side. In 2014, Snezana Mahon and Amanda Dwyer

 commented about the fact that “what is available in Medicare is not fully available in

 Commercial.”157 Ms. Mahon commented that Express Scripts knew that it scored

 poorly in these areas and have been filling out response to an RFP for the last couple

 years to that effect. In response, Amanda Dwyer commented that it is “unfortunate

 that what is available in Medicare is not fully available in Commercial, and [Express

 Scripts] continue[s] to just be okay with lacking in these areas.”158 Ms. Mahon echoed

 these comments in 2016 during Express Scripts’ “Opioid Summit” in discussing what

 Express Scripts needed to do to address inappropriate opioid utilization, stating,

 “CMS put in requirements that were [opioid] solutions that were not put into

 commercial because we didn’t invest in the other lines of business.”159

             444.   In sum, in exchange for lucrative financial benefits from the opioid

 manufacturers, Express Scripts and Optum have stoked the fires of the opioid

 epidemic by allowing unfettered access on their standard formularies to dangerous,

 highly addictive opioids with minimal, if any, restrictions.


 156   ESI_JEFFCOMO_000029940 (3/23/17).
 157   ESI_JEFFCOMO_000095166.
 158   Id.
 159
       ESI_JEFFCOMO_000109001
                                               149

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         445.   That reality, however, has not deterred PBMs from publicly touting

 their unique ability to alter the course of the opioid epidemic.

         446.   On February 18, 2018, Snezana Mahon, Express Scripts Vice President

 of Clinical Product Development, testified before the United States Senate

 Committee on Health, Education, Labor and Pensions hearing titled, “The Opioid

 Crisis: The Role of Technology and Data in Preventing and Treating Addiction.”

 During the hearing, Ms. Mahon testified about out how Express Scripts had the

 ability to “minimize early opioid exposure and prevent progression to overuse and

 abuse.” Ms. Mahon further testified to Congress:

         Because Express Scripts interacts with patients, pharmacies,
         prescribers, and payers, our company is uniquely situated to collect data
         when patients receive and fill a prescription for an opioid under their
         pharmacy benefit. We can leverage that data across the care continuum
         in order to design interventions aimed at preventing opioid addiction
         from beginning in the first place. With 2 million Americans addicted to
         prescription narcotics, and more than 1,000 people treated daily in
         emergency departments for misusing prescription opioids, this is a $53
         billion public health crisis.160

         447.   Likewise, in 2017, OptumRx announced, “By leveraging OptumRx’s

 clinical, analytics and administrative services and its deep connections to those who

 can effect change—patients, providers and pharmacists—the company is uniquely

 positioned to help address the opioid epidemic.”161



   Snezana Mahon, PharmD, The Opioid Crisis: The Role of Technology and Data in
 160

  Preventing     and      Treating     Addiction    (February     27,    2018),
  https://www.help.senate.gov/imo/media/doc/Mahon.pdf (emphasis added).
   Optum, OptumRx Opioid Risk Management Program Leads to Better Outcomes for
 161

  Patients and Clients, (Aug. 22, 2017), https://www.optum.com/about/news/optumrx-
  risk-management-program-leads-to-better-outcomes.html.
                                           150

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          448.   Optum’s Chief Pharmacy Officer, David Calabrese, has made similar

 statements: “PBMs are uniquely positioned to connect and partner with physicians,

 pharmacists, patients, pharmaceutical manufacturers, health systems and other

 components of the industry and therefore are better able to drive improvements in

 education surrounding the dangers of opioid therapy, as well as the various tools

 available for constituents to positively change the course of this epidemic.” Calabrese

 added, “Our nation’s indiscriminate prescribing, dispensing, demand for, and

 consumption of prescription opioid drugs has led to a scenario in which we now

 consume more than 80% of the world’s supply of prescription opioids and a

 corresponding death toll due to opioid overdose which is one of the highest in the

 world.”162


          449.   In March 2017, Calabrese gave a talk at a PBM trade association

 conference titled “Confronting the Crisis We Brought Upon Ourselves: America’s

 Opioid Abuse Epidemic,” admitting that “[w]e are all accountable . . . and all part of

 the solution . . .”:163




 162Managed Healthcare, Four PBM programs poised to rein in the opioid epidemic,
  (Jan. 1, 2018), https://www.managedhealthcareexecutive.com/view/four-pbm-
  programs-poised-rein-opioid-epidemic.
 163   OPTUMRX_JEFFCO_0000017988 (3/24/17).
                                          151

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             450.   Calabrese’s presentation discusses the “most effective” way to “[c]lose

 the [f]loodgates” on opioid abuse would be to “capitalize on the enormous powers we

 have as a PBM in benefit management . . . to deploy much more aggressive

 interventions that limit exposure to these drugs . . . right out of the gate”:164




 164   Id.
                                               152

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             451.   Among the tools Calabrese suggests is the use of OptumRx’s “predictive

 modeling capabilities [to identify at-risk patients and monitor physician prescribing

 patterns] that will allow us much greater leverage in getting ahead of the problems

 for our members, before it is too late.”165

             452.   The data in Calabrese’s presentation, which showed the severity of the

 epidemic and rampant noncompliance with the CDC’s 2016 recommendations on

 opioid prescribing, were from Optum’s own claims data.

             453.   Speaker notes from an OptumRx sales presentation from the same time

 period characterize the PBM response to the opioid crisis as a “delayed reaction,”

 declaring that “we can no longer sit idly by and watch”:

             Today we are in the midst of one of the most significant healthcare crises
             in our nation's history, and that is our nation's opioid abuse epidemic.
             …

             Sadly, unlike other crises we’ve faced before, this one is unique in that it
             is one that we have largely brought upon ourselves. How? Through the
             over-promotion and over-prescribing of these drugs by our pharm mfgs
             and physicians; our delayed reaction in intervening as PBMs and MCOs
             as our death toll rose substantially; and our lax attitudes as a society as
             a whole with regard to the acceptance; consumption; sharing; storage
             and propere [sic] disposal of these agents when prescribed to ourselves
             and our family members.

             Because we all share accountability, we at OptumRx, believe we are in
             a unique position now (unlike that of any of our competitors) to leverage
             the broad capabilities across our enterprise (Rx, BH, analytics, CM,
             etc...) and deliver the type of end-to-end solution suite that will deliver
             a positive impact in decreasing the prevalence of OUD and the fatality
             rate that we can no longer sit idly by and watch to continue.166




 165   Id.
 166   OPTUMRX_JEFFCO_0000206573 (3/8/17) (emphasis supplied).
                                                 153

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          454.   Despite having been “uniquely positioned” to change the trajectory of

 the opioid epidemic, the PBM Defendants instead sat “idly by” for years. Even when

 they began to take some steps to ostensibly address the crisis, Defendants themselves

 recognized that these measures were ineffective. For example, a July 2016 internal

 ESI memorandum about the upcoming “Opioid Summit” indicated that while ESI had

 “several tools and solutions to identify and manage opioids . . . our solutions are

 sometimes disjointed and lack coordinated approaches.”167 Similarly, a 2017

 presentation described ESI’s existing opioid solutions as “fragmented,” “disjointed”

 and having “no clear value prop.”168 And although Optum mailed notice letters to

 “outlier prescribers” in late 2016, no providers were dismissed from the network as a

 result of the investigation, and Optum never conducted any follow-up analysis to

 determine whether the letters had any impact on prescribing.

                 b.    The PBM Defendants chose not to use their “Drug
                       Utilization Review” tools to address overprescribing,
                       abuse and diversion

          455.   The PBM Defendants also had available to them their Drug Utilization

 Review (“DUR”) programs to control the flow of opioids but chose not to use this tool

 either. Internal documents from the PBM Defendants show that rebate monies had

 a direct impact on how the PBM Defendants managed access to opioids, including

 their obligations to monitor on a real-time basis through concurrent drug utilization

 review that only safe and appropriate opioid prescriptions would be filled.



 167   ESI_JEFFCOMO_000028723 (7/4/16).
 168   ESI_JEFFCOMO_000179506 (3/31/17).
                                           154

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         456.   “Concurrent DUR” or “cDUR” involves the real-time evaluation of drug

 therapy and intervention, if necessary, while the patient is undergoing therapy,

 including screening at the point of sale for potential drug therapy problems due to

 therapeutic duplication, age/gender-related contraindications, over-utilization and

 under-utilization, drug-drug interactions, incorrect drug dosage or duration of drug

 therapy, drug-allergy contraindications, and clinical abuse/misuse.

         457.   But they refused to use cDUR to control opioid misuse because doing so

 would have impacted their revenue, including receipt of rebates, income generated

 from opioid dispensing, and other fees. For years, the PBM Defendants have failed to

 deploy cDUR initiatives to ensure that only appropriate opioid prescriptions were

 being dispensed in pharmacies across the country (including in their own mail order

 pharmacies). This intentional refusal by the PBM Defendants permitted the dramatic

 increase in medically inappropriate prescribing and dispensing of prescription opioids

 that contributed to the fueling of the opioid epidemic.

         458.   Even when some clients attempted to place cDUR dosage limits on

 excessive use of opioids, Express Scripts and Optum colluded with the opioid

 manufacturers to push back.

         459.   Even when the FDA in 2013 removed the indication for use of long-

 acting narcotics to treat moderate pain, Express Scripts saw no reason to change its

 cDUR program, acknowledging that its strategy was “more focused on driving




                                          155

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 preferred products and managing quantities.”169 One ESI employee at the time

 described the FDA change as “kind of a non-event.”170

             460.   Several years later, in 2016 when ESI tried to implement cDUR limits

 on Purdue’s drugs, the manufacturer pushed back, reminding ESI that the cDUR

 limits (which would have restricted opioid use to acute pain, blocked opioids unless

 the use was for cancer or other approved uses, or required prior authorization for all

 opioids) would be in violation of its rebate agreement.

             461.   Optum, too, was unwilling to implement robust cDUR restrictions

 because doing so would impact its receipt of rebates. In 2017, when OptumRx tried

 to implement changes which would have used cDUR to control inappropriate opioid

 usage, there was pushback because it would mean the loss of rebates. In response to

 these concerns, on March 24, 2017, SVP Calabrese raised the question whether, “[i]f

 our opioid mfg industry partners can’t appreciate the magnitude of the problem we

 are facing [and] the immediacy of the need for intervention[,] . . . I would question

 whether they are the right partner for us longer term”:171




 169   ESI_JEFFCOMO_000169781 (9/11/13).
 170   Id.
 171   OPTUMRX_JEFFCO_0000235659 (3/24/17).
                                              156

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             462.   Later that same day, Robert Lahman, OptumRx SVP Industry

 Relations, responded that “I agree with you but you also have to be mindful of our

 [rebate] contracts.” Lahman also warned Calabrese to “[s]top with the attitude and

 help us make sure we are compliant with our contracts.”172

             463.   Frustrated that OptumRx would delay the changes to its use of cDUR

 limits resulting from what he saw as “gross overprescribing and overpromotion of

 these medications . . . , and the countless deaths,” Calabrese later that day sent an

 irate response to Lahman, telling him: “Maybe you should be the one to take a step

 back and look at the bigger picture here. I need you on board with doing your job and

 convincing the [manufacturers] that we drive the ship here in terms of how their

 drugs get used, not them!”173




 172   Id.
 173   Id.
                                             157

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          464.   Even when products like Opana ER were being withdrawn from the

 market, OptumRx refused to put a PA in place that would have prevented new

 patients from starting on the drug because it would “put [Optum’s] rebates at risk.”174




 174   OPTUMRX_JEFFCO_0000430032 (7/19/17).
                                          158

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                c.    The PBM Defendants failed to use their vast stores of
                      data, their formulary and UM offerings, and their DURs
                      to provide effective controls against diversion and/or to
                      prevent the diversion and abuse of opioids

         465.   The PBM Defendants were uniquely situated to control against the

 abuse and diversion of opioids, but as described above, chose not to do so.

         466.   As described more fully below, OptumRx provides both PBM and mail-

 order dispensing services. In its capacity as a mail-order dispenser, OptumRx is (and

 is required to be) registered with the federal Drug Enforcement Agency (“DEA”). The

 Controlled Substances Act (“CSA”) and its implementing regulations require all

 registrants to provide “effective controls” against the diversion of controlled

 substances. 21 C.F.R. § 1301.71(a). Nothing in the CSA suggests that this obligation

 is limited to only certain aspects of a registrant’s business. A retail pharmacy, for

 example, cannot satisfy its obligations by exercising controls at its dispensing counter

 if it is maintaining an open-air illegal drug market in its parking lot. The obligation

 to maintain effective controls against diversion applies to all of a registrant’s

 activities.

         467.   OptumRx failed to maintain effective controls against diversion in the

 operation of its PBM services. On the contrary, as detailed above, at every turn

 OptumRx used its standard formularies, UM tools, and DUR programs to increase

 the supply of opioids, without regard to abuse or diversion of these drugs. OptumRx’s

 operation of its standard formularies, UM tools, and DUR programs was thus in

 violation of its obligations as a CSA registrant to provide “effective controls” against

 diversion. This is especially true because, as detailed above, OptumRx knew that its
                                           159

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 policies resulted in diversion and knew that changes that it declined to make would

 have reduced oversupply and diversion.

         468.   Express Scripts used different corporate entities to operate its PBM and

 mail-order dispensing businesses. But Express Scripts knew that prescription opioids

 presented serious risks of abuse and diversion and knew that its mail-order pharmacy

 was required by the CSA to provide effective controls against diversion. Express

 Scripts also knew that it was in possession of massive amounts of data that could be

 used to provide such effective controls, and also knew that it had a panoply of tools

 at its disposal – standard formularies, UM tools, and DUR programs – all of which

 could be used to reduce diversion. Even if the Express Scripts entities that provide

 PBM services are not themselves subject to DEA oversight, those entities had parallel

 responsibilities to operate their PBM services with appropriate care in light of the

 dangers of diversion that the CSA is designed to guard against. Any controls that

 Express Scripts Pharmacy, Inc.; ESI Mail Pharmacy, Inc. and Express Scripts

 Specialty Distribution Services, Inc. (all DEA registrants) provided (assuming there

 were any) could not be effective while its sister companies conducted their PBM

 activities so as to maximize the volume of opioid sales. Either way, Express Scripts

 had a duty to operate its PBM business in such a way as to minimize or reduce the

 risks that these dangerous drugs would be diverted. All of the data available to

 Express Scripts was also available to its mail-order dispensing affiliates, and those

 entities had a duty to use that data in maintaining effective controls against

 diversion, but they failed to do so.


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 E.       Two Decades After They Knew Opioids Were Causing a Public
          Health Crisis, Express Scripts and Optum Finally Implemented
          Protocols to Address the Opioid Epidemic

          469.   After decades of working to increase opioid utilization, in 2017, due to

 mounting pressure from their clients and the federal government, Express Scripts

 and Optum finally implemented programs aimed at addressing opioid overutilization

 and abuse. Express Scripts’ Advanced Opioid Management (“AOM”) program started

 on September 1, 2017, and Optum’s Opioid Risk Management (“ORM”) program was

 offered starting in January 2018.

          470.   As discussed above, as major PBMs, Express Scripts and Optum

 undoubtedly had knowledge of the opioid crisis years, if not two decades, earlier.

          471.   Moreover, for years prior to actually implementing these programs,

 Express Scripts and Optum publicly touted their ability to translate the incredible

 amount of data it received into solutions to address pressing problems in healthcare.

 For example, in 2013 Forbes article titled “How Express Scripts Uses Analytics to

 Improve Patient Outcomes,” Express Scripts Chief Information Officer, Gary

 Wimberly stated, “By filling 1.4 billion prescriptions per year, we have over 10

 petabytes of useful data from which we can gain insights and for which we can

 develop solutions.”175

          472.   Express Scripts client-facing presentations echoed Mr. Wimberly’s

 statements:




 175   Stacy Dep. Ex. 8.
                                            161

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         473.   Yet, despite having access to petabytes of data for over a decade prior to

 rolling out the AOM (as discussed above) showing opioid overutilization and despite

 the PBM Defendants publicly promoting themselves as bastions of public health for

 years, the AOM program did not roll out to plan sponsors until 2017, at which point

 plans had to “buy up” to receive the program. Said another way, Express Scripts did

 not take action for 17 years after it was aware of the prescription drug opioid crisis

 and not until after Express Scripts received an investigation inquiry from the United

 States Senates related to opioid overutilization and the CDC declared that addiction

 could occur between five days and one month.

         474.   As debuted on September 1, 2017, Express Scripts’s AOM 1.0 program

 finally provided tools (such as prior authorizations) at the pharmacy level (referred
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 to as “point of sale” or “POS”) that Express Scripts should have been offering for

 decades prior. Notably, the AOM program was the first time ESI had taken any direct

 steps to limit the quantity or flow of short acting opioids. AOM’s new POS rules

 included the following:

                    •   200 MME176 cumulative per day limit for opioid Rx’s;

                    •   Above 200 MME requires a prior authorization (PA);

                    •   Pharmacist is alerted at 90 MME.

          475.   The limits were “cumulative” across all opioid medications prescribed to

 the patient/member and limiting opioid naïve patients to 7-day supply for short acting

 opioid (SAO) prescriptions. Further, the Enhanced Prior Approval applied across all

 Long-Acting Opioids (LAO), whether generic or brand. In addition, a new patient

 required first fill of a short acting opioid before using a long-acting opioid. AOM also

 included non-utilization management elements such as proactive member education

 (letter after first fill), Opioid Disposal Bags, and Physician care alerts (messaging via

 EMR on MED and other issues).

          476.   Express Scripts stated that its AOM program was “designed to align

 with the [2016] Centers for Disease Control and Prevention Guidelines for

 Prescribing Opioids for Chronic Pain.”177 The program, however, did not align with

 the 2016 CDC Guidelines and in fact the featured limits were excessive and




   Notably, these limits were still more than twice the limits recommended by the
 176

  CDC in 2016.
 177   Blair Dep. Ex. 21.
                                            163

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 dangerous when compared to the CDC Guidelines. Nonetheless, Express Scripts

 claimed the following successes in first six months of the program:

                     •   59.5% reduction in average days’ supply of opioids for first time
                         users;

                     •   95.9% of prescriptions that were reprocessed because of UM edits
                         were filled for 7-day supply or less;

                     •   only 4.1% of prescriptions were filled for more than 7 days after
                         prior authorization process was complete;

                     •   87% of new opioid prescriptions written for an LAO were
                         subsequently filled with an SAO due to new enhanced PA
                         program.178

           477.   As of September 2019, two years after the initial AOM rollout, Express

 Scripts claimed the following successes:

                     •   1.4 million fewer days’ supply of opioids have been dispensed,
                         while directing patients to safer, short-acting alternatives;179

                     •   40.6% reduction in average MME for new opioid users;

                     •   77% of patients prescribed an LAO as initial therapy were
                         redirected to an SAO;

                     •   95.8% “success rate” of new members being dispensed an opioid
                         claim at or below 90 MME.180

           478.   Subsequent AOM enhancements added new limits on fentanyl products

 and opioid adjacent therapy quantity limits, as well as:

                     •   “Initial fill days’ supply rule for adults initiating opioid therapy
                         limited to a 7-days’ supply for members’ first 4 fills, requiring a


 178   Stettin Dep. Ex. 5.
   Express Scripts, 17.4 Million Americans Protected from a Nationwide Health
 179

  Crisis,           https://www.express-scripts.com/corporate/solutions/improving-
  health#advanced-opioid-management (last accessed Nov. 14, 2023).
 180   Stettin Dep. Ex 12.
                                              164

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                            prior authorization to exceed 28-days’ supply in a 60-day
                            period.”181

                        •   “[L]imiting the morphine equivalent dosing to 90 MME for
                            patients starting on opioids. Existing users are limited to 200
                            MME, unless they receive a prior authorization for a higher
                            dosage.”182

             479.   By 2019, 17.4 million Express Scripts covered lives were enrolled in the

 AOM.

             480.   Optum began rolling out its own program in mid-2017, although key

 features did not launch until January 2018 due to concerns about OxyContin rebate

 impact. Optum’s Opioid Risk Management offered a “Base Offering” which was the

 standard program that applied to all PBM clients at no additional fee.183 There was

 no opt-in required. Id.

             481.   The ORM also included optional “Add-On components” which included

 narrow refill limits, hard edits as opposed to soft edits that were included in the Base

 Offering, and additional quantity limits on all LAOs.

             482.   The ORM Buy Up Clinical Programs consisted of targeted clinical

 programs that supplement the previous ORM components to ensure “maximum

 oversight and prevention of abuse or misuse.” These programs each had an

 accompanying fee and included:

                    •   Educational support for identified members;




 181   Blair Dep. Ex. 21.
 182   Id.
 183   OPTUMRX_JEFFCO_0000392019.
                                                165

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                    •   Retrospective abused medication review, which included a daily
                        claims review for concerning utilization patterns; and

                    •   Intensive case management, which identified the highest risk
                        members with potential for abuse.184

             483.   The ORM had a significant impact on opioid utilization across

 OptumRx’s book of business. Five months after the soft launch of the ORM program,

 it achieved:

                    •   21% reduction in first-fill prescriptions exceeding the CDC dosing
                        guidelines of <50 MED per day. This translated to a 93% compliance
                        rate with CDC safe dosing recommendations;

                    •   11% reduction in first-fill acute opioid prescriptions written for
                        durations in excess of CDC-recommended 7-day supply maximum,
                        translating to a 92 percent compliance to safe duration;

                    •   5% decrease in opioid prescriptions for current chronic opioid
                        utilizers issued for >90mg MED resulting in 97 percent compliance
                        to safe dosing;

                    •   14% reduction in average dose across all short-acting opioid
                        prescriptions; and

                    •   12% reduction       in   overall   volume   of   short-acting   opioid
                        prescriptions.185

             484.   Notably, Express Scripts and Optum could have implemented these

 opioid reducing measures at any point over the past two decades as they tracked the

 opioid epidemic unfolding across the country. Quantity limits and prior

 authorizations have been used to control drug utilization since before Express Scripts




 184   Id.
 185   Id.
                                                 166

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 and Optum were PBM. And the PBM Defendants have been using step therapy since

 the late 1990s.

         485.   Yet, Express Scripts and Optum failed to implement their opioid

 programs for over a decade after their own reports, studies, and clients were alerting

 them to the need for an “aggressive” policy to address “rampant abuse and

 inappropriate” opioid use. Had Express Scripts and Optum created effective protocols

 to address the opioid overutilization—such as those implemented in 2017—when they

 first knew these drugs were causing a public health crisis, they could have

 significantly reduced the amount of opioids dispensed throughout the country,

 including in Webb County, and reduced the harm caused by the opioid epidemic.

 F.      Even After Implementing its Opioid Risk Management Program,
         Optum Continued Promoting Uncontrolled Opioid Sales Through Its
         Cash Card and Discount Card Businesses

         486.   Optum also collects set administrative fees for every opioid paid for with

 either its own discard cash service or by one of its administered cash cards—which

 are governed by either Optum Perks, LLC or Optum Discount Card Services, LLC.

 Cash cards do not have to adhere to formularies, nor do they have traditional

 utilization management controls. Cash cards played a significant role in the opioid

 epidemic, as they allowed patients that submitted prescriptions which exceeded their

 insurance plan limits a cheaper way to access opioids.186 Cash cards could be used by

 anyone to purchase opioids—including individuals who do not receive benefits from


   Kelly Ayotte, THE HILL, Shut the Back Door to America’s Opioid Epidemic (July 3
 186

  2018),         https://thehill.com/opinion/healthcare/395401-shut-the-back-door-to-
  americas-opioid-epidemic/; TEVA_WV_00077495.
                                            167

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 Optum or UnitedHealth Group. Optum counts individuals not receiving benefits from

 Optum nor United, but still utilizing its administered cash cards, as “members” of

 Optum. Optum receives administrative fees and other revenue from each opioid

 prescription paid for with an Optum-administered cash card. Optum issues cash

 cards for opioids despite knowing that this allows individuals an “end run around”

 controls built into Optum and other payors’ formularies. Further, and most

 importantly, cash cards are not subject to any limits, exclusions or Prior

 Authorization controls since members pay the entire amount of the discounted claim.

         487.   Optum’s cash card business focus took root in approximately 2015 when

 it realized that an expanded Cash Card/Pharmacy Discount service was an

 opportunity for revenue growth (and coinciding with the Catamaran acquisition since

 Catamaran had a significant cash card business). This included partnering with

 manufacturers, including opioid manufacturers, to further empower its cash card

 business.187 They explicitly communicated that their cash card business included a

 lack of opioid controls. Collegium, an opioid manufacturer, declined to participate in

 Optum’s cash card program due to the lack of opioid controls. Id.

         488.   At the same time, Optum was advertising and encouraging

 individuals—whether they were Optum or United members or not—to use its various

 administered cash card and discount programs to purchase opioids.

         489.   In 2017, while OptumRx was publicly touting its new Opioid Risk

 Management Program, internal documents showed that Optum was unwilling to


 187   OPTUMRX_JEFFCO_0000516126; OPTUMRX_JEFFCO_0000502380.
                                          168

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 control any prescriptions administered by Optum Perks or Optum Discount Card

 Services, and wanted to show that there were “no restrictions on cash cards, ever.”188

 When presented with the opportunity to block opioids on its cash cards in 2017,

 Optum calculated that it would cost the business $26 million per year and as a result,

 decided not to block the use of cash cards for opioid claims. By 2018, Optum served

 over 3.6 million cash card “members.”

         490.   Despite Optum’s public-facing commitment to fighting the opioid

 epidemic, in June 2018, Optum refused to block opioid adjudication on its suite of

 cash cards. This included a refusal by Optum, its affiliates, and its marketing

 partners to cease advertising the use of Optum’s suite of discount card pricing tools

 to pay for opioid prescriptions.189 The stated reason for this refusal was it would “cut

 into it [sic] revenue/the admin fees Optum collects regarding opioids.”190

         491.   Optum was fully aware its cash cards were being used to abuse, divert,

 and misuse opioids at that time. For example, in 2019, David Calabrese wanted to

 know Optum’s exposure when the FBI charged dozens of medical practitioners and

 pharmacies throughout the country for the illegal prescribing of opioids.191 An

 analysis of those “exposure” claims showed a large number of these were cash card

 claims administered by OptumRx.192



 188   OPTUMRX_JEFFCO0000236339.
 189   OPTUMRX_JEFFCO_00006830937.
 190   OPTUMRX_JEFFCO_00006830937.
 191   OPTUMRX_JEFFCO_0000604618.
 192   OPTUMRX JEFFCO 0000604271.
                                           169

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 VI.       As Mail Order Pharmacies, Express Scripts and Optum Dispensed
           Opioids in Violation of the Controlled Substances Act.

 A.        The Applicable Statutes

           492.    In March 2016, the CDC, in order to reduce opioid addiction, overdoses,

 and deaths, published specific recommendations for clinicians who prescribe opioids

 outside of cancer treatment, palliative care, and end-of-life care. The CDC

 recommendations are based on “[s]cientific research [that] has identified high-risk

 prescribing practices that have contributed to the overdose epidemic (e.g., high-dose

 prescribing, overlapping opioid and benzodiazepine prescriptions, and extended-

 release/long-acting opioids for acute pain).”193

           493.    Congress has found that pharmacies share responsibility for the crisis:

 “The opioid epidemic . . . has arisen, in part, from the diversion of prescription opioids

 through illegal dispensing practices at pharmacies.”194

           494.    Defendants knowingly violated their duties under the federal Controlled

 Substances Act (“CSA”) and its implementing regulations, the Texas Controlled

 Substances Act (“TCSA”) and its implementing regulations, and Texas state

 pharmacy laws and regulations including but not limited to 21 U.S.C.A. §§ 829, 841,

 842; 21 C.F.R. §§ 1301.71, 1306.04, 1306.06; TEX. HEALTH & SAFETY CODE §§ 481.061,


 193   Id. at 3.
   U.S. Senate Homeland Sec. & Governmental Aff. Comm., Ranking Member’s Off.,
 194

  Fueling an Epidemic: A Flood of 1.6 Billion Doses of Opioids into Missouri and the
  Need for Stronger DEA Enforcement, at p. 4 (July 12, 2017)
  https://www.hsgac.senate.gov/wp-content/uploads/imo/media/doc/REPORT-
  Fueling%20an%20Epidemic-
  A%20Flood%20of%201.6%20Billion%20Doses%20of%20Opioids%20into%20Missou
  ri%20and%20the%20Need%20for%20Stronger%20DEA%20Enforcement.pdf.
                                              170

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 481.071, 481.074, 481.128(a), 481.1285, 481.129; 22 TEX. ADMIN. CODE §§ 291.29,

 291.104; and TEX. OCCUPATIONS CODE § 566.151, ignoring their obligation to provide

 effective controls against diversion.

           1.     The Controlled Substances Act

           495.   The CSA and its implementing regulations govern the manufacture,

 distribution, and dispensation of controlled substances in the United States. From

 the outset, Congress recognized the importance of preventing the diversion of drugs

 from legitimate to illegitimate uses. The CSA accordingly establishes a closed

 regulatory system under which it is unlawful to manufacture, distribute, dispense, or

 possess any controlled substance except in a manner authorized by the CSA.

           496.   The CSA categorizes controlled substances in five “Schedules.”

           497.   Schedule II (also called herein CII) contains drugs with “a high potential

 for abuse” that “may lead to severe psychological or physical dependence,” but

 nonetheless have “a currently accepted medical use in treatment.”195

           498.   Schedule III contains drugs in which, although the abuse potential is

 less than a Schedule II drug, such abuse may lead to moderate “physical dependence

 or high psychological dependence.” Schedule III drugs also have “a currently accepted

 medical use.”196




 195   21 U.S.C. § 812(b)(2).
 196   21 U.S.C. § 812(b)(3).
                                              171

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           499.   Schedule IV contains drugs that, although having a lower abuse

 potential than Schedule III drugs, still may lead to a physical or psychological

 dependence when abused.197

           500.   Schedule V contains drugs that, although having a lower abuse potential

 than Schedule IV drugs, still may lead to a physical or psychological dependence

 when abused.

           501.   The CSA makes it “unlawful for any person knowingly or intentionally

 to manufacture, distribute, or dispense, or possess with intent to manufacture,

 distribute, or dispense, a controlled substance” except as specifically authorized.198

           502.   Accordingly, the CSA requires those who manufacture, distribute, or

 dispense controlled substances to obtain a registration from the DEA.199 A registrant

 is only permitted to dispense or distribute controlled substances “to the extent

 authorized by their registration and in conformity with the [CSA].”200

           503.   An order purporting to be a prescription issued not in the usual course

 of professional treatment or in legitimate and authorized research is an invalid

 prescription within the meaning and intent of the CSA.

           504.   At all times relevant to this Complaint, Defendants have registered

 their mail order pharmacies with the DEA in Schedule II–V controlled substances.

 Those DEA registrations authorize Defendants’-owned pharmacies to “dispense”


 197   21 U.S.C. § 812(b)(4).
 198   21 U.S.C. § 841(a)(1).
 199   21 U.S.C. § 822(a).
 200   21 U.S.C. § 822(b).
                                             172

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 controlled substances, which “means to deliver a controlled substance to an ultimate

 user … by, or pursuant to the lawful order of, a practitioner.”201

           505.   In the case of Express Scripts, the entities that are registered with the

 DEA are Express Scripts Pharmacy, Inc.; ESI Mail Pharmacy, Inc. and Express

 Scripts Specialty Distribution Services, Inc. In the case of Optum, the registered

 entity is OptumRx, the same entity that performs PBM services.

           506.   Agents and employees of a registered manufacturer, distributor, or

 dispenser of controlled substances, such as a pharmacist employed by a registered

 mail order pharmacy like those owned by Defendants, are not required to register

 with the DEA “if such agent or employee is acting in the usual course of his business

 or employment.”202

           507.   Under the CSA, the lawful dispensing of controlled substances is

 governed by 28 U.S.C. § 829 and more specifically in Part 1306 of the CSA’s

 implementing regulations.

           508.   Unless dispensed directly by a non-pharmacist practitioner, no Schedule

 II controlled substance may be dispensed without the written prescription of a

 practitioner, such as a physician, except in an emergency. Similarly, unless directly

 dispensed, no Schedule III or IV controlled substance may be dispensed without a

 written or oral prescription from a practitioner.




 201   21 U.S.C. § 802(10), accord 21 U.S.C. § 823(f).
 202   21 U.S.C. § 822(c)(1).
                                              173

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             509.   Such a prescription for a controlled substance may only be issued by an

 individual who is (a) “authorized to prescribe controlled substances by the jurisdiction

 in which he is licensed to practice his profession” and (b) registered with the DEA.203

             510.   A prescription, whether written or oral, is legally valid under the CSA

 only if it is issued for “a legitimate medical purpose by an individual practitioner

 acting in the usual course of his professional practice.”204 Moreover, “[a]n order

 purporting to be a prescription issued not in the usual course of professional

 treatment … is not a prescription within the meaning and intent of [21 U.S.C. § 829]

 and the person knowingly filling such a purported prescription, as well as the person

 issuing it, shall be subject to the penalties provided for violations of the provisions of

 law relating to controlled substances.”205

             511.   As a result, the “responsibility for the proper prescribing and dispensing

 of controlled substances is upon the prescribing practitioner, but a corresponding

 responsibility rests with the pharmacist who fills the prescription.”206 Thus, a

 pharmacist may not fill a controlled substance prescription unless it has been issued

 for a legitimate medical purpose.




 203   21 U.S.C. § 822; 21 C.F.R. § 1306.03.
 204   21 C.F.R. § 1306.04(a).
 205   Id.
 206   Id.
                                                174

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             512.   Moreover, “[a] prescription for a controlled substance may only be filled

 by a pharmacist, acting in the usual course of his professional practice and either

 registered individually, or employed in a registered pharmacy….”207

             513.   Pharmacists are therefore permitted to dispense a controlled substance

 in any given instance if, but only if, such dispensing would be in accordance with a

 generally accepted, objective standard of practice—i.e., “the usual course of his [or

 her] professional practice” of pharmacy.208

             514.   Consequently, a pharmacist is required to refuse to fill a prescription if

 he or she knows or has reason to know that the prescription was not written for a

 legitimate medical purpose.

             515.   Unlawful dispensing of controlled substances by a pharmacist may

 subject the pharmacy or pharmacist to criminal actions and to civil enforcement

 actions for money penalties or injunctions.

             516.   A pharmacy also needs to know there is a corresponding responsibility

 for the pharmacist who fills the prescription. The pharmacist has a legal duty to

 recognize “red flags” or warning signs that raise (or should raise) a reasonable

 suspicion that a prescription for a controlled substance is not legitimate. The

 existence of such indicia obligates the pharmacist to conduct a sufficient investigation

 to determine that the prescription is actually legitimate before dispensing.               A

 pharmacist’s corresponding responsibility extends to the pharmacy itself.



 207   21 C.F.R. § 1306.06.
 208   Id.
                                                175

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         517.   A pharmacy’s registration can be revoked because its pharmacists have

 violated the corresponding responsibility rule and both the pharmacy and

 pharmacists may be the subject of further discipline.

         518.   In addition to the CSA, Defendants were also required to comply with

 Texas controlled substances laws and pharmacy regulations, including, but not

 limited to, TEX. HEALTH & SAFETY CODE §§ 481.061, 481.071, 481.074, 481.128(a),

 481.1285, 481.129; 22 TEX. ADMIN. CODE §§ 291.29, 291.104; and TEX. OCCUPATIONS

 CODE § 566.151. Express Scripts and Optum failed to meet these obligations.

         2.     Pharmacies Are Obligated Not to Fill Prescriptions Until All
                Red Flags Are Resolved

         519.   A pharmacy cannot ignore red flags indicative of abuse and diversion.

 On the contrary, “a pharmacist is obligated to refuse to fill a prescription if he knows

 or has reason to know that the prescription was not written for a legitimate medical

 purpose.”209 “[W]hen prescriptions are clearly not issued for legitimate medical

 purposes, a pharmacist may not intentionally close his eyes and thereby avoid actual

 knowledge of the real purpose of the prescriptions.”210 Thus, § 1306.064 requires

 “pharmacists [to] use common sense and professional judgment,” which includes

 paying attention to the “number of prescriptions issued, the number of dosage units

 prescribed, the duration and pattern of the alleged treatment,” the number of doctors




   Medic-Aid Pharmacy, Revocation of Registration, 55 Fed. Reg. 30,043-01, 30,044,
 209

  1990 WL 328750 (Dep’t of Just. July 24, 1990).
   East Main Street Pharmacy, Affirmance of Suspension Order, 75 Fed. Reg. 66,149-
 210

  01, 66,150, 2010 WL 4218766 (Dep’t of Just. Oct. 27, 2010).
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 writing prescriptions and whether the drugs prescribed have a high rate of abuse or

 diversion.211 “When       [pharmacists’]   suspicions   are   aroused    as   reasonable

 professionals,” they must at least verify the prescription’s propriety, and if not

 satisfied by the answer they must “refuse to dispense.”212

          520.   Courts, too, have recognized the obligation of pharmacies not to dispense

 until red flags are resolved.213 In Medicine Shoppe-Jonesborough, the Sixth Circuit

 affirmed a pharmacy’s liability for filling false or fraudulent prescriptions for

 controlled substances, concluding that the pharmacy violated § 829 of the CSA and

 21 C.F.R. § 1306.04. The Court held “[t]he CSA forbids a pharmacy to dispense a

 Schedule II, III, or IV controlled substance without a prescription, 21 U.S.C. § 829(a)-

 (b), which ‘must be issued for a legitimate medical purpose by an individual

 practitioner acting in the usual course of his professional practice,’ 21 C.F.R. §

 1306.04(a).”214 Prescriptions that “involved excessive” quantities of drugs and


 211Ralph J. Bertolino, d/b/a Ralph J. Bertolino Pharmacy, Inc., Revocation of
  Registration, 55 Fed. Reg. 4,729-01, 4,730, 1990 WL 352775 (Dep’t of Just. Feb. 9,
  1990).
   Id.; see also Townwood Pharmacy, Revocation of Registration, 63 Fed. Reg. 8,477-
 212

  04, 1998 WL 64863 (Dep’t of Justice Feb. 19, 1998); Grider Drug No. 1 & Grider
  Drug No. 2, Decision & Order, 77 Fed. Reg. 44,070-01, 2012 WL 3027634 (Dep’t of
  Justice July 26, 2012); The Medicine Dropper, Revocation of Registration 76 Fed.
  Reg. 20,039-01, 2011 WL 1343276 (Dep’t of Justice Apr. 11, 2011); Medicine Shoppe-
  Jonesborough, Revocation of Registration, 73 Fed. Reg. 364-01, 2008 WL 34619
  (Dep’t of Justice Jan. 2, 2008); United Prescriptions Services, Inc., Revocation of
  Registration, 72 Fed. Reg. 50,397- 01, 50,407-8, 2007 WL 2455578 (Dep’t of Just.
  Aug. 31, 2007).
   See Med. Shoppe-Jonesborough v. Drug Enf’t Admin., 300 F. App’x 409, 413-14 (6th
 213

  Cir. 2008); United States v. Henry, 727 F.2d 1373, 1378-79 (5th Cir. 1984); Holiday
  CVS, L.L.C. v. Holder, 839 F. Supp.2d 145, 160 (D.D.C. 2012).
 214   Med. Shoppe-Jonesborough, 300 F. App’x at 412.
                                             177

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 “remedies outside the prescriber’s ordinary area of practice” “should have raised red

 flags at Medicine Shoppe.”215 “By filling these prescriptions anyway. . . the pharmacy

 not only violated its duties under federal (and state) law to ensure that only proper

 prescriptions were filled but also put public health and safety at risk.”216

             521.    The MDL Court has addressed this very issue. The Court unequivocally

 stated that “[t]here is no question that dispensers of controlled substances are

 obligated to check for and conclusively resolve red flags of possible diversion prior to

 dispensing those substances.”217

             522.    In fact, the MDL Court found that the corporate parents of chain

 pharmacies have an affirmative obligation under the CSA to “design and implement

 systems, policies, or procedures to identify red flag prescriptions.” 218 The Court

 reasoned that pharmacies “cannot collect data as required by the statute, employ a

 licensed pharmacist as required by the statute, identify red flags as required by

 Agency decisions, but then do nothing with their collected data and leave their

 pharmacist-employees with the sole responsibility to ensure only proper prescriptions

 are filled. Possessing, yet doing nothing with, information about possible diversion

 would actually facilitate diversion, and thus violate the CSA's fundamental mandate



 215   Id. at 413.
 216   Id.
 217In re Nat’l Prescription Opiate Litig., 477 F. Supp. 3d 613, 629 (N.D. Ohio 2020),
  clarified on denial of reconsideration, No. 1:17-MD-2804, 2020 WL 5642173 (N.D.
  Ohio Sept. 22, 2020). See also City and Cnty. Of San Francisco v. Purdue Pharma
  L.P., 620 F. Supp. 3d 936, 960 (N.D. Cal. 2022).
 218   In re Nat’l Prescription Opiate Litig., 477 F. Supp. at 630.
                                               178

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 that ‘[a]ll applicants and registrants shall provide effective controls and procedures

 to guard against theft and diversion of controlled substances.’” 21 C.F.R. § 1301.71(a)

 (emphasis added).”219

             3.     The CSA Applies to All Persons Who Dispense Controlled
                    Substances

             523.   Courts have found that because the plain language of § 842 extends its

 requirements to “all persons,” registrants and non-registrants alike are responsible

 for complying with the law.220 Importantly, in those cases, the courts found that

 because the pharmacy owners, who were not registrants, essentially operated the

 facilities on a day-to-day basis, they were not exempted from the requirements of

 Section 842.221

             524.   At least one court has explicitly held that a non-registrant pharmacy

 owner can be held liable for dispensing controlled substances without valid

 prescriptions. In United States v. City Pharmacy, the court found that the owner of



 219   Id.
 220See United States v. Blanton, 730 F.2d 1425, 1434 (11th Cir. 1984) (Section
  842(a)(5) applied to a physician who was not properly registered with the DEA);
  United States v. Clinical Leasing Serv., Inc., 759 F. Supp. 310, 313-14 (E.D. La.
  1990), aff’d, 925 F.2d 120 (5th Cir. 1991) (“Had Congress intended to limit the
  applicability of § 842(a)(5) to registrants only, it would have done so”); United States
  v. Stidham, 938 F. Supp. 808, 814 (S.D. Ala. 1996); United States v. Poulin, 926 F.
  Supp. 246, 250, 253 (D. Mass. 1996).
 221Stidman, 938 F. Supp. at 809, 814 (the owner of a clinic, who was not a registrant,
  could be liable because he “shouldered [the] responsibility [to provide a system for
  the control of drug traffic and to prevent the abuse of drugs] and derived the benefits
  and profits from operating a methadone clinic.”); Poulin, 926 F. Supp. at 249, 253
  (“Although Mattapoisett Pharmacy, Inc. was listed as the registrant, the statute
  specifically makes the stated obligations to produce required records applicable to
  all persons, not simply to registrants.”).
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 the pharmacy could be held liable in his personal capacity for violations of Section

 842(a)(1) even though he was not a registrant and the pharmacies he owned were

 separately incorporated.222 The United States brought an action alleging that City

 Pharmacy LLC and City Pharmacy of Charles Town, Inc. violated Section 842(a)(1)

 by filling illegitimate prescriptions for controlled substances that raised one or more

 red flags, such as customers traveling long distances or customer receiving drug

 cocktails.223

           525.     The court held that Section “842(a)(1) applies to non-registrants.”224 The

 court continued, explaining that “because part C of the CSA applies broadly to all

 persons involved in the manufacture, distribution, and dispensing of controlled

 substances, including lay-persons, defendant Lewis may potentially be held liable for

 his conduct.”225 To support its conclusion, the court concentrated on defendant Lewis’

 involvement with the pharmacies at issue, looking specifically at his investment of

 the funds to organize and open the pharmacy, the active role he played in the

 management of the pharmacies, including overseeing the finances of the pharmacies,

 managing personnel, and delivering prescriptions to customers.

           526.     The City Pharmacy court also found that the individual defendant could

 not use the pharmacies’ separate incorporation to shield himself from CSA liability.


   United States v. City Pharmacy, LLC, No. 3:16-CV-24, 2016 WL 9045859, at *4
 222

  (N.D. W.Va. Dec. 19, 2016).
 223   Id. at *1.
   Id. at *2 (citing United States v. Moore, 423 U.S. 122, 134 n.11 (1975) and United
 224

  States v. Stidham, 938 F. Supp. 808, 813-814 (S.D. Ala. 1996)).
 225   Id. at *3.
                                                180

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 Evaluating various legal mechanisms for piercing the corporate form, the court

 concluded that the pharmacies “were being used to evade the legal requirements

 within and undermine the public policy foundations of the CSA.”226 Thus, the court

 held, “given the nature of these criminally-grounded allegations, it is not a defense to

 liability in this case for defendant Lewis to assert that he is shielded by the corporate

 form. [The pharmacies] were allegedly the entities used to evade and subvert the

 requirements of the CSA.”227

           527.     Just like the defendant in City Pharmacy, as alleged more fully herein,

 Defendants have invested the funds to organize and open their mail order pharmacies

 and play a very active role in the management of those pharmacies, including




 226   Id. at *4.
   Id.; see also Poulin, 926 F. Supp. at 253 (“Mattapoisett Pharmacy, Inc. is also the
 227

  alter ego of its sole owner, David Poulin, and thus David Poulin cannot use the
  corporate name to shield himself from personal liability.”); S & S Pharmacy, Denial
  of Registration, 46 Fed. Reg. 13,051-03, 13,052, 1981 WL 96125 (Dep’t of Justice
  Feb. 19, 1981) (“[T]he Administrator has in the past looked behind the corporate-
  veil to revoke or deny a registration when a responsible official of a corporate
  registrant has been convicted of violating the laws relating to controlled
  substances.”); United States v. Robinson, No. 12-20319-CIV, 2012 WL 3984786, at
  *7 (S.D. Fla. Sept. 11, 2012), (finding a non-registrant owner of a pharmacy could
  be held liable for violations of Section 842 because the defendant was “alleged to
  have had responsibility over the controlled substances” and holding that “[w]here
  corporate officers have been in a position to prevent or correct the violations at issue,
  courts have found that there is individual liability under the [Section 842], which
  plainly applies to all ‘persons.’”); United States v. Ahmad, No. 4:15CV-181-JM, 2016
  WL 11645908, at *3 (E.D. Ark. May 2, 2016), aff’d sub nom. United States v. United
  Pain Care, Ltd., 747 F. App’x 439 (8th Cir. 2019) (an owner receiving the “benefits
  and profit” of a pharmacy, but who was not a registrant or a medical professional,
  can be liable for violations of the CSA because he was still “responsible for making
  sure that [CSA] requirements were met.”).
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 overseeing the finances of the pharmacies, managing personnel, and delivering

 prescriptions to customers.

 B.       Defendants Violated the Controlled Substances Act

          528.   At all times material hereto, DEA registrants like the PBM Defendants

 had the duty to “provide effective controls and procedures to guard against theft and

 diversion of controlled substances.”228 Diversion includes the use of medication

 outside the usual course of professional practice.

          529.   The DEA has repeatedly emphasized that, as DEA registrants,

 pharmacies like those owned by the PBM Defendants are required to implement

 systems that will detect and prevent abuse and diversion and must monitor for red

 flags of abuse and diversion. The DEA has also repeatedly affirmed the obligations of

 pharmacies to maintain effective controls against abuse and diversion in regulatory

 action after regulatory action. According to the DEA, pharmacists are the “[l]ast line

 of defense.”229

          530.   The framework of state and federal statutes and regulations, along with

 industry guidelines, make clear that pharmacies like those the PBM Defendants own

 are expected to use specialized and sophisticated knowledge, skill, information, and

 understanding of both the market for scheduled prescription narcotics and of the



 228   21 C.F.R. § 1301.71(a).
 229See Thomas W. Prevoznik, Birmingham Pharmacy Diversion Awareness
  Conference, DEA Perspective: Pharmaceutical Use & Abuse, at 139-40 (Mar. 28-29,
  2015),
  https://web.archive.org/web/20160418074249/https://www.deadiversion.usdoj.gov/
  mtgs/pharm_awareness/conf_2015/march_2015/prevoznik.pdf.
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 risks and dangers of the abuse and diversion of prescription narcotics when

 dispensing of medications outside the usual course of professional practice.

          531.   Defendants were on notice that case law and administrative proceedings

 interpreting the CSA clearly required that their pharmacies must recognize and

 resolve all “red flags” indicating addiction, abuse and diversion, such as criminal,

 civil, or administrative actions pending against the prescriber, pattern prescribing,

 pharmacy shopping, doctor shipping, high abuse potential prescriptions, drug

 cocktails, etc.

          532.   It is not just the single red flags that make the suspicious prescriptions

 unresolvable, but frequently the fact that there are multiple red flags at one time. So,

 rather than just looking for unresolvable single red flags, Defendants should have

 been looking for instances when there are multiple red flags in combination, which

 would make these truly unresolvable. According to Holiday CVS:

          Professor Doering specifically identified such red flags as. . . ; the
          respective locations of the patient and the prescriber . . . ; that a
          prescriber writes for certain combinations or patterns of drugs. . . .; and
          multiple patients presenting “prescriptions for the same drugs, the same
          quantities . . . from the same doctor without any kind of variability or
          change considering the different patients that come into the pharmacy,”
          thus suggesting that the physician prescribes in a ‘‘factory like manner.”
          Id. Professor Doering reviewed the various spreadsheets of the
          prescriptions dispensed by Respondents and testified regarding whether
          Respondents could have lawfully dispensed various prescriptions given
          the red flags they presented.230

          533.   Nor would Defendants be able to dispense a prescription with multiple

 red flags by simply making a call to the prescriber. According to Holiday CVS:



 230   Holiday CVS, 77 Fed. Reg. at 62,318.
                                              183

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           Doering explained that the pharmacist examines multiple red flags
           collectively, and testified that, in his opinion, contacting the prescribing
           physician and/or obtaining a diagnosis code would not resolve
           these red flags to a degree where the medications should have been
           dispensed. Tr. 792–93. Doering agreed that he did not know what
           measures, if any, the Respondents’ pharmacists took to resolve any
           conflicts, or whether a patient history screen was consulted prior to the
           dispensing event. Tr. 868, 873. When pressed on whether the
           distance red flags were potentially explainable under various
           hypothetical scenarios involving vacation and travel, Doering had this
           to say: “The kinds of medications that we’re talking about here are for
           chronic health problems and not acute health problems. So, it would be
           unlikely that someone comes to Florida on vacation, breaks a leg, and
           has to get oxycodone in these quantities and in these strengths. So it
           just doesn’t add up.”231

           534.   At all times material hereto, Defendants have been in the position to

 recognize those red flags listed above. All or some of those red flags were frequently

 present in hundreds of thousands of prescriptions its pharmacies received during the

 relevant time period and should have caused the PBM Defendants’ mail order

 pharmacies to refuse to fill prescriptions and/or report the behavior. However,

 Defendants failed to do so.

           535.   The PBM Defendants, as sophisticated owners of multiple mail order

 pharmacies, had the ability to analyze data relating to drug utilization and

 prescribing patterns across multiple retail stores in diverse geographic locations.

 Each PBM, including Defendants, tracks every prescription claim it processes across

 all the health plans it services. Furthermore, Defendants could aggregate these data

 across various entities in the pharmaceutical supply chain, including drug

 manufacturer, pharmacies, insurers, and patients. Their own data would have



 231   Id. at 62,334.
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 allowed Defendants to observe patterns or instances of dispensing that are potentially

 suspicious, of oversupply in particular stores or geographic areas, and of prescribers

 or facilities that seem to engage in improper prescribing.

         536.   Rather than use their data to limit problematic opioid utilization or

 investigate outlier prescribers, Defendants sold the data to third-party vendors who

 in turn resold the data to drug makers like Purdue Pharmaceuticals. Drug makers

 used these data to stoke increased sales of opioid drugs to physicians throughout

 America to treat the “fifth vital sign”—requiring healthcare providers to ask every

 patient about their pain, given the perception at the time that pain was undertreated.

 Since that time, the U.S. has experienced a surge in opioid prescriptions—and,

 subsequently, an increase in overdoses and deaths tied to these painkillers.

         537.   Yet, Defendants did little to leverage their resources and troves of

 information to stop or further question the wildly inappropriate prescriptions being

 written by prescribers until well after the opioid epidemic had reached its peak.

         538.   Defendants did little to fulfill their duties as the last line of defense and

 failed to ensure that the prescriptions they were filling were issued to legitimate

 patients for legitimate medical purposes by practitioners acting in the usual course

 of professional practice, as is evident by the copious amounts of opioids being

 dispensed by Defendants’ mail order pharmacies throughout the United States.

         539.   The absence of controls against diversion is not surprising, given how

 the PBM Defendants’ mail-order pharmacies operated to push virtually all

 prescriptions out the door, with little or no attempts at identifying or resolving red


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 flags. The pressure on its pharmacists to fill large volumes of prescription made the

 performance of appropriate due diligence difficult, if not impossible.

         540.   For instance, employees at Express Scripts and Optum mail order

 pharmacies routinely complain of being under significant pressure to fill as many

 prescriptions as possible in as short amount of time as possible. In this vein, Express

 Scripts instituted a “point system” that governed the prescription-filling process in

 its mail order facilities. Under the point system, employees were awarded points for

 each prescription processed, and were given daily, weekly, or monthly point targets

 to reach. Employees would be able to leave early if a daily point threshold was reached

 and were penalized if specific point targets were not reached. Continuous point

 shortfalls would result in employees being placed on a “termination plan” or resulted

 in receiving other types of reprimands, up to and including termination.

         541.   This point system has acted as a carrot and stick for Express Scripts’

 pharmacists and technicians to fill as many opioid prescriptions as possible in as little

 time as possible, despite legal requirements to properly and adequately identify and

 resolve red flags.

         542.   Activities such as placing calls to physicians or patients to verify

 prescription information were also strictly monitored for timing and efficiency, which

 came at the expense of meeting industry safety standards. For prescriptions that

 required phone calls to verify certain information, Express Scripts required

 employees to make and complete 12 calls per hour (or 1 call every 5 minutes) to meet

 certain point goals. Employees who engaged in calls that exceeded acceptable time


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 limits were often berated or penalized by management. Employees expressed feeling

 extreme pressure to fill prescriptions at all costs, which reflected Express Scripts’

 goal of trying to fill everything it could as quickly as possible.

         543.   Optum’s mail order pharmacies had many of the same problems. Many

 pharmacists and technicians were fielding upwards of 100 calls a day regarding

 things like prior authorizations. Even though not all calls dealt specifically with

 opioids, the sheer volume and pace of the calls hindered pharmacists’ ability to vet

 each prescription carefully, as required by law.

         544.   Optum also required its prior authorization pharmacists to adhere to

 strict metrics concerning the number of cases per hour. The minimum number of

 cases to complete was set at seven cases per hour. This number of cases is unrealistic

 for a pharmacist to complete accurately and put undue pressure on pharmacists.

         545.   Optum prior authorization pharmacists described a pressure-filled

 environment to meet prior authorization quotas and address the queue of prior

 authorization requests. Prior authorization pharmacists were timed based on how

 many they reviewed per day and were ranked based on the number of requests they

 reviewed.

         546.   The pressure on mail order pharmacists was compounded by the

 constant threat of audits at Optum. Pharmacists were always under pressure because

 they were subjected to weekly audits to ensure they were meeting the required

 metrics. The audit would document not only total cases worked during the week, but

 there would be comments on mistakes, what cases were incorrect, or if any wrong


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 decisions were made. The consequences of a bad audit often included termination for

 the pharmacist.

             547.   In 2017, OptumRx SVP David Calabrese emailed his colleagues that

 unless OptumRx addressed its mail-order opioid dispensing, “[w]e are only

 contributing to the worsening of the problem.”232 He noted that OptumRx was

 dispensing “220K opioid Rx’s out of our mail facilities annually at an average number

 of units per Rx of 187” and warned that “[w]e are talking out of both sides of our

 mouths if we allow this to continue as it is.”233 Calabrese wrote, “I strongly believe

 this needs Exec level attention.”234

             548.   An OptumRx presentation from 2018 admits that it is a “[c]hallenge for

 individual rphs to identify controlled substance diversion in mail order setting,” and

 that, prior to implementing a drug of concern review in 2018, OptumRx’s pharmacists

 had “[n]o visibility of possible diversion indicators such as: Multiple patients with

 same shipping address [and] Multiple patients with same email address.”235 The

 document also acknowledged, “Due to lack of visibility diversion activity may occur

 repeatedly for an extended period of time.”236

             549.   Given that Optum and Express Scripts’ mail order dispensing policies

 prioritized speed and efficiency above all else, some employees reported complete



 232   OPTUMRX_JEFFCO_0000366858 (3/10/17).
 233   Id.
 234   Id.
 235   OPTUMRX_JEFFCO_0000385779 (7/11/18).
 236   Id.
                                              188

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 mental and physical exhaustion, continuous fear of disciplinary action, and an

 unrelenting pressure to fill higher volumes of prescriptions in even shorter amounts

 of time.

         550.   Defendants’ mail-order pharmacy entities were subject to DEA

 regulatory action for their failures to implement appropriate controls on dispensing.

 For instance, on May 15, 2012, Express Scripts Pharmacy Services, Inc. agreed to pay

 the United States $2.75 million to resolve allegations under the Controlled Substance

 Act.237 Among the allegations was that from 2002 through 2006, drug diversion

 occurred at several Express Scripts mail order facilities, including facilities in

 Bensalem, PA and Harrisburg, PA. Express Scripts experienced theft by employees

 of controlled substances, had inventory discrepancies, and failed to report in-transit

 losses to the DEA. According to the DOJ press release, from 2004 through 2009,

 Express Scripts employees utilized invalid DEA numbers in Express Scripts’

 computerized prescription processing system in order to process certain controlled

 substances prescriptions at all of its mail order facilities.

         551.   As part of the settlement, Express Scripts was required to develop a

 comprehensive Controlled Substances Security Compliance Plan that included

 diversion protection measures far beyond those required by law, including improved

 physical security, enhanced inventories, reconciliations and audits, employee




 237Press Release, United States Settles With Express Scripts Over Diversion Of
  Controlled Substances And Use Of Improper DEA Numbers, U.S. Attorney’s Office,
  E.D.                PA.               (May              15,             2012),
  https://www.justice.gov/archive/usao/pae/News/2012/May/esi_release.htm.
                                            189

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 background checks, and mandatory training for employees who have contact with

 controlled substances. Express Scripts executives, including the General Manager of

 Pharmacy Operations and the Chief Compliance Officer, were required to certify

 compliance with the terms of the Plan. In addition to the measures to protect against

 diversion of controlled substances, Express Scripts was also required to cease use of

 phony DEA numbers and agreed to set up an automated system to check the validity

 of prescribers’ DEA and NPI (National Physician Identifier) numbers against a

 national registry.

         552.   In addition, as discussed above, starting in the 1990s and continuing for

 decades, Express Scripts and/or its subsidiaries (e.g., Express Scripts Specialty

 Distribution Services, Inc.; Express Scripts SDS; HealthBridge, United BioSource

 LLC; Curascript) also worked as the administrator (e.g., processing applications,

 patient enrollment, patient approval, handling appeals, tracking and analyzing

 program data, adverse event reporting, etc.) and/or mail order pharmacy for

 manufacturers’ opioid Patient Assistance Programs (“PAPs”), including for the

 troubled Purdue (OxyContin, OxyIR) and Endo (Opana) PAPs. In connection with

 its PAP dispensing for Purdue and Endo, Express Scripts routinely violated the CSA

 by failing to ensure that only valid prescriptions were filled, failing to provide

 effective controls against diversion, and/or purporting to delegate its CSA

 responsibilities to the manufacturers funding the respective PAPs.

         553.   In connection with its opioid PAP mail order dispensing and

 administration, Express Scripts routinely ignored clear indications of diversion, filled


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 suspicious prescriptions, and/or improperly made opioid dispensing determinations

 at the direction of and/or with the inappropriate input/approval from the

 manufacturers funding the respective PAPs. The extent to which manufacturers

 controlled and/or had improper input into Express Scripts’ dispensing practices is

 illustrated by the fact that the parameters for the opioid PAP created by Purdue and

 Express Scripts allowed a single patient to receive an astonishing 360 tablets of

 OxyContin and 3,000 tablets of OxyIR a month.

         554.   Express Scripts’ administration and improper dispensing practices

 relative to Purdue’s and Endo’s PAPs helped make the respective programs very

 successful marketing tools to increase opioid use, drive volume, and facilitate access

 to opioids including OxyContin, Opana, as well as other opioid products - resulting in

 Express Scripts filling 1 million+ opioid prescriptions and dispensing 100 million+

 opioid pills throughout the country through these PAPs. As an illustration, in the

 early 2000s, Express Scripts was enrolling over 3,000 new patients per month for

 Purdue’s PAP. Moreover, from at least the early 2000s, Express Scripts knew or

 should have known about the ongoing and growing misuse and diversion of opioids,

 and/or that its opioid PAP work was causing opioid over-prescribing, over-dispensing,

 addiction and/or abuse, as well as the fact that it was a proximate cause of opioid

 diversion.

         555.   The Purdue and Endo PAPs and Express Scripts’ administration and

 dispensing practices relative to same, raised numerous red flags, including

 dispensing large amounts of opioid to individuals, failing to conduct proper due


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 diligence on patients, inappropriately recording deaths, and rerouting prescriptions

 to get around state laws.

         556.   For example, in 2010, Purdue audited Express Scripts’ administration

 of this program and found numerous failures by Express Scripts to properly vet PAP

 applicants, including failing to verify patient-doctor relationship, failing to notice

 obvious inconsistencies in applications, and failing to process IRS information to

 determine accuracy and legitimacy of the information. In fact, Purdue found that

 during a period of just a few months in 2010 Express Scripts dispensed more than

 17,000 OxyContin pills to fraudulent PAP enrollees/applicants. Similarly, a 2010

 email exchange between Purdue and Express Scripts employees outlined how a

 Purdue PAP patient was reportedly “selling [his PAP opioid prescriptions] on the

 street.”238

         557.   As a result of a whistleblower lawsuit brought by two former Las Vegas

 mail order pharmacists, in 2006 Medco agreed to a $155 million settlement to resolve

 claims with the United States related to its dispensing of drugs at its mail order

 pharmacies. The government’s complaint alleged Medco accepted payments from

 drug makers to favor their drugs and submitted false claims for mail order

 prescription drugs provided to millions of federal employees, retirees and their

 families. Among the allegations was that Medco’s mail order pharmacies failed to

 conduct adequate cDUR for all prescriptions in order to identify potential adverse

 drug interactions. The government alleged that, as a result of the pressures to meet


 238
       PPLPC034000383800.
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 quotas, Medco’s cDUR employees regularly: a) fabricated physician call records so as

 to maintain hourly call quota rates; b) completed physician calls without ever having

 pharmacists verify the information with the physician’s office; c) changed

 prescriptions without a pharmacist’s intervention; and/or d) falsified records to

 indicate cDUR calls were made to physicians when in fact these calls had not been

 made.

          558.   At all times material hereto, the PBM Defendants’ mail order

 pharmacies have dispensed huge quantities of opioids. For example, during the 2006

 to 2014 time period alone, Express Scripts and Optum pharmacies purchased more

 than 27 billion MMEs, spread over more than 1.4 billion dosage units according to

 the DEA’s Automated Reports and Consolidated Ordering System (“ARCOS”).

          559.   The DEA ARCOS database reveals that over 49% of the over 46 billion

 MMEs moved through the PBM mail order channel was purchased by Express Scripts

 pharmacies. Specifically, during the 2006 to 2014 time period, Express Scripts mail

 order pharmacies bought over 22.9 billion MMEs spread over 1.1 billion opioid dosage

 units.

          560.   Not surprisingly, given their lengthy collaboration with regard to

 OxyContin, over 26% of Express Scripts pharmacies’ MME purchases were for

 Purdue opioids.

          561.   23.63% of Express Scripts pharmacies’ opioid purchases were for Teva

 opioids; 14.38% were for Mallinckrodt opioids; 8.34% were for Endo opioids; and




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 4.59% were for Mylan opioids. Express Scripts pharmacies dispensed these opioid

 products by mail to patients nationwide, including in Texas and Webb County.

         562.   The DEA ARCOS database also reveals that 9.6% of the over 46 billion

 mail-order MMEs were purchased by Optum’s pharmacies. Specifically, during the

 2006 to 2014 time period, Optum pharmacies bought and sold over 4.5 billion MMEs

 spread over 252 million opioid dosage units.

         563.   21.75% of Optum’s pharmacy opioid purchases were for Mallinckrodt

 opioids; 17.27% were for Teva opioids; 15.76% were for Purdue opioids; and 11.83%

 were for Endo opioids. Optum dispensed these opioid products by mail to patients

 nationwide, including in Texas and Webb County.

         564.   From at least 2008 to the present (and ongoing), Defendants violated the

 CSA, Texas controlled substances laws (including the TCSA), and the United States

 and state (including Texas) pharmacy laws and regulations by dispensing controlled

 substances in violation of their corresponding responsibility under 21 C.F.R. §

 1306.04(a) and outside the usual course of pharmacy practice under 21 C.F.R. §

 1306.06.

         565.   Defendants violated the CSA, Texas controlled substances laws

 (including the TCSA), and the United States and state (including Texas) pharmacy

 laws and regulations each time their mail order pharmacies filled a controlled

 substance prescription without identifying and resolving those red flags because,

 inter alia:




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     •   They were knowingly filled outside the usual course of professional practice

         and not for a legitimate medical purpose; therefore, they were not pursuant to

         a valid prescription under 21 U.S.C. § 829 and thereby violated 21 U.S.C.

         § 842(a)(1); and

     •   They were knowingly and intentionally dispensed outside the usual course of

         professional pharmacy practice in violation of 21 C.F.R. 1306.06, and therefore

         such dispensing and delivering of controlled substances was not authorized by

         the CSA, and thereby violated 21 U.S.C. § 841(a)

         566.   The opioid crisis alleged herein is a direct and foreseeable result of

 Defendants’ actions and inactions. And it was reasonably foreseeable that Webb

 County would be damaged thereby.

         567.   Defendants failed to maintain effective controls against abuse and

 diversion or conduct due diligence to ensure opioids were not diverted, resulting in

 the gross over-dispensing of opioids. Defendants thus directly contributed to today’s

 opioid epidemic and corresponding harm to Webb County.

         568.   The opioid crisis alleged herein is a direct and foreseeable result of

 Defendants’ actions and inactions. And it was foreseeable that Webb County and its

 community would be damaged thereby.

 VII.    Express Scripts and Optum Contributed to the Public Health Crisis
         in Webb County

         569.   By conspiring with and aiding and abetting the opioid manufacturers,

 facilitating the overprescribing and overuse of opioids, failing to address evidence of

 the misuse, abuse, and addiction to opioids, and failing to prevent diversion in their

                                           195

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 mail order dispensing and in their pharmacy networks, Optum and Express Scripts

 contributed to the oversupply of opioids in Texas and Webb County, and the resulting

 damages and public nuisance.

         570.   According to the CDC, the nation is experiencing an opioid-induced

 “public health epidemic.” The CDC reports that over 1,000,000 people died from an

 overdose involving opioids from 1999 until present. Based on the latest data,

 approximately 3 million Americans met criteria for prescription opioid abuse and

 dependence in 2022. Since 1999, the amount of prescription opioids dispensed in the

 United States and the number of overdose deaths involving opioids have both

 quadrupled.

         571.   In addition to the toll on families and loved ones, opioid use imposes

 significant    economy-wide     costs.   The    U.S.    Congress     Joint     Economic

 Committee estimates the opioid epidemic cost nearly $1.5 trillion in 2020 alone, up

 37% from 2017 when the CDC last measured the cost. The rise in fatal opioid

 overdoses in 2022 suggests the total cost is likely to continue to increase.

         572.   Texas is experiencing a drug overdose epidemic which is causing

 devastating socio and economic consequences. Over the past five years, Texas’

 overdose rates have increased more than 75%. On average, Texas has consistently

 been among the states with a drastically rising distribution of milligrams of opioids

 per adult, making its opioid-related death toll nearly triple from 2004 to 2022. Texas

 witnessed a 402% increase in opioid-related deaths across 20 years (1999 to 2019).

 The CDC National Vital Statistics System reports Texas’ predictive count of overdose


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 deaths in 2022 to be 5,166 and in 2023 to be 5,770, an 11.69% increase in the rate of

 Texans who have or will die from opioid overdoses over one year. However, due to

 incomplete reporting, these grim numbers likely understate the number of Texans

 who have been and will be lost to this scourge. Indeed, experts say the Texas data is

 dangerously misleading. “Unfortunately, that [appearance] is a direct result of bad

 data collection,” said Mark Kinzly, co-founder of the Texas Overdose Naloxone

 Initiative. “Out of 254 counties in the state of Texas, the CDC will only report on nine

 of those counties because of how the data is reported.”239

             573.   As Operation Naloxone director Lucas Hill explains, “there is a grave

 underreporting of opioid overdoses in rural areas, because they believe justices of the

 peace are unable to differentiate between causes of respiratory failure.”240

             574.   Texas underreporting of opioid related deaths is confirmed by the

 University of Texas at Austin. “The rates per 100,000 for Texas counties vary. Only

 9 counties had reliable overdose death rates per 100,000 for opiates according to 2014

 data from CDC, but they provide evidence of the extent of the opiate overdose problem

 in the largest Texas counties.”241




 239
    Chase Karacostas, Scale of opioid epidemic in Texas likely obscured by bad data,
  experts      say,      THE      DAILY        TEXAN        (Nov.     17,       2017),
  https://thedailytexan.com/2017/11/17/scale-of-opioid-epidemic-in-texas-likely-
  obscured-by-bad-data-experts-say/ (last visited Dec. 5, 2023).
 240
       Id.
 241
    Prof. Jane C. Maxwell, Ph.D., Brief Report on the Current Epidemic of Drug
  Poisoning Deaths, THE UNIVERSITY OF TEXAS AT AUSTIN SCHOOL OF SOCIAL WORK,
  https://web.archive.org/web/20200919221426/https://socialwork.utexas.edu/dl/files/
  cswr/institutes/ari/pdf/opioid-overdose-2014.pdf (last visited Dec. 6, 2023).
                                              197

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         575.   There are several factors that point to the severity of the opioid crisis in

 Texas. Texas has four out of the top five cities for prescription painkiller abuse in the

 nation, and the state is second in the U.S. in terms of health care costs associated

 with opioid abuse. In sum, the scale of the opioid epidemic in Texas is likely obscured

 by incomplete public data.

         576.   Researchers have flagged opioids as one possible factor in Texas’

 staggering rise in women’s deaths during and shortly after pregnancy. “The state

 had the country’s highest rate of maternal mortality, which includes deaths during

 pregnancy and childbirth and in the year following delivery. Maternal mortality

 nearly doubled between 2010 and 2014, and the latest data show the leading cause is

 a drug overdose. Additionally, the number of neonatal abstinence syndrome cases,

 in which babies are born dependent on a drug, has continued to rise.”242

         577.   The State’s Maternal Mortality and Morbidity Task Force has been

 conducting an in-depth investigation into the death records of women to try to

 understand the state’s high maternal death rate. The Task Force’s September 29,

 2017, report revealed new data showing that drug overdose was the leading cause of

 pregnancy-associated deaths (women who die two months to one year after giving

 birth) between 2012 and 2015.

         578.   Four of the country’s 25 worst cities for opioid abuse rates are in Texas:

 Texarkana (#10), Amarillo (#13), Odessa (#15), and Longview (#17). Again, this leads


 242
    Robyn Ross, How Texas is Trying to Stay Ahead of the Opioid Epidemic, ALCADE
  (Jan. 1, 2018), https://alcade.texasexes.org/2018/01/how-texas-is-trying-to-stay-
  ahead-of-the-opioid-epidemic/ (last visited Dec. 5, 2023).
                                             198

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 researchers such as Robin Ross to conclude “[i]t is important to note that the state

 does not currently have reliable data that tracks the number of people who die year-

 to-year because of a drug overdose in general, largely due to an inconsistent system

 of investigating and reporting causes of death. It is very likely the number of overdose

 deaths in the state is underreported.”243

             579.   To experts like Lisa Ramirez, the Texas Targeted Opioid Response

 project director for the Health and Human Services Commission, these numbers

 suggest an under-the-radar opioid problem the state would do well to recognize. “‘The

 misconception that Texas does not have an opioid problem is dangerous and a myth

 we need to address,’ Ramirez says. ‘If we’re not prepared, the problem will definitely

 get worse in Texas.’”244

             580.   “In Texas, there is no reliable data of how many people die year-to-year

 because of drug overdoses in general. That’s largely because the state has a hodge-

 podge system about how deaths are investigated and reported.”245

             581.   Webb County has been particularly hard hit by the opioid epidemic. As

 in many other communities in the United States, opioid use has been and continues

 to be at crisis levels in Webb County. The CDC reports that Webb County mortality

 rates doubled in the ten (10) year period between 2007 and 2016. These drug-related




 243
       Id.
 244
       Ross, supra note [___].
 245
    Ashley Lopez, Opioid Crisis is Killing Texas Mothers, Task Force Finds, KUT 90.5
  (Sept. 29, 2017), https://www.kut.org/health/2017-09-29/opioid-crisis-is-killing-
  texas-mothers-task-force-finds (last visited Dec. 5, 2023).
                                               199

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 deaths grew steadily from 4-5.9 in 2007 to 10-11.9 in 2016, a 50% increase. During

 the same period the population grew from 234,594 in 2007 to 271,193 in 2016, a mere

 fifteen percent (15%) increase. The rate of drug-involved deaths in Webb County

 climbed by 121% from 2011 to 2022, and most of that increase is attributable to

 opioids.246 Opioid overdose deaths exceeded overdose deaths from other substances by

 a wide margin each year during that period, often by more than ten deaths annually.

 Opioids claimed 168 lives in Webb County from 2015-2022.

         582.   More recently, and since 2015, the number of overdose deaths has grown

 on an exponential scale, jumping by 60% between 2015 and 2017, and jumping by an

 additional 50% between 2017 and 2020. In 2022, 32 overdose deaths occurred in

 Webb County, far surpassing the 19 overdose deaths in 2021.

         583.   DEA ARCOS data confirms that Webb County is experiencing the same

 startling trend of drastically rising distribution of milligrams of opioids as seen in

 Texas. The ARCOS data table below reflects transactional data for opioid drugs

 submitted by the drug manufacturers and distributors doing business in Webb

 County. The volume of opioid drugs distributed in Webb County, between 2006 and

 2015 reflects an 88% increase, dramatically outpacing the population growth for the

 same period, which according to U.S. Census estimates amounted to only an 18%

 increase.




   Texas Department of State Health Services, Texas Health Data – Drug-Related
 246

  Deaths,       https://healthdata.dshs.texas.gov/dashboard/drugs-and-alcohol/drug-
  related-deaths (last visited Dec. 5, 2023).
                                          200

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                                                              Webb County
                                               Annual Calculated Base Weight in Milligrams
                                                              ARCOS Data
                                  42,000,000

                                  39,000,000

                                  36,000,000
             Calc_Base_WT_in_MG




                                  33,000,000

                                  30,000,000

                                  27,000,000

                                  24,000,000

                                  21,000,000

                                  18,000,000
                                               2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017


         584.                      The total number of opioid-related hospitalizations in Texas nearly

 doubled from 2005 to 2016.247 In 2005, the number of opioid-related emergency room

 hospitalizations in Texas per 100k totaled about 69 patients. That number rose

 steeply to about 134 visits in a mere eleven years.

         585.                      While Express Scripts and Optum were reaping millions of dollars in

 profits from their wrongful conduct, Webb County has been required to allocate

 substantial public monies and resources to combat the opioid crisis and cope with its

 fallout.

         586.                      Webb County has incurred and continues to incur substantial costs

 because of Optum’s and Express Scripts’ conduct including, but not limited to, costs


   Agency for HealthCare Research and Quality¸ Trends in the Rate of Opioid-Related
 247

  Hospitalizations, https://www.ahrq.gov/opioids/map/index.html.
                                                                    201

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 of increased services with respect to law enforcement and first responders, such as

 emergency medical services; county health facilities, including hospitals and clinics;

 detention centers and jails; county courts, including drug courts; diversion programs;

 education programs; foster care; prevention and treatment centers; community

 outreach programs; equipment and supplies; victim services supports; drug abuse

 prevention programs in schools; inmate services including housing, health and

 support staff; intervention programs; and increased costs associated with its own

 employee benefits plan, together with general societal and lost productivity costs and

 costs to repair and restore County infrastructure and services.

         587.   Webb County has had to allocate extraordinary additional resources

 through staffing at departments providing all of the services listed above; has

 incurred substantial increases in overtime; has had to re-allocate personnel to

 Regional Task Forces, provide additional Mutual Aid (law enforcement assistance to

 other agencies), training (of staff and Community Partners such as schools, youth

 groups, private security), and wide-reaching court/judicial-support services.

 VIII. Facts Pertaining to the Formulary & UM Enterprise

         588.   As alleged above more fully infra, Express Scripts, Optum, both of their

 mail order pharmacies and each of the opioid manufacturers (including Allergan,

 Johnson & Johnson/Janssen, Endo, Insys, Mallinckrodt, Purdue, and Teva/Cephalon,

 referred to collectively as the “Opioid Enterprise Manufacturers” for the purposes of

 this Section) formed an association in fact enterprise, the “Formulary & UM

 Enterprise.”


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          589.   The Formulary & UM Enterprise was characterized by a common

 purpose, relationships among members of the Formulary & UM Enterprise, and

 sufficient longevity to accomplish the common purpose thereof. The PBM Defendants

 each conducted and participated in the conduct of the Formulary & UM Enterprise

 through a pattern of racketeering activity.

          590.   Each member of the Formulary & UM Enterprise knew that

 prescription opioids were highly addictive, ineffective and unsafe for the treatment of

 long-term chronic pain, non-acute and non-cancer pain. Each member of the

 Formulary & UM Enterprise was also aware that use of prescription opioids carried

 risks such as addiction, opioid use disorder, overdose, and death. Nevertheless, each

 member of the Formulary & UM Enterprise joined together into an association-in-

 fact enterprise for the common purpose of profiting from an expansion of the market

 for prescription opioids, and increased prescribing, dispensing, and sales of those

 drugs.

          591.   That each member of the Formulary & UM Enterprise is a for-profit

 company and may legally pursue profits is not in dispute. However, each member of

 the Formulary & UM Enterprise sought to fulfill common purpose through a pattern

 of mail and wire fraud, and felonious manufacture, importation, receiving,

 concealment, buying, selling or otherwise dealing in controlled substances.

 Specifically, each member of the Formulary & UM Enterprise supported each other

 member in perpetrating a fraudulent scheme on the consumers who received

 prescriptions for prescription opioids, on the American public, and on the PBM


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 Defendants’ clients. Each member of the Formulary & UM Enterprise also supported

 each other member in feloniously possessing and dispensing controlled substances in

 Schedules II through IV in manners that were not authorized by the CSA.

         592.   Each member of the Formulary & UM Enterprise knew that

 prescription opioids were highly addictive, ineffective and unsafe for the treatment of

 long-term chronic pain, non-acute and non-cancer pain. Each member of the

 Formulary & UM Enterprise was also aware that use of prescription opioids carried

 risks such as addiction, opioid use disorder, overdose, and death. Therefore, each

 member of the Formulary & UM Enterprise knew that they needed to engage in a

 fraudulent scheme if they were going to increase the market for prescription opioids

 and increase their profits from prescribing, dispensing, and sales of prescription

 opioids.

         593.   For their part, the Opioid Enterprise Manufacturers’’ illegal marketing

 and false statements regarding prescription opioids have been well documented. They

 knew that prescriptions were dangerous and addictive and, nevertheless, marketed

 them as safe and non-addictive. These representations furthered the common

 purpose of the Formulary & UM Enterprise.

         594.   The PBM Defendants, for their part, made representations alleged,

 supra, that their businesses were committed to making decisions about their

 formulary and UM offerings that were driven by a commitment to the health and

 safety of their covered lives and were focused on delivering safe healthcare.




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         595.   PBM Defendants and opioid manufacturers also knew that the PBM

 Defendants’ mail-order pharmacies were receiving prescriptions that were not for

 lawful orders of a practitioner. PBM Defendants and opioid manufacturers knew that

 the PBM Defendants’ mail-order pharmacies were filling illegitimate prescriptions.

         596.   By these strategies, and the activities alleged supra and infra, both the

 PBM Defendants and the Opioid Enterprise Manufacturers agreed to further the

 common purpose of the Formulary & UM Enterprise through a fraudulent scheme

 and felonious possession and dispensing of controlled substances, and to grow the

 market for prescription opioids by increasing prescribing, dispensing, and sales of

 prescription opioids.

         597.   As an example, the Opioid Enterprise Manufacturers contracted and

 agreed with each PBM Defendant to coordinate unfettered formulary placement (with

 no or limited) UM measures regarding each opioid drug on the PBM Defendant’s

 standard offerings, such that there would be as little impediment as possible to opioid

 prescribing and dispensing. From their agreements, each member of the Formulary

 & UM Enterprise stood to reap significant profits from ever-increasing prescribing,

 dispensing, and sale of prescription opioids: the Opioid Enterprise Manufacturers

 from sales of their drugs and the PBM Defendants from rebates and other fees. As

 part of these agreements, the PBM Defendants gave each of the Opioid Enterprise

 Manufacturers parity terms, ensuring that no Opioid Enterprise Manufacturer’s

 opioid was disadvantaged against within each class of opioid analgesics, and provided

 the Opioid Enterprise Manufacturers with data about the lives that they managed,


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 the prescriptions written by doctors on their plans, and assistance with pull through

 contracts to assist them in pulling through the formulary decisions which would

 continue to increase prescribing and sales.

         598.   These contracts, and further information described below, evidence an

 agreement between the PBM Defendants, their mail-order pharmacies, and the

 Opioid Enterprise Manufacturers. Each PBM Defendant and each Opioid Enterprise

 Manufacturer understood that the PBM Defendants were going to operate on a

 fundamentally fraudulent basis. As alleged more fully infra, the PBM Defendants

 promised their clients they would take actions that would ensure that opioid

 prescribing and dispensing were safe and cost effective. The PBM Defendants also

 represented to legislative bodies and the public that their conduct was intended to

 maximize health, safety, and cost-effective healthcare for their covered lives.

 However, the PBM Defendants had agreed with each other and the Opioid Enterprise

 Manufacturers that their conduct would have the opposite effect. Instead of

 prioritizing health, safety, and cost-effectiveness, the Formulary & UM Enterprise

 and its members intended to obtain money and property from the prescribing,

 dispensing, and sale of prescription opioids that they would not otherwise have

 received had they been honest and conducted their businesses along the lines of their

 public representations.

         599.   Importantly, some of the conduct alleged, above and below, may appear

 to be the behavior of competitors working against each other, or of opposing parties

 working to secure advantage at the expense of ether other. However, each PBM


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 Defendant worked with each Opioid Enterprise Manufacturer in negotiations that

 were intended to maximize the amount of profit for the PBM Defendants and the

 Opioid Enterprise Manufacturers. As an example described earlier, discussion of

 formulary status and prior authorization were always a vehicle for discussion about

 the amount of rebates and administrative fees. As the Opioid Enterprise

 Manufacturers and PBM Defendants knew and intended, the end result was always

 the same—agreements for favorable formulary status without UM so that

 prescribing, dispensing, and sales could continue to increase.

         600.   The similarity of conduct by each PBM Defendant, including similar

 contract terms, pull-through marketing, facilitating dissemination of the Opioid

 Enterprise Manufacturers’ marketing messages, favorable formulary status, as little

 UM as possible, research on behalf of the Opioid Enterprise Manufacturers, and free-

 flowing dispensing of prescription opioids, further evidences the existence of the

 Formulary & UM Enterprise. Each PBM Defendant knew of the other’s conduct and

 refrained from commenting on or revealing the behavior, and continued to engage in

 the same conduct so that all members of the Formulary & UM Enterprise could

 continue to profit from ever-increasing prescribing, dispensing, and sales.

         601.   That the PBM Defendants may have competed with each other for

 clients, or negotiated sharply with the Opioid Enterprise Manufacturers for

 increasing rebates and administrative fees did not undercut the common purpose of

 the Formulary & UM Enterprise because it did not slow or decrease the overall

 prescribing, dispensing, and sale of prescription opioids in the market as a whole.


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 Similarly, competition among the Opioid Enterprise Manufacturers for increasing

 market share of their drug against a competitor’s drug did not undercut the common

 purpose of the Formulary & UM Enterprise. For example, Purdue’s competition with

 Endo for market share of OxyContin over Opana did not slow or decrease the

 prescribing, dispensing, or sale of prescription opioids as a class of drugs.

 Furthermore, each member of the Formulary & UM Enterprise knew that there

 would be competition in the market, but each member also knew that their

 participation in the Formulary & UM Enterprise was necessary to continue growing

 the market and agreed to work together towards that goal.

         602.   As alleged more fully herein, the Formulary & UM Enterprise caused

 direct injury to Plaintiff’s money and property.

 A.      Formation of the Formulary & UM Enterprise

         603.   The Formulary & UM Enterprise was formed primarily in two ways,

 including: the forced dealing of the members with each other in the closed system of

 controlled substance manufacture, distribution, and dispensing, as well as the

 members work together in trade associations and industry working groups like the

 PCMA and other informal groups described below.

         604.   First, the formation of the Formulary & UM Enterprise occurred, in

 part, through the parties’ dealings with each other required by the closed system

 imposed by the CSA. The pharmaceutical industry is extremely insular and part of a

 “closed system” open only to those who register to do so. Other than their CSA

 obligations as mail order pharmacies, the PBM Defendants are some of the very few


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 participants in controlled substance manufacturing, distribution and dispensing that

 are not required to register with the DEA. However, in their efforts to secure cost-

 effective access to controlled substances on behalf of their clients, the PBM

 Defendants were forced to work closely with the Opioid Enterprise Manufacturers.

         605.   Over at least the last two decades, the consolidation and acquisition of

 pharmacy benefit management companies into ever-larger entities has led to the

 formation of close personal business relationships between the few remaining PBMs

 and the Opioid Enterprise Manufacturers that were based on a shared interest in and

 the common purpose of ensuring the widespread dispensing of opioids.

         606.   There can be no doubt that the PBM Defendants and the Opioid

 Enterprise Manufacturers maintain interpersonal relationships with each other. As

 business entities, they have been negotiating with each other since the mid-1990s.

 And, as alleged above, the negotiations between the Opioid Enterprise Manufacturers

 and PBM Defendants often took place at, and/or involved, high level executives at

 both companies, a multitude of emails and phone calls, including personal calls

 between executives to iron out details. The contractual dealings between the Opioid

 Enterprise Manufacturers and the PBM Defendants created relationships and

 provided context in which the common purpose of the Formulary & UM Enterprise

 could develop. Documents produced by the Opioid Enterprise Manufacturers and the

 PBM Defendants reveal that there have been decades of contract negotiations over

 rebate agreements, amendments, re-negotiations, payment discussions, and rebate

 invoicing. These contract negotiations were always geared towards maximizing the


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 number of prescriptions written for the PBM Defendants’ clients and ensure the most

 optimal formulary placement and least amount of UM under the PBM Defendants’

 standard offerings so that the prescribing, dispensing and sales could continue to

 grow.

         607.   The earliest indications of the existence of the Formulary & UM

 Enterprise can be found in the PBM Defendants’ negotiations with Purdue, their

 work together on disseminating the Opioid Enterprise Manufacturers’ marketing

 messages about prescription opioids, the presence of Purdue-paid speakers at the

 PBM Defendants’ offices, and the PBM Defendants’ research work supporting the

 Opioid Enterprise Manufacturers. Although the earliest indications of the Formulary

 & UM Enterprise’s existence begin with Purdue and the predecessors of the PBM

 Defendants, the allegations above indicate that the Formulary & UM Enterprise grew

 to include all of the Opioid Enterprise Manufacturers and the consolidated PBMs now

 named as PBM Defendants.

         608.   As alleged more fully herein, various documents indicate that the

 Formulary & UM Enterprise found its beginnings with Purdue-sponsored doctors

 speaking at PBM offices, in the late 1990s, all across the country, and rebate contract

 negotiations between the Opioid Enterprise Manufacturers and the PBM Defendants

 that began around the same time and have continued through the present.

         609.   The formation of the Formulary & UM Enterprise did not happen solely

 within the formation of the rebate contracts between the Opioid Enterprise

 Manufacturers and the PBM Defendants. The Formulary & UM Enterprise also


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 continued to develop through regular non-contractual interactions, including through

 the use of the U.S. Mail or interstate wire facilities in furtherance of the fraudulent

 scheme in: (1) interactions about the administration of the rebate contracts; (2) pull-

 through marketing and assistance therewith; and (3) joint participation in trade

 associations and informal coalitions.

          610.   Trade associations and informal coalitions and forums not only provide

 a basis for the formation of the Formulary & UM Enterprise, but also serve as central

 conduits for the conduct of and participation in the Formulary & UM Enterprise. The

 prime example of a trade association through which the Formulary & UM Enterprise

 developed and operated is the PBM’s trade association, the Pharmaceutical Care

 Management Association (“PCMA”).

          611.   PCMA describes itself as “lead[ing] the effort in promoting PBMs and

 the proven tools they utilize, which are recognized by consumers, employers,

 policymakers, and others as key drivers in lowering prescription drug costs and

 increasing access.”248

          612.   While PCMA boasts of being the national association representing

 America’s pharmacy benefit managers, it actually has a much broader membership

 base and focus. As evident from the PCMA website, PCMA membership includes

 member PBMs249 and so-called “Affiliate” drug manufacturers and other entities,




 248   About PCMA, https://www.pcmanet.org/about/ (last visited Oct. 11, 2023).
 249   PCMA Members, https://www.pcmanet.org/members/ (last visited Oct. 11, 2023).
                                           211

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 including numerous of the Opioid Enterprise Manufacturers as current or former

 members.250

           613.   As repeatedly mentioned in the PCMA’s annual conference materials,

 the drug manufacturers are the PBMs’ most notable business partners.251




           614.   The PBM Defendants are members of PCMA, and due to their

 leadership positions, have substantial control over PCMA. Indeed, PCMA is governed

 by PBM executives. The current (as of December 2023) board of PCMA includes Adam

 Kautzner, Pharm.D. (President of PBM Defendant Express Scripts); and Dr. Patrick

 Conway (CEO of PBM Defendant OptumRx).

           615.   An image illustrating the membership in the PCMA is as follows:252




 250   PCMA Affiliates, https://www.pcmanet.org/affiliates/ (last visited Oct. 11, 2023).
 251
       PCMA      Annual     Meeting     2016     Conference    Program               Book,
  https://www.pcmanet.org/events/past-events/2016-annual-meeting/ (last             visited
  Dec. 5, 2023).
 252
       PCMA      Annual     Meeting     2016     Conference    Program               Book,
  https://www.pcmanet.org/events/past-events/2016-annual-meeting/ (last             visited
  Dec. 5, 2023).
                                             212

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         616.   Active control over the PCMA Board of Directors is important to the

 PBM Defendants and clearly conditioned on current employment by the PBM. As an

 example, in 2022, former Express Scripts President Amy Bricker was the former

 Chair of the PCMA Board of Directors and the only Express Scripts employee on the

 Board. But, when Ms. Bricker left Express Scripts in late 2022/early 2023, she was

 removed from the PCMA Board. On February 3, 2023, PCMA issued a press release,

 naming Mr. Kautzner to the Board and as its Chair.

         617.   Each year during the relevant period, PCMA has regularly held industry

 conferences, including its Annual Meeting and Business Forum conferences.

         618.   Every year, high-level representatives and corporate officers from both

 the PBM Defendants and the Opioid Enterprise Manufacturers have attended these


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 conferences to meet in person and engage in discussions, including those in

 furtherance of the Formulary & UM Enterprise.

         619.   In fact, many of the Opioid Enterprise Manufacturers have been

 “Partners,” “Platinum Sponsors,” or “Presidential Sponsors” of these PCMA

 conferences.

         620.   Notably, many of the forums at these conferences are specifically

 advertised as offering opportunities for private, non-public communications. For

 example, as Presidential Sponsors of these conferences, the Opioid Enterprise

 Manufacturers were permitted to host “private meeting rooms” that offer “excellent

 opportunities for interactions between PBM members, drug manufacturers, and

 other industry partners.”253

         621.   Representatives from each PBM Defendant and the Opioid Enterprise

 Manufacturers have routinely met during the Annual Meetings and Business Forum

 conferences that PCMA holds (and the manufacturers sponsor) each year.

         622.   In addition, all PCMA members, including Affiliates and registered

 attendees of these conferences are invited to join PCMA-Connect, “an invitation-only

 LinkedIn Group and online networking community.”254



 253PCMA, The PCMA Annual Meeting 2021 Will Take Place at the Broadmoor in
  Colorado Springs, CO September 20 and 21, https://www.pcmanet.org/pcma-
  event/annual-meeting-2021/ (an event “tailored specifically for senior executives
  from PBMs and their affiliated business partners” with “private reception rooms”
  and “interactions between PBM members, drug manufacturers, and other industry
  partners”) (last visited Oct. 11, 2023).
 254 PCMA, PCMA-Connect, https://www.pcmanet.org/contact/pcma-connect/ (last
  visited Oct. 11, 2023).
                                         214

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         623.   As PCMA members and Affiliates, the PBM Defendants and the Opioid

 Enterprise Manufacturers utilized both PCMA-Connect, as well as the meetings

 facilitated by PCMA (including at conferences), to exchange information and to reach

 agreements in furtherance of the Formulary & UM Enterprise.

         624.   Thus, PCMA served as a conduit of information between the Opioid

 Enterprise Manufacturers and the PBM Defendants on subjects like access to

 prescription opioids.

         625.   That the PCMA served as a conduit for the sharing of information, and

 the formation of collaborative partnerships is not reasonably disputable. PCMA hosts

 regular meetings during which PBMs and Opioid Enterprise Manufacturers, or

 “Pharma” as they are called by the PBMs, can discuss their coordinated and shared

 objectives/strategies. PCMA’s website posts programs for its regular meetings that

 highlight the close and “[i[mperative” collaboration and partnership between the

 PBMs and the Opioid Enterprise Manufacturers. Some examples from the program

 agendas and/or booklets currently available on PCMA’s website include:

         •      Hot Topics and Trends Impacting Today’s PBM and Pharma Strategies;

         •      Meeting Patients Where They Are: Pharma and PBMs working to close
                gaps in care in the post pandemic era;255

         •      Unlocking the Value of PBM and Small Manufacturer Relationships;

         •      Manufacturers and PBMs Working Together to Reward Innovation;




 255
     PCMA Annual Meeting 2022, Conference Program Book at p. 4, available at
  https://www.pcmanet.org/events/past-events/pcma-annual-meeting-2022/ (last accessed on
  December 1, 2023).
                                          215

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         •      PBM & Pharma Priorities, Opportunities and Challenges in 2022 and
                Beyond;

         •      PBM and Pharma Collaboration: Focusing on Patients and Value;

         •      Collaboration Imperative—Identifying the Shared Interests of PBMs
                and Pharma;

         •      Market Dynamics Driving the PBM and Pharma Relationship;

         •      The Future of PBM-Pharma Relations and Negotiations;

         •      How Health Care Companies are Using Data and Predictive Algorithms
                to Identify and Address the Opioid Crisis;

         •      State of the PBM-Manufacturer Partnership;

         •      Confronting the Crisis We Brought Upon Ourselves: America’s Opioid
                Abuse Epidemic;

         •      The PBM/Pharma Relationship in the Era of High Price Drugs; and

         •      PBMs, Specialty Pharmacies and Pharma Program Alignment—
                Affordability, Adherence and Outcomes.

         626.   Notably, PCMA only publishes the agendas and booklets from its

 regular meetings going back to 2014. Plaintiff is informed and believes that similar

 meetings would have been held, and topics discussed throughout the entirety of the

 relevant discovery period.

         627.   Given the foregoing, it is not surprising that Purdue viewed PCMA as a

 valuable source of information and coordination on subjects regarding prescription

 opioids and OxyContin. As examples, Purdue employees were notified about meetings

 at the PCMA conference in 2001 that discussed “oxy attacks as a predatory action on

 the part of the media or one of your competitors,” and Burt Rosen (another Purdue




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 employee) reached out to PCMA in 2014 to find the right person to connect with “on

 opioids.”256

          628.   More broadly, produced documents show that PCMA (including through

 the regular use of the U.S. Mail or interstate wire facilities in furtherance of the

 fraudulent scheme) served as a clearinghouse for communication, discussion,

 consensus building and speaking on behalf of the PBM Defendants and the Opioid

 Enterprise Manufacturers who were Affiliate members. Documents confirm that

 PCMA was a conduit through which discussions occurred and consensus could be

 reached (including discussion between the PBM Defendants outside of official PCMA

 correspondence) and that specific discussions and work took place around efforts to

 curb opioid abuse (which would have worked against the common purpose of the

 Formulary & UM Enterprise).

          629.   PCMA was not the only way in which the PBM Defendants and the

 Opioid Enterprise Manufacturers collaborated. Additional documents show that the

 members of the Formulary & UM Enterprise knew how to, and did form, ongoing

 informal coalitions that for years met regularly to work on issues of common concern

 and advance their common interests. These documents show that a Controlled

 Substances Stakeholder’s Coalition was formed in October 2013 in order to “further

 collaborate on interprofessional efforts to combat the United States opioid epidemic.”

 At the time of the Coalition meeting in December 2016, these meetings had been




 256   PDD8801103934 (3/16/01); PPLPC018001107944 (10/2/14).
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 ongoing for at least three years with each organization providing “updates for

 increasing awareness and decreasing misuse and diversion.”257

             630.   Express Scripts claimed that it was making recommendations to

 physicians that had substantially decreased opioid prescriptions and taking actions

 to increase depository sites for drug disposal. As alleged more fully herein, however,

 documents confirm that Express Scripts and OptumRx were at the same time, in

 order to protect their shares of rebates and other fees, actively working with the

 Opioid Enterprise Manufacturers in the Formulary & UM Enterprise to avoid taking

 actions that would have reduced prescribing, thus ignoring their obligations to reduce

 unsafe and inappropriate prescribing.

             631.   Finally, documents will show that groups like PCMA supported the

 formation of the Formulary & UM Enterprise and agreements within it:

       •     “The Coalition discusses the terms ‘drug abuse’ and ‘addiction’ versus

             ‘substance use disorder,’ . . . and agreed”;

       •     “Members then discussed the purpose of the slide deck . . . and agreed”;

       •     “Additionally, the Coalition discussed various communication strategies . . . .

             Members agreed”; and

       •     “Members unanimously agreed that further meetings were necessary to ensure

             that continued progress would be made.”258




 257   Id.
 258   Id.
                                                 218

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         632.   Members of the Formulary & UM Enterprise also participated in similar

 stakeholder meetings directly and/or through PCMA regarding topics like red flags

 and warning signs related to prescribing and dispensing controlled substances. The

 express purpose of these stakeholder meetings was to foster open channels of

 communication, foster understandings, and to discuss collaborative actions. Notably,

 membership in some stakeholders meetings and working groups included some of the

 Opioid Enterprise Manufacturers’ front groups and trade association (PhRMA),

 opioid distributors, the National Association of Chain Drug Stores, and other PBMs

 and pharmacies.

         633.   The foregoing facts, and as alleged in more detail herein, demonstrate

 that the Formulary & UM Enterprise arose from personal business relationships

 developed between the enterprise members in various ways over the course of at least

 the last two decades.

 B.      The Common Purpose and Fraudulent Scheme of the Formulary &
         UM Enterprise

         634.   The personal business relationships that formed the Formulary & UM

 Enterprise also allowed for the formation of a common purpose between the Opioid

 Enterprise Manufacturers and PBM Defendants in the Formulary & UM Enterprise.

 Specifically, the Formulary & UM Enterprise was formed for the common purpose of

 illegally and fraudulently profiting from an expansion of the market for prescription

 opioids, and increased prescribing, dispensing, and sales of those drugs. As alleged

 more fully herein, the fraudulent scheme that furthered the common purpose of the

 Formulary & UM Enterprise relied on fraudulent representations from each PBM

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 Defendant to each one of its clients and to the public that it would structure formulary

 offerings and perform cDUR benefit services in the interests of its clients and patients

 to ensure that opioids were prescribed and dispensed only for safe and legitimate

 reasons. Instead of providing standard formulary and UM offerings that were in their

 clients’ best interests or for safe and legitimate reasons, the PBM Defendants made

 decisions that gave the Opioid Enterprise Manufacturers and their prescription

 opioids unfettered and preferred formulary access, without utilization management,

 and did not disadvantage any opioid compared with another in the same class or

 formulary tier, agreed to parity treatment for opioids within the same class and/or

 formulary, supported the Opioid Enterprise Manufacturers’ pull-though marketing,

 pocketed enormous rebates and other fees, and (through its mail order pharmacies)

 dispensed prescription opioids without conducting the necessary due diligence.

         635.   Each member of the Formulary & UM Enterprise played a part and

 furthered the common purpose of the Formulary & UM Enterprise.

         636.   For their part, the Opioid Enterprise Manufacturers have been engaged

 in fraudulent conduct related to the marketing of prescription opioids beginning in

 the mid-1990s. As alleged by multiple entities and proven through extensive briefing,

 the Opioid Enterprise Manufacturers engaged in a fraudulent scheme, including

 through the regular use of the U.S. Mail or interstate wire facilities in furtherance of

 the fraudulent scheme, to grow the market for prescription opioids through the use

 of branded and unbranded marketing materials, key opinion leaders (“KOLs”) to give

 speaker presentations and publish about prescription opioids, and front groups which


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 would contribute to and publish books, articles, documents, etc., all of which

 misrepresented the benefits and risks of prescription opioid use.

         637.   The Opioid Enterprise Manufacturers commonly made the same

 misrepresentations through common KOLs and Front Groups. For example, each of

 the Opioid Enterprise Manufacturers made repeated misrepresentations about the

 risks and benefits of prescription opioids, including:

             (a) The risk of addiction from chronic opioid therapy is low;

             (b) To the extent there is a risk of addiction, it can be easily identified and
                 managed;

             (c) Signs of addictive behavior are “pseudoaddiction,” requiring more
                 opioids;

             (d) Opioid withdrawal can be avoided by tapering;

             (e) Opioid doses can be increased without limit;

             (f) Long-term opioid use improves functioning;

             (g) Alternative forms of pain relief pose greater risks than opioids;

             (h) OxyContin provides twelve hours of pain relief; and

             (i) New formulations of certain opioids, labeled abuse deterrent,
                 successfully deter abuse.

         638.   Each of the Opioid Enterprise Manufacturers made nearly identical

 representations about their branded drugs and/or unbranded prescription opioids as

 a class of drugs during the relevant time period.

         639.   Each of the Opioid Enterprise Manufacturers used similar Front Groups

 to promote prescription opioid use. As examples, multiple of the Opioid Enterprise

 Manufacturers used Front Groups including, as examples, the following: the

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 American Pain Foundation, the American Academy of Pain Medicine, the American

 Pain Society, Federation of State Medical Boards, the Alliance for Patient Access, the

 United States Pain Foundation, the American Geriatric Society, and the National

 Initiative on Pain Control.

         640.   The Opioid Enterprise Manufacturers took an active role in guiding,

 reviewing, and approving many of the false and misleading statements issued by the

 Front Groups, ensuring that the Opioid Enterprise Manufacturers were consistently

 in control of their content and that it stayed on message in favor of more opioid

 prescribing. The Opioid Enterprise Manufacturers exercised control over and adopted

 their false and deceptive messages and acted in concert with the Front Groups and,

 through the Front Groups, with each other to deceptively promote the use of

 prescription opioids.

         641.   Each of the Opioid Enterprise Manufacturers used similar Key Opinion

 Leaders and the strategy of paying opinion leaders and speakers who favored

 aggressive treatment of pain with prescription opioids. Pro-opioid doctors have been

 at the hub of the Opioid Enterprise Manufacturers’ well-funded, pervasive marketing

 scheme since its inception and were used to create the grave misperception that

 opioids were safe and efficacious. As examples, multiple Opioid Enterprise

 Manufacturers used similar Key Opinion Leaders including, but not limited to: Dr.

 Russell Portenoy, Dr. Lynn Webster, Dr. Perry Fine, and Dr. Scott Fishman.

         642.   Each of these Key Opinion Leaders and numerous other, lower profile

 doctors, were paid to speak on behalf of prescription opioids as an unbranded class of


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 drugs. They were used extensively to present the appearance that unbiased and

 reliable medical research supported the broad use of prescription opioids. These pro-

 opioid doctors also began to write, consult on, edit, and lend their names to books and

 articles, they gave speeches, they served on committees, etc., all the while

 encouraging the use of prescription opioids.

         643.   The Opioid Enterprise Manufacturers’ marketing conduct did not end

 with the KOLs and Front Groups—they were merely one of the vehicles for the

 dissemination of the misrepresentations. The Opioid Enterprise Manufacturers also

 used branded and unbranded advertising and marketing; funded, edited and

 distributed pro-opioid publications; speakers bureaus and continuing education

 programs. Examples of speakers bureaus and continuing medical education events

 occurring at the PBM Defendants’ facilities are found throughout document

 productions from the Opioid Enterprise Manufacturers. Furthermore, as alleged

 above, the PBM Defendants often facilitated and/or disseminated the Opioid

 Enterprise Manufacturers’ marketing messages directly to doctors who prescribed for

 patients covered by the PBM Defendants’ clients.

         644.   One of the primary means by which the Opioid Enterprise

 Manufacturers disseminated their messaging about prescription opioids was through

 drug detailing: the practice of sending out pharmaceutical company representatives

 to provide details about specific branded products in order to persuade prescribers to

 begin writing (or write more) prescriptions for a specific product.




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         645.   The Opioid Enterprise Manufacturers adopted detailing as a key

 component of their prescription opioids strategy early on to capitalize on the

 fraudulent unbranded marketing—developing carefully crafted marketing messages

 and tactics to deliver messages to prescribers through close relationships with sales

 representatives.

         646.   Drug detailing is data driven, requiring identification of the prescribers

 who are writing high or low volumes of prescriptions, targeting places where

 additional messaging might be affecting and to test the effectiveness of messaging.

 In accordance with common industry practice, the Opioid Enterprise Manufacturers

 purchased and closely analyzed prescription sales data from companies like IMS

 Health (now IQVIA) and the PBM Defendants which allowed them to track—

 precisely—the rates of initial and renewal prescribing by individual prescribers.

         647.   The nexus between data and detailing helped drive the formation of the

 common purpose of the Formulary & UM Enterprise. In return for data and

 unfettered formulary placement from the PBM Defendants, the Opioid Enterprise

 Manufacturers were willing to pay higher rebates and other fees to each PBM

 Defendant.

         648.   Once that occurred, the PBM Defendants once again supported the

 Opioid Enterprise Manufacturers’ fraudulent marketing regarding prescription

 opioids. After the Opioid Enterprise Manufacturers obtained the PBM Defendants’

 data and favorable formulary placement, the Opioid Enterprise Manufacturers’ sales

 personnel immediately began to analyze their managed care or PBM data in order to


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 “pull through” the formulary placement in order to drive increased sales. Documents

 produced from the Opioid Enterprise Manufacturers and PBM Defendants are

 replete with examples of pull-through initiatives touting the beneficial formulary

 placement of Opioid Enterprise Manufacturers’ drugs to drive increased sales and

 use of the PBM Defendants’ data to maximize the pull through effort.

          649.   These documents make clear that the formulary placement was viewed

 as a “win” and an opportunity to make the rebate agreements profitable by pulling

 through sales. Sophisticated presentations outlining the exact steps a sales

 representative should take were often included in the sales training materials. The

 impact of these agreements and the ability to pull-through increased sales using the

 PBM data was dramatic:




                                                                    259




 259   ENDO-CHI_LIT-00046379, slide 7.
                                          225

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           650.   Using the “Best Practices Identified” of: 1. Identifying the local UHC MC

 Opportunity; 2. Targeting the Right UHC Customer; 3. Hyper Targeting; 4.

 Delivering the Right Message; and 5. Consistent Cross-Functional Communication260

 – the Pittsburgh District experienced dramatic growth in sales, as described by Endo:




                                                                          261

           651.   Formulary wins were a boon for each member of the Formulary & UM

 Enterprise. Each prescription opioid that enjoyed a favorable formulary placement,

 or continued to enjoy prescribing and dispensing without UM, ensured that all

 prescription opioids would continue to enjoy unrestricted sales due to the privity

 clauses that the PBM Defendants agreed to with each Opioid Enterprise

 Manufacturers. And, as indicated by the graph cited above, these wins increased sale.

 And, by increasing sales, the wins increased profits for the Opioid Enterprise

 Manufacturers whose drugs were sold and for the PBM who received rebates and


 260   Id. at slide 10.
 261   Id. at slide 9.
                                              226

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 administrative fees tied to sales. From that perspective, the graph above is literally

 evidence of the Formulary & UM Enterprise and its common purpose.

          652.   As alleged in more detail herein, the PBM Defendants took on

 obligations to perform and made representations that they would conduct point-of-

 sale review, and take actions to ensure that only safe and legitimate prescriptions

 were being filled when they had no intention of doing so. Had the PBM Defendants

 taken the actions they had promised their clients, it would have dramatically reduced

 medically inappropriate prescribing, sales and dispensing of prescription opioids. As

 alleged more fully herein, the PBM Defendants’ failure to do so had a significant role

 in allowing opioids to flood into communities across America, including into Webb

 County.

          653.   The PBM Defendants also paid lip service to their commitment to taking

 action about prescription opioids. For example, Express Scripts represented in 2013

 that it was “leading the fight against prescription drug fraud, waste and abuse.”262

 Optum submitted its opioid use/risk management plan for consideration by the

 National Alliance of Healthcare Purchaser Coalitions, claiming that its program

 focuses on preventing misuse by educating care providers and consumers, minimizing

 early exposure and promoting alternative treatments for pain while advancing best

 practices and made multiple representations about itself and its programs during the

 presentation. Similar representations were made on OptumRx’s website, touting its

 expertise and commitment to fight the opioid epidemic and demonstrating expertise


 262   PPLPC019000862211 (11/18/13).
                                           227

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 in opioid management: “Optum Rx® implements a multi-dimensional Opioid Risk

 Management solution to help curb the rising tide of opioid abuse across the United

 States . . . as part of its commitment to drive opioid safety and prevention.”263

         654.    But the PBM Defendants’ claims that they were addressing fraud,

 waste, and abuse were only empty promises. For example, one former Fraud, Waste

 and Abuse investigator for Express Scripts from 2013 to 2019, Confidential Informant

 No. 1 (CI-1), explained that even when they identified blatant instances of pill seekers

 and pill mill doctors, nothing happened. “No one really cared,” he said. “No one really

 followed up on anything. The members were just like a number. We’d totally forget

 this was a human being because it was just a case number. We’d just look at it, type

 it up and it was gone. They never got the help they needed. I never heard this person

 is in rehab.”

         655.    Moreover, as far as CI-1 knew, none of his findings were ever shared

 with law enforcement, even if it involved well documented pill mill doctors or pill

 seekers.

         656.    CI-1 explained that, when he was hired, he thought he would be

 investigating “serious major fraud, all of these people writing all of these false

 prescriptions,” he said. “I just thought it was more investigation stuff.” They would

 re-run patients and doctors’ names every five months, he said. “We’d see the same

 people over and over,” he said. “Just because we identified the behavior didn’t mean


 263Optum, “White Paper: Working to end the opioid epidemic” at. 7 (2018)
  https://www.optum.com/content/dam/optum3/optum/en/resources/white-
  papers/opioid-whitepaper-wf914999.pdf (last visited Oct. 11, 2023).
                                           228

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 it stopped. We’d just call the doctors and they didn’t even care. They just felt this

 patient was in pain, but we’re not going to do anything about it. It wouldn’t be rare

 to have [the bad doctors] written up twice in a year. . . . I’d say 90 percent of the

 reports never got read in my opinion. . . . Let’s say I spent months, sometimes weeks

 on a report—it’s being written for the manager. It really doesn’t go anywhere else.”

         657.   Similarly, PCMA and some of its PBM members participated in

 coalitions or external activities indicating that they were “increasing awareness and

 decreasing misuse.”264 However, the internal documents produced by the PBM

 Defendants show a different story and uncover the fraudulent nature of the PBM

 Enterprises. The PBM Defendants did not make decisions based on the terms of the

 contracts with their clients or in order to fight drug abuse and/or diversion. Rather,

 the PBM Defendants made decisions in order to protect their rebates and generate

 profit, despite concerns about prescription opioids and the companies that sold them.

         658.   The PBM Defendants hid these facts from their clients. In a telling

 exchange in 2002, when Highmark Blue Cross Blue Shield decided it would put a

 300mg daily limit on a drug, Medco pushed back because this meant that Medco

 would lose Purdue rebates if there was a limit below 320mg per day. Here, as alleged,

 was evidence that an action could have been taken to drastically limit inappropriate

 prescribing, sales and dispensing, but it was ignored in favor of the action that

 advanced the common purpose of the Formulary & UM Enterprise. Instead of taking




 264CAH_MDL2804_01524873 (12/15/16) (also indicating that Express Scripts had
  “[d]eveloped a matrix for making recommendations).
                                          229

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 action to limit medically unnecessary and inappropriate prescribing, sales and

 dispensing, an August 18, 2002, email from Purdue National Account Director

 Bernadette Katsur reveals that a Medco Vice President convinced its client—

 Highmark—to drop its daily dosage limit.

          659.   Documents created in the mid-2010s confirm that the PBM Defendants

 regularly delayed taking actions that could have dramatically reduced medically

 inappropriate prescribing, sales and dispensing despite promises from the PBM

 Defendants to do the same.

          660.   As an example, a November 3, 2016, email from Bob Lahman, Trade

 Relations VP at OptumRx explained that OptumRx had agreed to forego measures

 that would have used prior authorization as a tool to control the prescription of

 opioids. The explanation reveals how closely each Opioid Enterprise Manufacturer

 worked with each PBM Defendant: “It was not unusual for any manufacturer to not

 want a PA on their product, especially if it was a small molecule product, and very

 few would have agreed to a rebate where they did not have unrestricted access (no

 PAs or steps (sic) edits).”265   Emails like this, and others cited throughout this

 complaint, demonstrate that the PBM Defendants and the Opioid Enterprise

 Manufacturers all had an understanding of the game—the end goal was increasing

 prescribing, dispensing, and sales through favorable formulary access without UM,

 and the means to that end goal was pay rebates and administrative fees.




 265   OPTUMRX_JEFFCO_0000446761 (11/3/16).
                                          230

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          661.   When the pressure began mounting to limit access to prescription

 opioids by use of UM measures like prior authorization, step edit, or days’ supply

 limits, there were serious concerns expressed in 2017 within OptumRx about the

 impact on the “significant” rebates being received from the drug makers:




                                                                                 266

          662.   Later, OptumRx employees discussed whether they would be willing to

 put a hard limit on morphine equivalent dosing (MED) on OxyContin 80mg to align

 with the 2016 CDC Prescribing Guidelines. The discussion was immediately

 interrupted by Brian Sabin, Manager of Industry Relations, who explained that they

 needed to delay implementation to “ensure we protect rebates” because “we cannot

 sacrifice rebates on only the 80mg strength here” as that would mean OptumRx

 would “sacrifice rebates on all OxyContin scripts.”267




 266   OPTUMRX_JEFFCO_0000206377. (2/7/17).
 267   OPTUMRX_JEFFCO_0000261777 (6/9/17).
                                          231

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             663.   Here, again, a PBM Defendant did not take an action that it could have

 taken to block inappropriate prescription opioid dispensing.

             664.   As another example, despite their contractual obligations and their

 public representations, it was not until 2019 that OptumRx even began to consider

 exclusion of OxyContin from its formularies.

             665.   An email exchange in March 2019 between Brian Sabin, Optum Director

 of Industry Relations, and Venkat Vadlamudi, Optum, raises the question whether

 they should remove OxyContin from its formularies altogether, “rebate losses be

 damned,” arguing that Purdue caused the opioid epidemic and Optum’s continued

 inclusion of OxyContin on its formularies was “rewarding their bad behavior.” He

 argues that, “[f]rom a purely PR perspective, I think it would look good on us.” In

 response, Vadlamudi states that “[w]e as a company looked into this,” but the amount

 of OxyContin rebates Optum collected “prevented us from doing it.” As even

 Vadlamudi then goes on to admit, “[b]ut times are different now. [I]f you can look into

 it and model the scenarios maybe we can change.”269




 268   Id.
 269   OPTUMRX_JEFFCO_0000506200 (3/4/19).
                                              232

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             666.   Even as Purdue explored bankruptcy and OptumRx became aware of

 the potential for lost rebates, the answer was not to discontinue OxyContin’s

 preferred formulary position, but instead to move other drugs into preferred positions

 in order to ensure the free flow of prescription opioids from another Opioid Enterprise

 Manufacturer in the Formulary & UM Enterprise.270

             667.   Express Scripts went through similar issues with OxyContin

 prescribing. In a March 2017 email, there were several employees from Express

 Scripts who derided the decision by the Express Scripts Value Added Committee to

 overrule the prior authorization limit on OxyContin, stating that the decision did not

 sit well with them at all.271 As Express Scripts employees noted, this decision made

 no clinical sense.272 Without question, the prior authorization limit would have

 dramatically reduced medically inappropriate prescribing, sales, and dispensing

 which would have impacted “rebate gain.”273

             668.   But the PBM Defendants’ involvement did not end there. As alleged

 more fully herein, Express Scripts and Optum each own and operate a mail order

 pharmacy. As alleged above, each of the PBM Defendants’ mail order pharmacies

 dispensed massive amounts of branded and generic opioids without performing the

 requisite due diligence on prescriptions or refusing to fill prescriptions that could not

 be resolved through due diligence. As such, the mail order pharmacies provided


 270   OPTUMRX_JEFFCO_0000089527 (9/4/19).
 271   ESI_JEFFCOMO_000029940 (3/23/17).
 272   Id.
 273   Id.
                                            233

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 another mechanism for the goal of the Formulary & UM Enterprise—i.e., the

 unrestricted increase in prescribing and dispensing of prescription opioids for the

 profit of the Opioid Enterprise Manufacturers and the PBM Defendants.

         669.   As alleged more fully herein, the Formulary & UM Enterprise

 maintained a common purpose from the late 1990s through to the present day,

 creating sufficient longevity in their personal business relationships for them to

 pursue the common purpose of the Formulary & UM Enterprise.

         670.   By dispensing branded and generic prescription opioids without

 performing the requisite due diligence on prescriptions or refusing to fill prescriptions

 that could not be resolved through due diligence, the PBM Defendants’ mail-order

 pharmacies furthered the common purpose of the Formulary & UM Enterprise. They

 continued to facilitate the increased dispensing and sale of prescriptions opioids.

 However, this also violated the law governing dispensing controlled substances in

 Schedules II through IV in ways that are punishable as felonies.

 C.      Conduct and Participation of the Formulary & UM Enterprise
         Through a Pattern of Racketeering Activity

         671.   The common purpose of the Formulary & UM Enterprise alleged more

 fully herein was perpetrated through a fraudulent scheme fulfilled by multiple acts

 of mail fraud and wire fraud, and by felonious possession and dispensing of controlled

 substances. PBM Defendants predicate acts of racketeering, constituting a pattern of

 racketing activity.

         672.   The pattern of racketeering activity used by the PBM Defendants and

 their mail order pharmacies likely involved thousands of separate instances of the

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 use of the U.S. Mail or interstate wire facilities in furtherance of the fraudulent

 scheme through which the common purpose was achieved.

         673.   Use of the mail and wire facilities began with the formation of the

 Formulary & UM Enterprise. Negotiations and communications about the contracts

 between the PBM Defendants and the Opioid Enterprise Manufacturers occurred

 through interstate mail and wire facilities and involved meetings, communications,

 and negotiations about contracts between the PBM Defendants and the Opioid

 Enterprise Manufacturers, the Opioid Enterprise Manufacturers’ marketing and the

 PBM Defendants assistance therewith, and pull-through marketing which required

 the transmission of large volumes of data.

         674.   As alleged more fully herein, the Opioid Enterprise Manufacturers and

 the PBM Defendants regularly and continuously communicated through the use of

 the U.S. Mail and interstate wire facilities in furtherance of the common purpose of

 the Formulary & UM Enterprise and their fraudulent scheme, including discussions

 of formulary placement, prior authorization limits, step edits, preferred formulary

 status and their impact on opioid prescribing and dispensing and, relatedly, rebates

 and other fees. Importantly, rarely mentioned during these discussions was the

 impact of the burgeoning opioid epidemic. These discussions were clearly intended to

 further the common purpose of the Formulary & UM Enterprise, happened over at

 least the last two decades (beginning with Purdue’s work with predecessors of Optum

 and Express Scripts and continuing to involve more Opioid Enterprise Manufacturers




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 over time), and reveal the ongoing personal business relationships that developed

 between the members of the Formulary & UM Enterprise.

         675.   Similarly, each PBM Defendant engaged in significant pull-through

 marketing assistance with each Opioid Enterprise Manufacturer. As revealed by

 documents cited herein, each of the PBM Defendants, through the regular use of the

 U.S. Mail or interstate wire facilities in furtherance of the fraudulent scheme, agreed

 to provide the Opioid Enterprise Manufacturers with preferred formulary placement

 and prescribing data. This ensured that the unfettered formulary access (granted

 despite the PBM Defendants’ contrary representations to the public and their clients),

 would facilitate unrestricted opioid prescribing and dispensing. Documents confirm

 these facts and evidence that unrestricted formulary access was a boon for each

 Opioid Enterprise Manufacturers marketing efforts and that “pull through” efforts

 were undertaken after each formulary announcement “win” in order to drive the

 Opioid Enterprise Manufacturers’ profitability. The PBM Defendants were not only

 aware of this pull through marketing, they actively joined in efforts with the Opioid

 Enterprise Manufacturers by creating reports about the “value proposition” of

 unrestricted use of prescription opioids as alleged more fully herein.

         676.   Finally, each PBM Defendant and the Opioid Enterprise Manufacturers

 regularly (and through the regular use of the U.S. Mail or interstate wire facilities in

 furtherance of the fraudulent scheme) participated in trade industry associations and

 informal coalitions that provided recurring non-contractual opportunities and forums




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 in which to continue developing personal business relations and in which they form

 a common purpose of growing the unfettered use of opioid drugs.

         677.   The PBM Defendants each engaged in essentially uniform conduct with

 the Opioid Enterprise Manufacturers whereby the PBM Defendants granted the

 Opioid Enterprise Manufacturers' drugs unfettered formulary access (including

 preferred formulary placement coupled with refraining from UM) despite their public

 promises and contractual obligations to make formulary and UM decisions in their

 clients’ best interests, and facilitated their pull through marketing and/or directly

 facilitated the dissemination of their marketing messages. The PBM Defendants also

 provided the Opioid Enterprise Manufacturers with PBM data so that they could pull

 through the formulary “wins” and drive increased prescribing. At the back end of the

 fraudulent scheme, the PBM Defendants profited from their fraud by receiving

 rebates and other fees while the Opioid Enterprise Manufacturers enjoyed increased

 sales through pull through marketing and unfettered formulary access.

         678.   The fraudulent scheme was advanced through mailings and interstate

 wire transmissions that constitute racketeering activity. Collectively, these violations

 constitute a pattern of racketeering activity, through which the PBM Defendants and

 their mail order pharmacies and the Opioid Enterprise Manufacturers defrauded and

 intended to defraud Webb County and Texas consumers, the State, and other

 intended victims.

         679.   The PBM Defendants and their mail order pharmacies devised and

 knowingly carried out an illegal and fraudulent scheme using materially false or


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 fraudulent pretenses, representations, promises, or omissions regarding their

 conduct. Specifically, as alleged more fully herein, the PBM Defendants promised to

 perform pharmacy benefit management services, including cDURs, formulary

 decisions, and UM decisions in their clients’ best interests and in ways that would

 ensure safe and effective prescribing. As alleged herein, the PBM Defendants further

 represented to their clients and the public that they were committed to preventing

 and addressing misuse, abuse, and diversion of prescription opioids. These promises

 were made in person, in publications, and through the mail and the wires.

         680.   The PBM Defendants and their mail order pharmacies did not intend to

 comply with their contractual obligations, the promises to their clients, or their public

 representations. The PBM Defendants and their mail order pharmacies intended to

 continue to make decisions and take actions that benefitted the members of the

 Formulary & UM Enterprise and its common purpose by: failing to perform cDURs,

 granting unfettered formulary access, and blocking implementation of any UM

 measures. All told, the PBM Defendants and their mail order pharmacies intended

 to take actions that directly contradicted their promises, contractual obligations and

 public promises because they supported increased prescribing, sale, and dispensing

 of prescription opioids with as little inhibition or impediments as possible.

         681.   The PBM Defendants and their mail order pharmacies intended that

 their common purpose and scheme to defraud would, and did, use the U.S. Mail and

 interstate wire facilities intentionally and knowingly with the specific intent to

 advance and for the purpose of executing the illegal and fraudulent scheme.


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         682.   By engaging in their intended conduct, as alleged more fully herein, the

 PBM Defendants and their mail order pharmacies engaged in fraudulent and

 unlawful conduct constituting a pattern of racketeering activity.

         683.   The PBM Defendants and their mail order pharmacies used the U.S.

 Mail and interstate wire facilities to perpetrate the fraudulent scheme of the

 Formulary & UM Enterprise with thousands of communications, publications,

 representations, statements, electronic transmissions, and payments including, but

 not limited to:

             (a) Contracts negotiated and circulated between members of the Formulary
                 & UM Enterprise;

             (b) Contracts negotiated and circulated between PBM Defendants and their
                 clients;

             (c) Public representations by the Opioid Enterprise Manufacturers and the
                 PBM Defendants about their commitment to addressing misuse, abuse,
                 and diversion of prescription opioids;

             (d) Marketing materials about prescription opioids transmitted between
                 the Opioid Enterprise Manufacturers and the PBM Defendants that
                 were later disseminated by the PBM Defendants;

             (e) Communications between the PBM Defendants and their clients about
                 their commitment to following the terms of their respective contracts;

             (f) Communications between the Opioid Enterprise Manufacturers and the
                 PBM Defendants regarding formulary changes;

             (g) Communications between the Opioid Enterprise Manufacturers and the
                 PBM Defendants regarding and including PBM prescribing data;

             (h) Transmission of rebate payments; and

             (i) Transmission of payments from the clients of the PBM Defendants.



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         684.   To achieve the common purpose of the Formulary & UM Enterprise, the

 PBM Defendants and their mail order pharmacies and the Opioid Enterprise

 Manufacturers hid from their clients, patients, regulators and Plaintiff: (a) the

 fraudulent nature of the scheme; (b) the fraudulent nature of their representations;

 (c) their intention to ignore their contractual cDUR obligations; (d) intent to make

 formulary and UM decisions that failed to limit the medically unnecessary and

 inappropriate prescribing, sales, or dispensing of prescription opioids or address

 misuse, abuse, and diversion; and (e) the true nature of the association between each

 member of the Formulary & UM Enterprise.

         685.   Each member of the Formulary & UM Enterprise, including the PBM

 Defendants and their mail order pharmacies, agreed with the overall objective of the

 Formulary & UM Enterprise’s fraudulent schemes and participated by taking action

 that furthered the common purpose of the Formulary & UM Enterprise, including in

 the common course of conduct to commit acts of fraud and indecency.

         686.   The pattern of racketeering activity involving the felonious possession

 and dispensing of controlled substances in Schedules II through IV likely involved

 thousands, if not millions, if improperly dispensed prescriptions for branded and

 generic prescription opioids in violation of the CSA and PBM Defendants’

 registrations as mail-order pharmacies. PBM Defendants knowingly and intentional

 possessed and dispensed branded and generic prescription opioids for reasons that

 were not authorized by the CSA.




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         687.   The predicate acts of the Formulary & UM Enterprise all had the

 purpose of furthering the opioid epidemic that substantially injured Plaintiff’s

 business and property, while simultaneously generating billion-dollar revenue for the

 PBM Defendants and their mail order pharmacies. The predicate acts were

 committed, and/or caused to be committed, by the PBM Defendants and their mail

 order pharmacies through their participation in the Formulary & UM Enterprise and

 in furtherance of the fraudulent schemes, felonious possession and dispensing of

 controlled substances, and common purpose thereof.

 IX.     Plaintiff’s Claims Are Timely

         688.   Plaintiff Webb County, as a county government, is a political subdivision

 of the State of Texas. Thus, pursuant to the common law and TEX. CIV. PRAC. & REM.

 CODE § 16.061, Webb County is not subject to any applicable statute of limitations.

         689.   Additionally, under Texas law, actions to abate or enjoin a public

 nuisance are not subject to any statute of limitations.

         690.   Even assuming, arguendo, that Webb County was subject to applicable

 statutes of limitation, in the alternative Webb County asserts the following tolling

 doctrines.

         691.   Defendants’ wrongful conduct is still ongoing and has caused Plaintiff

 repeated injuries and/or a continuous injury over many years.

         692.   Plaintiff did not learn that it had been injured by Defendants’ actions,

 the source of those injuries, or that those injuries were part of a pattern of conduct

 until only recently, until documents revealing those facts were produced in discovery


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 by various entities in In re: National Prescription Opiate Litigation, Case No. 1:17-

 md-2804-DAP (N.D. Ohio) and other opioid litigation, including the documents cited,

 quoted, and relied on throughout this complaint. These documents—and the facts

 they contain—have never before been made public, nor have they ever before been in

 Plaintiff’s possession, and not otherwise available to Plaintiff before being produced

 in discovery.

         693.    Defendants undertook efforts, including through the use of the U.S. Mail

 or interstate wire facilities in furtherance of the fraudulent scheme, to purposefully

 conceal their wrongful conduct by: (1) manipulating and distorting public

 information, knowledge, and facts; (2) misrepresenting their role in the

 pharmaceutical market as promoting safe use and appropriate opioid dispensing;

 (3) assuring the public and governmental authorities that they were complying with

 their obligations and were acting to prevent diversion and drug abuse; (4) hiding the

 true nature of their relationships with the Opioid Enterprise Manufacturers; (5)

 failing to make public or otherwise produce nonpublic information, over which

 Defendants had exclusive possession, dominion, and control, that would have

 revealed the truth; (6) entering into overly broad confidentiality agreements with any

 entity in the supply chain with whom they contracted; (7) suing governmental and

 other entities to block the release of details in their agreements with the Opioid

 Enterprise Manufacturers and pharmacies; and (8) by deliberately and fraudulently

 concealing the truth.




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         694.   Defendants intended that their false statements and omissions be relied

 upon.

         695.   Defendants knew of their wrongful acts and had material information

 pertinent to their discovery, but concealed that information from the public, including

 from the Plaintiff.

         696.   Only Defendants knew of their widespread misinformation campaign

 and of their repeated, intentional failures to prevent opioid overutilization and

 diversion.

         697.   Due in large part to their deceptive, intentional, and fraudulent conduct,

 the full scope of Defendants’ wrongful conduct and their central role in the opioid

 epidemic has not yet come to light.

 X.      Successor Liability

         698.   To the extent that the wrongful acts or omissions alleged herein where

 committed or omitted by predecessor entities, their respective successor entities are

 liable for those acts or omissions because (1) they expressly or impliedly assumed the

 predecessor’s liability, (2) there was a consolidation or merger of predecessor and

 successor, or (3) the surviving entity was a mere continuation of the predecessor. To

 the extent there was no formal merger of predecessor and successor, the respective

 successor entities are also liable for the wrongful acts or omissions of their respective

 predecessors based on the doctrine of de facto merger based on the factors of (a)

 continuity of ownership; (b) cessation of ordinary business and dissolution of the

 predecessor; (c) assumption by the successor of liabilities ordinarily necessary for the


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 uninterrupted continuation of the business of the predecessor; (d) continuity of

 management, personnel, physical location, assets and general business operation of

 the predecessor, and (e) assumption of an identical or nearly identical name. The

 details regarding the foregoing facts are particularly within the knowledge and

 control of the respective defendants charged with wrongdoing and cannot be pleaded

 in greater detail by Plaintiff without discovery.

 XI.     Alter Ego Liability

         699.   To the extent that the wrongful acts or omissions alleged herein where

 committed or omitted by wholly-owned or majority-owned entities, the parent entities

 are liable for those acts or omissions as alter egos because (1) they dominated and

 controlled the wholly-owned or majority-owned entity and (2) exercised that

 domination and control to perpetrate a wrong or injustice. The details regarding the

 foregoing facts are particularly within the knowledge and control of the respective

 defendants charged with wrongdoing and cannot be pleaded in greater detail by

 Plaintiff without discovery.




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 XII.     Claims for Relief274

       FIRST CLAIM FOR RELIEF—INTENTIONAL CREATION OF A PUBLIC
                                 NUISANCE275
                  (Brought by Plaintiff against All Defendants)

          700.   Plaintiff repeats, re-alleges, and incorporates each and every allegation

 set forth in all other paragraphs of these Supplemental and Amended Allegations to

 the Second Complaint, as well as each and every allegation set forth in all other

 paragraphs of its Second Amended Complaint (Doc. No. 75), as if fully set forth

 herein, and further alleges as follows:

          701.   Defendants intentionally caused, created, contributed to, and/or

 maintained a public nuisance which interfered with public rights, including the

 public rights to health and safety, in Plaintiff’s community.

          702.   Each Defendant is liable for the public nuisance because its conduct has

 caused an unreasonable and substantial interference with a right common to the

 general public, which is the proximate cause of, and/or substantial factor leading to,

 Webb County’s injury. See Restatement Second, Torts §821B.




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    In its Second Amended Complaint (Doc. No. 75), Plaintiff asserted an Unjust
  Enrichment claim against all Defendants. Plaintiff here withdraws its Unjust
  Enrichment claim as to the PBM Defendants only. That claim and all other claims
  are still asserted as to all other Defendants.
 275In its Second Amended Complaint (Doc. No. 75), Plaintiff asserts a single public
  nuisance “cause of action.” However, under Texas law, public nuisance is not a
  separate cause of action but rather a type of legal injury resulting from intentional,
  negligent, or abnormally dangerous conduct. Because Plaintiff’s public nuisance
  claim is based on both the intentional and negligent conduct of Defendants, Plaintiff
  asserts two separate causes of action: Intentional Creation of a Public Nuisance and
  Negligent Creation of a Public Nuisance.
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         703.   Defendants, by colluding with manufacturers to make opioids more

 available and ignoring evidence of addiction and misuse found in their own claims

 data and/or other actions and inactions described herein, created and maintained the

 opioid epidemic in Webb County, which is harmful and disruptive to, and

 unreasonably annoys, injures, endangers, and interferes with the public health,

 public safety, public peace, public comfort, and/or public convenience. The public

 nuisance caused by Defendants has significantly harmed, and continues to

 significantly harm, the Plaintiff and a considerable number of Webb County

 residents.

         704.   Each Defendant gathered enormous amounts of data about the opioid

 prescriptions and opioid-related claims of their members in Webb County and across

 the country. Defendants used this data to enhance their profitability but opted not to

 use it to ensure that their marketing practices were consistent with safe and effective

 opioid use, identify and prevent diversion, or identify and prevent the dispensing and

 sale of unreasonably large quantities of opioids, and “cocktails” of opioids and other

 drugs, in Webb County and the surrounding communities.

         705.   Defendants have created and maintained a public nuisance through

 their ongoing intentional conduct, including, but not limited to: undertaking to

 administer prescription drug benefits and dispensing in the public interest and in

 conformity with public health and safety, and then electing not to appropriately carry

 out these obligations; fraudulently promoting the use of opioids for conditions and in

 circumstances where they are neither safe nor effective; misrepresenting to the public


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 and the medical community that opioids could be taken at high doses and for long

 durations with minimal risk of addiction; electing not to use the wealth of data

 available to them to identify and address signs of over-prescribing, illegitimate and

 dangerous use of opioids, misuse, abuse, and diversion; facilitating and encouraging

 the use of dangerously addictive opioids by colluding with manufacturers to place

 opioid drugs on standard formulary offerings with preferred status; declining to

 impose limits on their approval for use of opioids in exchange for payments and fees

 from manufacturers; electing not to provide controls against diversion in their PBM

 services; and violating the Controlled Substances Act, and Texas controlled

 substances and pharmacy laws and regulations, by failing to detect and guard against

 diversion when dispensing opioids, and “cocktails” of opioids and other drugs, through

 their mail order pharmacies, and in their provision of PBM services. Their conduct

 caused prescriptions and sales of opioids to skyrocket, and Defendants failed to limit

 their use even as evidence of the epidemic mounted, including in Webb County,

 flooding Webb County with opioids and facilitating and encouraging the flow and

 diversion of opioids into an illegal, secondary market, resulting in devastating

 consequences to Webb County and its residents.

         706.   Defendants knew, or were substantially certain, that their intentional,

 unreasonable, and/or unlawful conduct would and did cause opioids to be used and

 possessed illegally and that their conduct has produced an ongoing nuisance that has

 had, and will continue to have, a detrimental and unreasonable effect upon the public




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 health, welfare, safety, peace, comfort, and convenience of Webb County and its

 residents.

         707.   Defendants’ conduct has injuriously affected rights common to the

 general public, specifically including the rights of the people of Webb County to public

 health, safety, peace, comfort, and convenience. The public nuisance caused by

 Defendants’ actions has caused substantial annoyance, inconvenience, and injury to

 the public.

         708.   The interference is unreasonable because Defendants’ nuisance-

 creating conduct:

             (a) Involves a significant interference with the public health, the public
                 safety, the public peace, the public comfort, and/or the public
                 convenience;

             (b) At all relevant times was and is proscribed by state and federal laws and
                 regulations; and/or

             (c) Is of a continuing nature and, as Defendants know, has had and is
                 continuing to have a significant effect upon rights common to the
                 general public, including the public health, the public safety, the public
                 peace, the public comfort, and/or the public convenience.

         709.   The significant interference with rights common to the general public is

 described in detail herein and in Plaintiff’s Second Amended Complaint (Doc. No. 75),

 and includes but is not limited to:

             (a) The creation and fostering of an illegal, secondary market for
                 prescription opioids;

             (b) Easy access to prescription opioids by children and teenagers;

             (c) A staggering increase in opioid abuse, addiction, overdose, injuries, and
                 deaths;

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             (d) Infants being born dependent on, or addicted to, opioids due to prenatal
                 exposure, causing severe withdrawal symptoms and lasting
                 developmental impacts;

             (e) Employers having lost the value of productive and healthy employees;
                 and

             (f) Increased costs and expenses for Plaintiff relating to healthcare
                 services, law enforcement, the criminal justice system, social services,
                 and education systems.

         710.   Defendants knowingly, intentionally, recklessly, and/or unlawfully

 pushed as many opioids, and “cocktails” of opioids and other drugs, onto the market

 as possible, fueling addiction to and diversion of these powerful narcotics, resulting

 in increased addiction and abuse, an elevated level of crime, death and injuries to the

 residents of Webb County, a higher level of fear, discomfort and inconvenience to the

 residents of Webb County, and direct costs to Webb County and its residents.

         711.   Defendants are liable for creating the public nuisance because the

 intentional and unreasonable and/or unlawful conduct of each Defendant was a

 substantial factor in producing the public nuisance and harm to Plaintiff.

         712.   At all relevant times, Defendants were aware of, and understood, their

 legal obligations under the federal Controlled Substances Act (21 U.S.C. § 801, et

 seq.), the Texas Controlled Substances Act (TEX. HEALTH & SAFETY CODE § 481.001,

 et seq.), and applicable Texas pharmacy laws and regulations regarding the

 dispensing of prescription opioids.

         713.   In their sale and dispensation of opioids, and “cocktails” of opioids and

 other drugs, in Texas and Webb County, Defendants knowingly violated federal law,

 including, but not limited to, 21 U.S.C.A. §§ 829, 841, 842 and 21 C.F.R. §§ 1301.71,
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 1306.04, 1306.06, and Texas law, including, but not limited to, TEX. HEALTH & SAFETY

 CODE §§ 481.061, 481.071, 481.074, 481.128(a), 481.1285, 481.129; 22 TEX. ADMIN.

 CODE §§ 291.29, 291.104; and TEX. OCCUPATIONS CODE § 566.151.

         714.   Defendants’ intentional, unlawful, and unreasonable conduct that

 created, continued, and/or maintained the public nuisance in Webb County, for which

 the gravity of the harm outweighs the utility of the conduct, is described herein and

 in Plaintiff’s Second Amended Complaint (Doc. No. 75) and includes, but is not limited

 to:

             (a) Knowingly and intentionally colluding with the opioid manufacturers in
                 deceptive marketing schemes that were designed to, and successfully
                 did, change the perception of opioids and cause opioid prescribing and
                 sales to skyrocket;

             (b) Knowingly and intentionally facilitating the increased use of opioids by
                 giving opioids unwarranted preferred formulary status in standard
                 offerings in exchange for profiting from payments from the opioid
                 manufacturers;

             (c) Intentionally maintaining preferred formulary status for OxyContin
                 and other highly abused opioids in standard offerings, despite knowing,
                 or being substantially certain, from their own extensive data, that
                 addiction, abuse, and illegitimate prescribing of such drugs were
                 rampant;

             (d) Deliberately electing not to undertake timely actions utilizing their real-
                 time data that would have drastically reduced the inappropriate
                 prescribing and dispensing of Opioids, such as requiring prior
                 authorization, step therapy, limiting days of supply, or excluding
                 OxyContin from its standard formulary offerings;

             (e) Deliberately electing not to impose prior authorization requirements or
                 limits on the availability of opioids in its standard formulary offerings
                 in exchange for payments from the opioid manufacturers;



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             (f) Deliberately electing not to maintain adequate safeguards to dispense
                 opioids in a safe and effective manner and to maintain effective controls
                 against diversion of opioids through their mail-order pharmacies; and

             (g) Deliberately electing not to report suspicious prescribers and
                 pharmacies.

          715.   When Defendants engaged in this conduct, they knew, or were

 substantially certain, that, inter alia: (i) increasing the availability of opioids would

 increase the number of opioids that would be abused, misused, and diverted into the

 illegal, secondary market and would be obtained by persons with criminal purposes;

 (ii) the marketing by manufacturers with which they colluded was deceptive and that

 Defendants’ conduct served to increase opioid sales; (iii) many of the opioid

 prescriptions they dispensed, or facilitated the dispensing of, were not issued for a

 legitimate medical purpose and were likely to be diverted; and (iv) by failing to act

 reasonably and lawfully with respect to the sale and dispensing of opioids, and

 “cocktails” of opioids and other drugs, and by participating in the false marketing of

 opioids, in Webb County, diversion and the associated harms and resulting

 interference with public health, safety, and welfare would occur.

          716.   At all relevant times, Defendants knew that opioids were dangerous

 because, inter alia, these drugs are defined under federal and state law, and are

 generally recognized, as substances posing a high potential for abuse, addiction, and

 death.

          717.   Indeed, prescription opioids are essentially medical grade heroin.

 Defendants’ wrongful and unreasonable conduct of pushing as many opioids, and

 “cocktails” of opioids and other drugs, onto the market as possible led directly to the
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 public nuisance and harm to Plaintiff—exactly as would be expected when medical-

 grade heroin in the form of prescription opioids flood the community and are diverted

 into an illegal, secondary market.

         718.   It was reasonably foreseeable to Defendants that their conduct would

 result in the public nuisance and unreasonable harm to Plaintiff described herein.

         719.   It was also reasonably foreseeable to Defendants that their conduct

 would create a new secondary market for opioids—providing both the supply of

 narcotics to sell and the demand of addicts to buy them. The result of Defendants’

 deceptive and improper conduct is not only an explosion of prescription opioids on the

 black market, but also—predictably—a marked increase in the availability of heroin

 and synthetic opioids.

         720.   The health, safety, and welfare of the citizens of Webb County, including

 those who use, have used, or will use opioids, as well as those affected by opioid users,

 is a matter of great public interest and legitimate concern to Webb County’s citizens

 and residents. It was reasonably foreseeable to Defendants that the burden of the

 opioid crisis would fall to counties like Webb County in the form of social and

 economic costs.

         721.   The public nuisance created by Defendants’ intentional conduct is

 substantial and unreasonable. It has caused and continues to cause significant harm

 to Webb County and its residents, and the harm inflicted greatly outweighs any

 offsetting benefit.




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         722.   Defendants’ conduct is widespread and persistent and creates

 substantial and ongoing harm. The harm inflicted outweighs any offsetting benefit.

 Defendants’ conduct has caused deaths, serious injuries, and a severe disruption of

 public peace, health, order and safety. Defendants’ ongoing and persistent

 misconduct is producing permanent and long-lasting damage.

         723.   Defendants’ actions were, at the very least, a substantial factor in

 opioids becoming widely available and widely used in Webb County. Because of

 Defendants’ actions in using their unique position to increase the availability of

 opioids in the marketplace and inflate opioid sales, because of their collusion with

 manufacturers in the deceptive marketing of opioids, and because of Defendants’

 special position within the closed system of opioid distribution, without Defendants’

 actions, opioid use would not have become so widespread, and the enormous public

 health hazard of prescription opioid and heroin overuse, abuse, and addiction that

 now exists would have been averted.

         724.   Defendants had control over their conduct in and affecting Webb County

 as is described herein, and that conduct has had an adverse effect on the public.

 Defendants had sufficient control over, and responsibility for, the public nuisance

 they created. Defendants were in control of the “instrumentality” of the nuisance,

 namely the dissemination of prescription opioids, their collusion with manufacturers

 in promoting opioids, and standard formulary and drug UM offerings that increased

 utilization of opioids as described herein.




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         725.   Plaintiff does not allege that the opioid drugs are inherently defective,

 nor that the FDA-approved warning labels are inadequate, and Plaintiff does not seek

 a remedy under theories of product defect or failure to warn.

         726.   Defendants acted with a conscious disregard for the rights and safety of

 other persons, and said actions had a great probability of causing substantial harm.

         727.   Defendants’ scheme to optimize profits and opioid utilization regardless

 of the harm that was substantially certain to occur to Webb County was done

 knowingly and intentionally.

         728.   But for Defendants’ actions, opioid use—and, ultimately, misuse and

 abuse—would not be as widespread as it is today, and the opioid epidemic that

 currently exists would have been averted or greatly curtailed.

         729.   As a direct and proximate cause of Defendants’ intentional conduct

 creating or assisting in the creation of a public nuisance, Webb County, its

 community, and its residents have sustained and will continue to sustain substantial

 injuries.

         730.   Webb County brings this action to promote the public welfare, for the

 benefit of all who live in and around Webb County, the public generally, and the State.

         731.   In addition, Webb County has sustained injury to its property and

 resources because of the public nuisance described herein.

         732.   Defendants’ misconduct alleged in this case does not concern a discrete

 event or discrete emergency of the sort a political subdivision would reasonably

 expect to occur and is not part of the normal and expected costs of a local government’s


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 existence. Plaintiff alleges wrongful acts which are neither discrete nor of the sort a

 local government can reasonably expect.

         733.   Defendants’ misconduct alleged in this case is ongoing and persistent,

 as is the nuisance to which they substantially contributed.

         734.   As a direct and proximate result of Defendants’ intentional conduct and

 the public nuisance created by Defendants, Plaintiff has incurred, and will continue

 to incur, excessive costs to treat the opioid epidemic in its county including, but not

 limited to, increased costs of police, emergency, health, prosecution, corrections,

 rehabilitation, and other services. These costs are over and above Plaintiff’s ordinary

 public services expenses.

         735.   As a direct and proximate result of Defendants’ intentional conduct and

 the public nuisance created by Defendants, public resources are being unreasonably

 consumed in efforts to address the opioid epidemic, thereby eliminating available

 resources which would otherwise be used to serve the public at large in Webb County.

         736.   Plaintiff seeks to abate the nuisance created by Defendants’

 unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and

 omissions and unreasonable interference with rights common to the general public.

         737.   The public nuisance in Webb County—i.e., the opioid epidemic—created,

 perpetuated, and maintained by Defendants can be abated and further recurrence of

 such harm and inconvenience can be prevented. However, Defendants lack the

 infrastructure and expertise needed to abate the public nuisance they created,

 contributed to, and/or maintained in Webb County. Defendants’ conduct – including


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 their lack of regard for the well-being of the citizens of Webb County by elevating

 their own business interests and profit over the safety and health of the communities

 in which they marketed, promoted, dispensed, and sold opioids – also renders them

 unfit to oversee the abatement of the public nuisance they created, contributed to,

 and/or maintained.

         738.    Plaintiff seeks a judgment that Defendants fund the abatement of the

 ongoing public nuisance caused by their unreasonable, unlawful, intentional,

 ongoing, continuing, and persistent actions and omissions and their substantial and

 unreasonable interference with rights common to the general public.

         739.    Each Defendant created or assisted in creating the opioid epidemic, and

 each Defendant is jointly and severally liable for its abatement. Furthermore, each

 Defendant should be enjoined from continuing to create, perpetuate, or maintain said

 public nuisance in Webb County. Additionally, Defendants should compensate Webb

 County for the funds it has expended and continues to expend for increased costs of,

 inter alia, social services, health systems, law enforcement, judicial system, and

 treatment facilities.

         740.    Plaintiff has suffered, and will continue to suffer, unique harms as

 described herein, which are of a different kind and degree than those suffered by

 Texas and Webb County citizens at large. These are harms that can only be suffered

 by Plaintiff.




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         741.   Plaintiff is acting in its governmental capacity to vindicate the rights of

 the public and abate a public nuisance within its community. Its claims are not based

 upon or derivative of the rights of others.

         742.   The tortious conduct of Defendants was a substantial factor in producing

 harm to Plaintiff.

         743.   Plaintiff has suffered an indivisible injury as a result of the tortious

 conduct of Defendants.

         744.   Defendants’ actions and omissions in creating, perpetuating, and

 maintaining the public nuisance were fraudulent, malicious, and/or grossly negligent.

 For this reason, Plaintiff seeks to recover punitive/exemplary damages.

         745.   Defendants’ conduct was fraudulent. Defendants acted in concert with

 opioid manufacturers to promote false and fraudulent messaging about the treatment

 of pain and the addictive nature of opioids. Defendants also created the false and

 misleading impression to regulators, prescribers, their clients, and the public, that

 they rigorously carried out their legal duties, including their duty to implement

 effective controls against diversion and to exercise due diligence to prevent the

 dispensing of opioid prescriptions that are illegitimate and/or likely to be diverted.

 Defendants further created the false impression that they worked voluntarily to

 prevent opioid abuse, misuse, oversupply, and diversion as a matter of corporate

 responsibility to the communities their business practices would necessarily impact.

         746.   Defendants acted with malice. Defendants specifically intended to cause

 substantial injury or harm to Webb County because they either desired to cause the


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 consequences of their actions or omissions, or believed that the consequences were

 substantially certain to result from their actions or omissions. Specifically,

 Defendants knew that their conduct was resulting in, or was substantially certain to

 result in, an unreasonable and substantial interference with the public health,

 welfare, and safety in Webb County.

         747.   Defendants’ actions and omissions were grossly negligent. They had

 actual, subjective awareness that, viewed objectively from their viewpoint at the time,

 their conduct involved an extreme degree of risk, considering the probability and

 magnitude of the potential harm to others. Defendants knew of the dangerous and

 addictive nature of prescription opioids and also knew the risks associated with the

 oversupply and diversion of such drugs. Yet they nevertheless proceeded with

 conscious indifference to the rights, safety, or welfare of Webb County and its citizens

 by and through their conduct described herein.

         748.   Plaintiff seeks all legal and equitable relief as allowed by Texas law for

 the intentional creation of a public nuisance, including, inter alia, injunctive relief,

 abatement, compensatory and exemplary/punitive damages, and all other damages

 allowed by law to be paid by Defendants, attorneys’ fees and costs, pre- and post-

 judgment interest, and such other relief as this Court deems appropriate.

   SECOND CLAIM FOR RELIEF—NEGLIGENT CREATION OF A PUBLIC
                             NUISANCE
             (Brought by Plaintiff Against All Defendants)

         749.   Plaintiff repeats, re-alleges, and incorporates each and every allegation

 set forth in all other paragraphs of these Supplemental and Amended Allegations to


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 the Second Complaint, as well as each and every allegation set forth in all other

 paragraphs of its Second Amended Complaint (Doc. No. 75), as if fully set forth

 herein, and further alleges as follows:

         750.   Defendants negligently and recklessly caused, created, contributed to,

 and/or maintained a public nuisance which interfered with public rights, including

 the public rights to health and safety, in Plaintiff’s community.

         751.   Each Defendant is liable for the public nuisance because its conduct has

 caused an unreasonable and substantial interference with a right common to the

 general public, which is the proximate cause of, and/or substantial factor leading to,

 Webb County’s injury. See Restatement Second, Torts §821B.

         752.   Defendants, by colluding with manufacturers to make opioids more

 available and ignoring evidence of addiction and misuse found in their own claims

 data and/or other actions and inactions described herein, created and maintained the

 opioid epidemic in Webb County, which is harmful and disruptive to and

 unreasonably annoys, injures, endangers, and interferes with the public health,

 public safety, public peace, public comfort, and/or public convenience. The public

 nuisance caused by Defendants has significantly harmed, and continues to

 significantly harm, the Plaintiff and a considerable number of Webb County

 residents.

         753.   Each Defendant gathered enormous amounts of data about the opioid

 prescriptions and opioid-related claims of their members in Webb County and across

 the country. Defendants used this data to enhance their profitability but opted not to


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 use it to ensure that their marketing practices were consistent with safe and effective

 opioid use, identify and prevent diversion, or identify and prevent the dispensing and

 sale of unreasonably large quantities of opioids, and “cocktails” of opioids and other

 drugs, in Webb County and the surrounding communities.

         754.   Defendants have created and maintained a public nuisance through

 their ongoing negligent and reckless conduct, including, but not limited to:

 undertaking to administer prescription drug benefits and dispensing in the public

 interest and in conformity with public health and safety, and then failing to

 appropriately carry out these obligations; falsely promoting the use of opioids for

 conditions and in circumstances where they are neither safe nor effective;

 misrepresenting to the public and the medical community that opioids could be taken

 at high does and for long durations with minimal risk of addiction; failing to use the

 wealth of data available to them to identify and address signs of over-prescribing,

 illegitimate and dangerous use of opioids, misuse, abuse, and diversion; facilitating

 and encouraging the use of dangerously addictive opioids by colluding with

 manufacturers to place opioid drugs on standard formulary offerings with preferred

 status; declining to impose limits on their approval for use of opioids in exchange for

 payments and fees from manufacturers; failing to provide controls against diversion

 in their PBM services; and violating the Controlled Substances Act, and Texas

 controlled substances and pharmacy laws and regulations, by failing to detect and

 guard against diversion when dispensing opioids, and “cocktails” of opioids and other

 drugs, through their mail order pharmacies, and in their provision of PBM services.


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 Their conduct caused prescriptions and sales of opioids to skyrocket, and Defendants

 failed to limit their use even as evidence of the epidemic mounted, including in Webb

 County, flooding Webb County with opioids and facilitating and encouraging the flow

 and diversion of opioids into an illegal, secondary market, resulting in devastating

 consequences to Webb County and its residents.

         755.   Defendants reasonably should have known that their negligent,

 reckless, unreasonable, and/or unlawful conduct would and did cause opioids to be

 used and possessed illegally and that their conduct has produced an ongoing nuisance

 that has had, and will continue to have, a detrimental and unreasonable effect upon

 the public health, welfare, safety, peace, comfort, and convenience of Webb County

 and its residents.

         756.   Defendants’ conduct has injuriously affected rights common to the

 general public, specifically including the rights of the people of Webb County to public

 health, safety, peace, comfort, and convenience. The public nuisance caused by

 Defendants’ actions has caused substantial annoyance, inconvenience, and injury to

 the public.

         757.   The interference is unreasonable because Defendants’ nuisance-

 creating conduct:

             (a) Involves a significant interference with the public health, the public
                 safety, the public peace, the public comfort, and/or the public
                 convenience;

             (b) At all relevant times was and is proscribed by state and federal laws and
                 regulations; and/or



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             (c) Is of a continuing nature and, as Defendants know, has had and is
                 continuing to have a significant effect upon rights common to the
                 general public, including the public health, the public safety, the public
                 peace, the public comfort, and/or the public convenience.

         758.   The significant interference with rights common to the general public is

 described in detail herein and in Plaintiff’s Second Amended Complaint (Doc. No. 75),

 and includes but is not limited to:

             (a) The creation and fostering of an illegal, secondary market for
                 prescription opioids;

             (b) Easy access to prescription opioids by children and teenagers;

             (c) A staggering increase in opioid abuse, addiction, overdose, injuries, and
                 deaths;

             (d) Infants being born dependent on, or addicted to, opioids due to prenatal
                 exposure, causing severe withdrawal symptoms and lasting
                 developmental impacts;

             (e) Employers having lost the value of productive and healthy employees;
                 and

             (f) Increased costs and expenses for Plaintiff relating to healthcare
                 services, law enforcement, the criminal justice system, social services,
                 and education systems.

         759.   Defendants negligently, recklessly, and/or unlawfully pushed as many

 opioids, and “cocktails” of opioids and other drugs, onto the market as possible,

 fueling addiction to and diversion of these powerful narcotics, resulting in increased

 addiction and abuse, an elevated level of crime, death and injuries to the residents of

 Webb County, a higher level of fear, discomfort and inconvenience to the residents of

 Webb County, and direct costs to Webb County and its residents.




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         760.   Defendants are liable for creating the public nuisance because the

 negligent and unreasonable and/or unlawful conduct of each Defendant was a

 substantial factor in producing the public nuisance and harm to Plaintiff.

         761.   At all relevant times, Defendants were or reasonably should have been

 aware of, and understood, their legal obligations under the federal Controlled

 Substances Act (21 U.S.C. § 801, et seq.), the Texas Controlled Substances Act (TEX.

 HEALTH & SAFETY CODE § 481.001, et seq.), and applicable Texas pharmacy laws and

 regulations regarding the dispensing of prescription opioids.

         762.   In their sale and dispensation of opioids, and “cocktails” of opioids and

 other drugs, in Texas and Webb County, Defendants violated federal law, including,

 but not limited to, 21 U.S.C.A. §§ 829, 841, 842 and 21 C.F.R. §§ 1301.71, 1306.04,

 1306.06, and Texas law, including, but not limited to, TEX. HEALTH & SAFETY CODE

 §§ 481.061, 481.071, 481.074, 481.128(a), 481.1285, 481.129; 22 TEX. ADMIN. CODE §§

 291.29, 291.104; and TEX. OCCUPATIONS CODE § 566.151.

         763.   Defendants’ negligent, reckless, unlawful, and unreasonable conduct

 that created, continued, and/or maintained the public nuisance in Webb County, for

 which the gravity of the harm outweighs the utility of the conduct, is described herein

 and in Plaintiff’s Second Amended Complaint (Doc. No. 75) and includes, but is not

 limited to:

             (a) Negligently and recklessly colluding with the opioid manufacturers in
                 deceptive marketing schemes that were designed to, and successfully
                 did, change the perception of opioids and cause opioid prescribing and
                 sales to skyrocket;



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             (b) Negligently and recklessly facilitating the increased use of opioids by
                 giving opioids unwarranted preferred formulary status in standard
                 offerings in exchange for profiting from payments from the opioid
                 manufacturers;

             (c) Negligently and recklessly maintaining preferred formulary status for
                 OxyContin and other highly abused opioids in standard offerings,
                 despite knowing, actually or constructively, from their own extensive
                 data, that addiction, abuse, and illegitimate prescribing of such drugs
                 were rampant;

             (d) Negligently and recklessly failing to undertake timely actions utilizing
                 their real-time data that would have drastically reduced the
                 inappropriate prescribing and dispensing of Opioids, such as requiring
                 prior authorization, step therapy, limiting days of supply, or excluding
                 OxyContin from its standard formulary offerings;

             (e) Negligently and recklessly failing to impose prior authorization
                 requirements or limits on the availability of opioids in its standard
                 formulary offerings in exchange for payments from the opioid
                 manufacturers;

             (f) Negligently and recklessly failing to maintain adequate safeguards to
                 dispense opioids in a safe and effective manner and to maintain effective
                 controls against diversion of opioids through their mail-order
                 pharmacies; and

             (g) Negligently and recklessly failing to report suspicious prescribers and
                 pharmacies.

         764.   When Defendants engaged in this conduct, they reasonably should have

 known, that, inter alia: (i) increasing the availability of opioids would increase the

 number of opioids that would be abused, misused, and diverted into the illegal,

 secondary market and would be obtained by persons with criminal purposes; (ii) the

 marketing by manufacturers with which they colluded was deceptive and that

 Defendants’ conduct served to increase opioid sales; (iii) many of the opioid

 prescriptions they dispensed, or facilitated the dispensing of, were not issued for a

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 legitimate medical purpose and were likely to be diverted; and (iv) by failing to act

 reasonably and lawfully with respect to the sale and dispensing of opioids, and

 “cocktails” of opioids and other drugs, and by participating in the false marketing of

 opioids, in Webb County, diversion and the associated harms and resulting

 interference with public health, safety, and welfare would occur.

         765.   At all relevant times, Defendants knew or reasonably should have

 known that opioids were dangerous because, inter alia, these drugs are defined under

 federal and state law, and are generally recognized, as substances posing a high

 potential for abuse, addiction, and death.

         766.   Indeed, prescription opioids are essentially medical grade heroin.

 Defendants’ wrongful and unreasonable conduct of pushing as many opioids, and

 “cocktails” of opioids and other drugs, onto the market as possible led directly to the

 public nuisance and harm to Plaintiff—exactly as would be expected when medical-

 grade heroin in the form of prescription opioids flood the community and are diverted

 into an illegal, secondary market.

         767.   Defendants owe Webb County and the public a duty to employ

 reasonable standards of care in the sale, delivery, dispensing, promotion, and

 gatekeeping control of the supply of highly addictive, dangerous opioids. This includes

 a duty to not create a foreseeable risk of harm or injury.

         768.   The degree of care the law requires is commensurate with the risk of

 harm the conduct creates. Defendants’ conduct in selling, delivering, dispensing,

 promoting, and gatekeeping control of the supply of highly addictive and dangerous


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 opioids requires a high degree of care and places them in a position of great trust and

 responsibility. Their duty cannot be delegated.

         769.   Defendants, by promoting opioid over-use and by facilitating access to

 opioids through their formularies and UM and mail-order pharmacies, set in motion

 a force that created an unreasonable and foreseeable risk of harm for Plaintiff and its

 community.

         770.   Defendants also undertook and assumed a duty to create standard

 formulary and UM offerings based on the health and safety of the public and of the

 lives covered by the benefit plans that were their clients. Defendants represented to

 the public, as well as to their clients, that they were structuring their standard

 formulary and UM offerings based on the health and safety of the public and the lives

 their clients insured, when in fact they were doing the exact opposite and doing it to

 maximize their own revenue in concert with the opioid manufacturers. Defendants

 knew, at the time that they made these representations to the public and to their

 clients, that they would not base their formulary and UM offerings on the health and

 safety of the covered lives involved, nor of the public, but rather that they would

 make, and were already making, formulary and utilization management decisions

 designed solely (or at least primarily) to increase profits to Defendants.

         771.   Defendants knew or reasonably should have known of the over-use and

 over-supply of opioids because of their access to claims and other data which they

 developed and maintained. Defendants also had the ability to curtail the over-use and

 over-supply of prescription opioids because of their unique gatekeeping function in


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 the pharmaceutical supply chain. Yet, despite this knowledge and ability, Defendants

 refused and failed to take necessary and appropriate actions to prevent the harms

 which were the foreseeable consequence of their failures, actions, and inactions.

         772.   Defendants, having facilitated and set in motion the over-use and over-

 supply of opioids, had a duty to use reasonable care to prevent and curtail the

 spreading opioid crisis.

         773.   Defendants breached this duty by failing to exercise reasonable care or

 skill with respect to their opioid-related conduct. Collectively and individually,

 Defendants made highly addictive prescription opioids available to the marketplace

 with the knowledge that they were likely being used for non-medical purposes and/or

 posed an inherent danger especially to patients who were using opioids for chronic

 pain not associated with active cancer, end-of-life or palliative care. Defendants knew

 or reasonably should have known that their breach would foreseeably cause harm to

 Webb County and local governments nationwide.

         774.   Defendants were negligent in failing to abide their duties to conduct

 themselves with the requisite care and skill and faithfulness.

         775.   Defendants placed their profit motives above their legal duties and

 enabled, encouraged, and caused the over-use and over-supply of opioids.

         776.   Defendants are highly sophisticated and knowledgeable actors in the

 health care marketplace, well informed of the highly addictive nature of prescription

 opioids and likelihood of foreseeable harm to communities from prescription opioid

 addiction and diversion. Defendants breached their duties when they failed to act


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 with reasonable care in their respective roles, roles which positioned each of them to

 help abate the opioid epidemic if they elected to use their power for good, instead of

 profit.

           777.   Violating these duties poses distinctive and significant dangers to Webb

 County.

           778.   Defendants knew or in the exercise of reasonable diligence should have

 known under the circumstances of this case that the public nuisance and the harms

 suffered by Webb County were the reasonably foreseeable consequences of

 Defendants’ failures, actions, and inactions.

           779.   It was also reasonably foreseeable to Defendants that their conduct

 would create a new secondary market for opioids—providing both the supply of

 narcotics to sell and the demand of addicts to buy them. The result of Defendants’

 deceptive and improper conduct is not only an explosion of prescription opioids on the

 black market, but also—predictably—a marked increase in the availability of heroin

 and synthetic opioids.

           780.   The health, safety, and welfare of the citizens of Webb County, including

 those who use, have used, or will use opioids, as well as those affected by opioid users,

 is a matter of great public interest and legitimate concern to Webb County’s citizens

 and residents. It was reasonably foreseeable to Defendants that the burden of the

 opioid crisis would fall to counties like Webb County in the form of social and

 economic costs.




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         781.   The public nuisance created by Defendants’ negligent and reckless

 conduct is substantial and unreasonable. It has caused and continues to cause

 significant harm to Webb County and its residents, and the harm inflicted greatly

 outweighs any offsetting benefit.

         782.   The injuries to Webb County would not have happened in the ordinary

 course of events had Defendants exercised the degree of care, prudence, watchfulness,

 and vigilance commensurate to the dangers involved in the transaction of their

 business in the sale, delivery, dispensing, promotion, and gatekeeping control of

 opioids.

         783.   Defendants’ conduct is widespread and persistent and creates

 substantial and ongoing harm. The harm inflicted outweighs any offsetting benefit.

 Defendants’ conduct has caused deaths, serious injuries, and a severe disruption of

 public peace, health, order and safety. Defendants’ ongoing and persistent

 misconduct is producing permanent and long-lasting damage.

         784.   Defendants’ actions were, at the very least, a substantial factor in

 opioids becoming widely available and widely used in Webb County. Because of

 Defendants’ actions in using their unique position to increase the availability of

 opioids in the marketplace and inflate opioid sales, because of their collusion with

 manufacturers in the deceptive marketing of opioids, and because of Defendants’

 special position within the closed system of opioid distribution, without Defendants’

 actions, opioid use would not have become so widespread, and the enormous public




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 health hazard of prescription opioid and heroin overuse, abuse, and addiction that

 now exists would have been averted.

         785.   Defendants had control over their conduct in and affecting Webb County

 as is described herein, and that conduct has had an adverse effect on the public.

 Defendants had sufficient control over, and responsibility for, the public nuisance

 they created. Defendants were in control of the “instrumentality” of the nuisance,

 namely the dissemination of prescription opioids, their collusion with manufacturers

 in promoting opioids, and standard formulary and drug utilization management

 offerings that increased utilization of opioids as described herein.

         786.   Plaintiff does not allege that the opioid drugs are inherently defective,

 nor that the FDA-approved warning labels are inadequate, and Plaintiff does not seek

 a remedy under theories of product defect or failure to warn.

         787.   Defendants acted with a conscious disregard for the rights and safety of

 other persons, and said actions had a great probability of causing substantial harm.

         788.   Defendants’ scheme to optimize profits and opioid utilization regardless

 of the harm that was substantially certain to occur to Webb County was done

 negligently and recklessly.

         789.   But for Defendants’ actions, opioid use—and, ultimately, misuse and

 abuse—would not be as widespread as it is today, and the opioid epidemic that

 currently exists would have been averted or greatly curtailed.

         790.   As a direct and proximate cause of Defendants’ negligent and reckless

 conduct creating or assisting in the creation of a public nuisance, Webb County, its


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 community, and its residents have sustained and will continue to sustain substantial

 injuries.

         791.   Webb County brings this action to promote the public welfare, for the

 benefit of all who live in and around Webb County, the public generally, and the State.

         792.   In addition, Webb County has sustained injury to its property and

 resources because of the public nuisance described herein.

         793.   Defendants’ misconduct alleged in this case does not concern a discrete

 event or discrete emergency of the sort a political subdivision would reasonably

 expect to occur and is not part of the normal and expected costs of a local government’s

 existence. Plaintiff alleges wrongful acts which are neither discrete nor of the sort a

 local government can reasonably expect.

         794.   Defendants’ misconduct alleged in this case is ongoing and persistent,

 as is the nuisance to which they substantially contributed.

         795.   As a direct and proximate result of Defendants’ negligent and reckless

 conduct and the public nuisance created by Defendants, Plaintiff has incurred, and

 will continue to incur, excessive costs to treat the opioid epidemic in its county

 including, but not limited to, increased costs of police, emergency, health, prosecution,

 corrections, rehabilitation, and other services. These costs are over and above

 Plaintiff’s ordinary public services.

         796.   As a direct and proximate result of Defendants’ negligent and reckless

 conduct and the public nuisance created by Defendants, public resources are being

 unreasonably consumed in efforts to address the opioid epidemic, thereby eliminating


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 available resources which would otherwise be used to serve the public at large in

 Webb County.

         797.   Plaintiff seeks to abate the nuisance created by Defendants’

 unreasonable, unlawful, negligent, reckless, ongoing, continuing, and persistent

 actions and omissions and unreasonable interference with rights common to the

 general public.

         798.   The public nuisance in Webb County—i.e., the opioid epidemic—created,

 perpetuated, and maintained by Defendants can be abated and further recurrence of

 such harm and inconvenience can be prevented. However, Defendants lack the

 infrastructure and expertise needed to abate the public nuisance they created,

 contributed to, and/or maintained in Webb County. Defendants’ conduct – including

 their lack of regard for the well-being of the citizens of Webb County by elevating

 their own business interests and profit over the safety and health of the communities

 in which they marketed, promoted, dispensed, and sold opioids – also renders them

 unfit to oversee the abatement of the public nuisance they created, contributed to,

 and/or maintained.

         799.   Plaintiff seeks a judgment that Defendants fund the abatement of the

 ongoing public nuisance caused by their unreasonable, unlawful, negligent, reckless,

 ongoing, continuing, and persistent actions and omissions and their substantial and

 unreasonable interference with rights common to the general public.

         800.   Each Defendant created or assisted in creating the opioid epidemic, and

 each Defendant is jointly and severally liable for its abatement. Furthermore, each


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 Defendant should be enjoined from continuing to create, perpetuate, or maintain said

 public nuisance in Webb County. Additionally, Defendants should compensate Webb

 County for the funds it has expended and continues to expend for increased costs of,

 inter alia, social services, health systems, law enforcement, judicial system, and

 treatment facilities.

         801.    Plaintiff has suffered, and will continue to suffer, unique harms as

 described herein, which are of a different kind and degree than those suffered by

 Texas and Webb County citizens at large. These are harms that can only be suffered

 by Plaintiff.

         802.    Plaintiff is acting in its governmental capacity to vindicate the rights of

 the public and abate a public nuisance within its community. Its claims are not based

 upon or derivative of the rights of others.

         803.    The tortious conduct of Defendants was a substantial factor in producing

 harm to Plaintiff.

         804.    Plaintiff has suffered an indivisible injury as a result of the tortious

 conduct of Defendants.

         805.    Defendants’ actions and omissions in creating, perpetuating, and

 maintaining the public nuisance were grossly negligent. They had actual, subjective

 awareness that, viewed objectively from their viewpoint at the time, their conduct

 involved an extreme degree of risk, considering the probability and magnitude of the

 potential harm to others. Defendants knew of the dangerous and addictive nature of

 prescription opioids and also knew the risks associated with the oversupply and


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 diversion of such drugs. Yet they nevertheless proceeded with conscious indifference

 to the rights, safety, or welfare of Webb County and its citizens by and through their

 conduct     described   herein.   For     this     reason,   Plaintiff   seeks   to   recover

 punitive/exemplary damages.

         806.   Plaintiff seeks all legal and equitable relief as allowed by Texas law for

 the negligent creation of a public nuisance, including, inter alia, injunctive relief,

 abatement, compensatory and exemplary/punitive damages, and all other damages

 allowed by law to be paid by Defendants, attorneys’ fees and costs, pre- and post-

 judgment interest, and such other relief as this Court deems appropriate.

  THIRD CLAIM FOR RELIEF --VIOLATION OF FEDERAL CIVIL RICO, 18
                    U.S.C. 1961, ET SEQ.; 1964(c)
             (Brought by Plaintiff against All Defendants)

         807.   Plaintiff repeats, re-alleges, and incorporates each and every allegation

 set forth in all other paragraphs of these Supplemental and Amended Allegations to

 the Second Complaint, as well as each and every allegation set forth in all other

 paragraphs of its Second Amended Complaint (Doc. No. 75), as if fully set forth

 herein, and further alleges as follows:

         808.   At all relevant times, Express Scripts and Optum were each a “person”

 under 18 U.S.C. § 1961(3) because they were both capable of holding, and do hold,

 legal or beneficial interests in property.

         809.   As alleged more fully herein, the PBM Defendants formed an

 association-in-fact enterprise with each of the Opioid Enterprise Manufacturers,

 described above as the Formulary & UM Enterprise, for the purpose of carrying out


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 a fraudulent scheme and felonious possession and dispensing of controlled substances

 to maximize profits for themselves and the Opioid Enterprise Manufacturers from

 increasing sales of prescription opioids through unfettered and preferential

 formulary access without UM in the PBM Defendants’ standard offerings, despite the

 PBM Defendants’ promises, representations and contractual obligations to take

 actions, including through cDUR, formulary decisions and UM decisions that were in

 their clients’ best interests, to ensure safe and medically appropriate opioids were

 being dispensed, and to address opioid abuse, misuse and diversion.

         810.   As alleged more fully herein, the Formulary & UM Enterprise consisted

 of personal business relationships formed through contractual negotiations over

 decades and participation in and through the PCMA and other informal coalitions

 and working groups. Evidence of the existence of the Formulary & UM Enterprise

 can be found in the way in which each PBM Defendant took nearly identical action

 towards formulary and UM offerings, in the research they performed for the Opioid

 Enterprise Manufacturers, the contracts they negotiated with the Opioid Enterprise

 Manufacturers that gave them preferential formulary positions prohibited the

 implementation of UM, the research that each PBM Defendant performed for Opioid

 Enterprise Manufacturers, pull-through marketing and PBM data exchange, failure

 to comply with the dispensing requirements of the CSA and Texas law, and

 interactions through PCMA and other informal coalitions..

         811.   At all relevant times, the Formulary & UM Enterprise (a) had an

 existence separate and distinct from each of the members; (b) was separate and


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 distinct from the pattern of racketeering in which the members engaged; (c) was an

 ongoing and continuing organization consisting of legal entities, including each of the

 members; (d) was characterized by interpersonal business relationships among the

 members; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f)

 functioned as continuing units.

         812.   Each member of the Formulary & UM Enterprise conducted, and

 participated in the conduct of the enterprise, including patterns of racketeering

 activity, and shared in the astounding profits.

         813.   The PBM Defendants carried out, or attempted to carry out, a scheme

 to defraud by knowingly conducting and participating in the conduct of the Formulary

 & UM Enterprise through a pattern of racketeering activity within the meaning of

 18 U.S.C. § 1961(1) that made use of the mail and wire facilities in violation of 18

 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

         814.   The PBM Defendants committed, conspired to commit, and/or aided and

 abetted in the commission of at least two predicate acts of racketeering activity (i.e.,

 violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts

 of racketeering activity that the Formulary & UM Enterprise members committed,

 or aided and abetted in the commission of, were related to each other, posed a threat

 of continued racketeering activity, and therefore constitute a “pattern of racketeering

 activity.” The racketeering activity was made possible by the Formulary & UM

 Enterprise members’ regular use of the facilities, services, distribution channels, and

 employees of the Formulary & UM Enterprise. The PBM Defendants participated in


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 the scheme to defraud by using mail, telephone and the Internet to transmit mailings

 and wires in interstate or foreign commerce.

          815.   PBM Defendants also conducted and participated in the conduct of the

 affairs of the Formulary & UM Enterprise through a pattern of racketeering activity

 by the felonious manufacture, importation, receiving, concealment, buying, selling or

 otherwise dealing in controlled, punishable under any law of the United States.

          816.   PBM Defendants committed crimes that are punishable as felonies

 under the laws of the United States. Specifically, 21 U.S.C. § 841 makes it unlawful

 for any person to knowingly or intentionally manufacture, distribute, or dispense, or

 possess with intent to manufacture, distribute or dispense, a controlled substance

 except as authorized by Subchapter I of the CSA. A violation of § 841 in the case of

 controlled substances on Schedule II is punishable by not more than 20 years of

 imprisonment, or not less than 20 years imprisonment if death or seriously bodily

 injury results from the use of such substance.276 Similarly, a violation of § 841 in the

 case of controlled substances on Schedule III is punishable by not more than 10 years

 imprisonment, or not less than 15 year imprisonment if death or seriously bodily

 injury results from the use of such substance. Similarly, a violation of § 841 in the

 case of controlled substances in Schedule IV is punishable by note more than 5 years

 imprisonment.277 All three violations of § 841 are felonies.




 276
       21 U.S.C. § 841(b)(1)(C).
 277
       21 U.S.C. § 851(b)(2).
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          817.   Each of PBM Defendants’ mail order pharmacies is a registrant as

 defined in the CSA. Their status as registrants imposes obligations on them to ensure

 that they only dispense “to the extent authorized by their registration and in

 conformity with the [CSA].”278

          818.   PBM Defendants registered their mail order pharmacies with the DEA

 to dispense Schedule II-V controlled substances. Their DEA registrations only

 authorized Defendants’ owned pharmacies to “dispense” controlled substances, which

 “means to deliver a controlled substance to an ultimate user . . . by, or pursuant to

 the lawful order of, a practitioner.”279

          819.   The Formulary & UM Enterprise’s predicate acts of racketeering (18

 U.S.C. § 1961(1)) include, but are not limited to:

              (a) Mail Fraud: The Formulary & UM Enterprise violated 18 U.S.C. § 1341
                  by sending or receiving, or by causing to be sent and/or received,
                  materials via U.S. mail or commercial interstate carriers for the purpose
                  of executing the unlawful scheme of the Formulary & UM Enterprise.

              (b) Wire Fraud: The Formulary & UM Enterprise violated 18 U.S.C. § 1343
                  by transmitting and/or receiving, or by causing to be transmitted and/or
                  received, materials by wire for the purpose of executing the unlawful
                  scheme of the Formulary & UM Enterprise.

              (c) Felony Controlled Substance Violations: The PBM Defendants violated
                  21 U.S.C. § 841 by knowingly or intentionally possessing and
                  dispensing controlled substances for reasons and purposes not
                  authorized by the Controlled Substance Act.



 278
       21 U.S.C. § 822(b).
   21 U.S.C. § 802(10); 21 U.S.C. § 829(a)-(b) (stating no Schedule II, III or IV drug
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  may be dispensed without the written prescription of a practitioner, and that no
  Schedule V drug may be dispensed other than for a medical purpose); accord 21
  U.S.C. § 823(f)
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         820.   The Formulary & UM Enterprise conducted their pattern of

 racketeering activity in this jurisdiction and throughout the United States.

         821.   The Formulary & UM Enterprise aided and abetted others in the

 violations of the above laws, thereby rendering them indictable as principals in the

 18 U.S.C. §§ 1341 and 1343 offenses, and the 21 U.S.C. § 841 offense.

         822.   The members of the Formulary & UM Enterprise, with knowledge and

 intent, agreed to the overall objective of the Formulary & UM Enterprise, including

 the fraudulent scheme and felonious possession and dispensing of controlled

 substances, and participated in the common course of conduct to commit acts of fraud

 and indecency in manufacturing, distributing, and dispensing prescription opioids.

         823.   Indeed, for the Formulary & UM Enterprise’s fraudulent scheme to

 work, each member of the Formulary & UM Enterprise had to agree to implement

 their necessary portion of the Formulary & UM Enterprise’s activities in the manner

 alleged above.

         824.   As alleged more fully herein, the Formulary & UM Enterprise engaged

 in a pattern of related and continuous predicate acts for years. The predicate acts

 were each conducted with the common purpose of obtaining significant monies and

 revenues from the sale of their highly addictive and dangerous drugs. The predicate

 acts also had the same or similar results, participants, victims, and methods of

 commission. The predicate acts were related and not isolated events.

         825.   The predicate acts all had the purpose of creating the opioid epidemic

 that substantially injured Plaintiff’s business and property, while simultaneously


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 generating billion-dollar revenue and profits for the Formulary & UM Enterprise.

 The predicate acts were conducted by members of the Formulary & UM Enterprise

 and in furtherance of its fraudulent scheme.

         826.   The pattern of racketeering activity alleged more fully herein, and the

 Formulary & UM Enterprise are separate and distinct from each other. Likewise, the

 PBM Defendants are distinct from the Formulary & UM Enterprise.

         827.   The pattern of racketeering activity alleged herein is continuing as of

 the date of this Complaint and, upon information and belief, will continue into the

 future unless enjoined by this Court.

         828.   Many of the precise dates of the Formulary & UM Enterprise’s actions

 at issue here have been hidden by the PBM Defendants and the members of the

 Formulary & UM Enterprise and cannot be alleged without complete access to the

 PBM Defendants’ books, records, and dispensing data. Indeed, an essential part of

 the successful operation of the Formulary & UM Enterprise alleged herein depended

 upon secrecy.

         829.   It was foreseeable to the PBM Defendants and members of the

 Formulary & UM Enterprise that Plaintiff would be harmed when they engaged in

 the fraudulent scheme that forms the common purpose of the Formulary & UM

 Enterprise and the pattern of racketeering activities alleged herein.

         830.   The last racketeering incident occurred within five years of the

 commission of a prior incident of racketeering.




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         831.   The Formulary & UM Enterprise members’ violations of law and their

 pattern of racketeering activity directly and proximately caused Plaintiff injury in its

 business and property.

         832.   The Formulary & UM Enterprise members’ pattern of racketeering

 activity logically, substantially and foreseeably has caused an opioid epidemic.

 Plaintiff was injured by the Formulary & UM Enterprise’s pattern of racketeering

 activity and the opioid epidemic that its members created through their actions.

         833.   Members of the Formulary & UM Enterprise knew that the prescription

 opioids at the center of their pattern of racketeering activity were extremely

 dangerous, highly addictive, prone to diversion, abuse and misuse, and often cause

 overdose and death. They were also aware that placing those drugs in favorable

 formulary positions with UM controls in place would grow the market for prescription

 opioids through increased prescribing, dispensing and sales. They were also aware

 that the growth in prescribing, dispensing and sales would be driven, in large part,

 by oversupply, addiction, and misuse and abuse. Members of the Formulary & UM

 Enterprise also knew that the oversupply, addiction, misuse and abuse would result

 in the writing of illegitimate prescriptions about which the PBM Defendants’ mail-

 order pharmacies would need to conduct due diligence or refuse to fill.

         834.   Nevertheless, members of the Formulary & UM Enterprise engaged in

 a scheme of deception, which utilized the mail and wires as part of their fraud, in

 order to increase prescribing of prescription opioids, and providing the Opioid

 Enterprise Manufacturers’ drugs unfettered formulary access without limits from


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 UM. Members of the Formulary & UM Enterprise also engaged in felonious

 possession and dispensing of controlled substances by filling prescriptions without

 performing due diligence and failing to refuse to fill prescriptions, thereby providing

 the Formulary & UM Enterprise with unfettered and illegal possession and

 dispensing by PBM Defendants’ mail order pharmacies.

         835.   Plaintiff was and continues to be damaged in its business and property

 by reason and as a result of the Defendants’ conduct of the Enterprise through the

 pattern and practice of racketeering activity described herein, which was a logical,

 direct, foreseeable and substantial cause of the opioid epidemic.

         836.   Specifically, Plaintiff’s injuries, as alleged throughout this complaint,

 and expressly incorporated herein by reference, include:

             (a) Losses caused by purchasing and/or paying reimbursements for the
                 Formulary & UM Enterprise Defendants’ prescription opioids, that
                 Plaintiff would not have paid for or purchased but for the Formulary &
                 UM Enterprise Defendants’ conduct;

             (b) Losses caused by the decrease in funding available for Plaintiff’s public
                 services for which funding was lost because it was diverted to other
                 public services designed to address the opioid epidemic;

             (c) Costs for providing healthcare and medical care, additional therapeutic,
                 and prescription drug purchases, and other treatments for patients
                 suffering from opioid-related addiction or disease, including overdoses
                 and deaths;

             (d) Costs of training emergency and/or first responders in the proper
                 treatment of drug overdoses;

             (e) Costs associated with providing police officers, firefighters, and
                 emergency and/or first responders with naloxone, an opioid antagonist
                 used to block the deadly effects of opioids in the context of overdose;


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             (f) Costs associated with emergency response by police officers, firefighters,
                 and emergency and/or first responders to opioid overdoses;

             (g) Costs for providing treatment of infants born with opioid-related
                 medical conditions, or born addicted to opioids due to drug use by a
                 mother during pregnancy;

             (h) Costs for providing mental health services, treatment, counseling,
                 rehabilitation services, and social services to victims of the opioid
                 epidemic and their families;

             (i) Costs associated with law enforcement and public safety relating to the
                 opioid epidemic, including but not limited to attempts to stop the flow of
                 opioids into local communities, to arrest and prosecute street-level
                 dealers, to prevent the opioid epidemic from spreading and worsening,
                 and to deal with the increased levels of crimes that have directly
                 resulted from the increased homeless and drug-addicted population;

             (j) Costs associated with increased burden on Plaintiff’s judicial system,
                 including increased security, increased staff, and the increased cost of
                 adjudicating criminal matters due to the increase in crime directly
                 resulting from opioid addiction;

             (k) Costs associated with providing care for children whose parents are
                 suffering from opioid-related disability or incapacitation.

             (l) Loss of tax revenue due to the decreased efficiency and size of the
                 working population in Plaintiff’s community;

             (m) Losses caused by diminished property values in neighborhoods where
                 the opioid epidemic has taken root; and

             (n) Losses caused by diminished property values in the form of decreased
                 business investment and tax revenue.

         837.   Plaintiff’s injuries were proximately caused by the PBM Defendants’

 racketeering activities because they were a logical, substantial, and foreseeable cause

 of Plaintiff’s injuries. But for the opioid-addiction epidemic created by the PBM

 Defendants’ conduct, Plaintiff would not have lost money or property.


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         838.   Plaintiff’s injuries were directly caused by the pattern of racketeering

 activities by the members of the Formulary & UM Enterprise.

         839.   Plaintiff is most directly harmed and there are no other Plaintiffs better

 suited to seek a remedy for the economic harms at issue here.

         840.   Plaintiff seeks all legal and equitable relief as allowed by law, including,

 inter alia, actual damages; treble damages; equitable and/or injunctive relief in the

 form of court supervised corrective communication, actions and programs; forfeiture

 as deemed proper by the Court; attorney’s fees; all costs and expenses of suit; and

 pre- and post-judgment interest, including, inter alia:

             (a) Actual damages and treble damages, including pre-suit and post-
                 judgment interest;

             (b) An order enjoining any further violations of RICO;

             (c) An order enjoining any further violations of any statutes alleged to have
                 been violated in this Complaint;

             (d) An order enjoining the commission of any tortious conduct, as alleged in
                 this Complaint;

             (e) An order enjoining any future marketing or misrepresentations;

             (f) An order enjoining future decisions by the PBM Defendants to prioritize
                 rebates and profits over patient safety and proper, clinically based,
                 decision making regarding the formulary status, prior authorization,
                 step therapy or utilization management measures related to
                 prescription opioids;

             (g) An order enjoining the PBM Defendants’ mail order pharmacy from
                 dispensing prescriptions without conducting proper due diligence and
                 documenting that due diligence before dispensing prescriptions;

             (h) An order compelling Defendants to make corrective advertising
                 statements that shall be made in the form, manner and duration as
                 determined by the Court;
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             (i) An order enjoining any future lobbying or legislative efforts regarding
                 the manufacture, marketing, distribution, prescription, or use of opioids;

             (j) An order requiring the PBM Defendants to disclose publicly all
                 documents, communications, records, data, information, research or
                 studies concerning the health risks or benefits of opioid use;

             (k) An order establishing a national foundation for education, research,
                 publication, scholarship, and dissemination of information regarding
                 the health risks of opioid use and abuse to be financed by the PBM
                 Defendants in an amount to be determined by the Court;

             (l) An order enjoining any diversion of opioids or any failure to monitor,
                 identify, investigate, report and halt suspicious prescribing, dispensing,
                 abuse, or diversion of opioids;

             (m) An order requiring all PBM Defendants to publicly disclose to law
                 federal and state endorsement all documents, communications, records,
                 information, or data, regarding any prescriber, facility, pharmacy, clinic,
                 hospital, manufacturer, distributor, person, entity or association
                 regarding prescribing, dispensing, abuse, or diversion of opioids;

             (n) An order divesting each PBM Defendant of any interest in, and the
                 proceeds of any interest in, the Formulary & UM Enterprise, including
                 any interest in property associated therewith;

             (o) Dissolution and/or reorganization of any trade industry organization, or
                 any other entity or association associated with the Formulary & UM
                 Enterprise identified in this Complaint, as the Court sees fit;

             (p) Dissolution and/or reorganization of any Defendant named in this
                 Complaint as the Court sees fit;

             (q) Suspension and/or revocation of the license, registration, permit, or
                 prior approval granted to Defendants, entities, associations or
                 enterprises named in the Complaint regarding the prescribing of
                 opioids;

             (r) Forfeiture as deemed appropriate by the Court; and

             (s) Attorney’s fees and all costs and expenses of suit.



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             FOURTH CLAIM FOR RELIEF—NEGLIGENCE AND GROSS
                                NEGLIGENCE
                  (Brought by Plaintiff against All Defendants)

         841.   Plaintiff repeats, re-alleges, and incorporates each and every allegation

 set forth in all other paragraphs of these Supplemental and Amended Allegations to

 the Second Complaint, as well as each and every allegation set forth in all other

 paragraphs of its Second Amended Complaint (Doc. No. 75), as if fully set forth

 herein, and further alleges as follows:

         842.   Defendants owe Webb County a duty to employ reasonable standards of

 care in the sale, delivery, dispensing, promotion, and gatekeeping control of the

 supply of highly addictive, dangerous opioids. This includes a duty to not create a

 foreseeable risk of harm or injury.

         843.   The degree of care the law requires is commensurate with the risk of

 harm the conduct creates. Defendants’ conduct in selling, delivering, dispensing,

 promoting, and gatekeeping control of the supply of highly addictive and dangerous

 opioids requires a high degree of care and places them in a position of great trust and

 responsibility. Their duty cannot be delegated.

         844.   Defendants, by promoting opioid over-use and by facilitating access to

 opioid through their standard formulary and UM offerings and their mail-order

 pharmacies, set in motion a force that created an unreasonable and foreseeable risk

 of harm for Plaintiff and its community.

         845.   Defendants also undertook and assumed a duty to create formulary and

 UM offerings based on the health and safety of the public and of the lives covered by


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 the benefit plans that were their clients. Defendants represented to the public, as

 well as to their clients, that they were structuring formulary and UM offerings based

 on the health and safety of the public and the lives their clients insured, when in fact

 they were doing the exact opposite and doing it to maximize their own revenue in

 concert with the opioid manufacturers. Defendants knew, at the time that they made

 these representations to the public and to their clients, that they would not base their

 formulary and their UM offerings on the health and safety of the covered lives

 involved, nor of the public, but rather that they would structure, and were already

 structuring, formulary and UM offerings solely (or at least primarily) to increase

 profits to Defendants.

         846.   Defendants had actual or, at the very least, constructive knowledge of

 the over-use and over-supply of opioids because of their access to claims and other

 data which they developed and maintained. Defendants also had the ability to curtail

 the over-use and over-supply of prescription opioids because of their unique

 gatekeeping function in the pharmaceutical supply chain. Yet, despite this knowledge

 and ability, Defendants refused and failed to take necessary and appropriate actions

 to prevent the harms which were the foreseeable consequence of their failures,

 actions, and inactions.

         847.   Defendants, having facilitated and set in motion the over-use and over-

 supply of opioids, had a duty to use reasonable care to prevent and curtail the

 spreading opioid crisis.




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           848.   Defendants breached this duty by failing to exercise reasonable care or

 skill with respect to their opioid-related conduct. Collectively, and individually,

 Defendants made highly addictive prescription opioids available to the marketplace

 with the knowledge that they were likely being used for non-medical purposes and/or

 posed an inherent danger especially to patients who were using opioids for chronic

 pain not associated with active cancer, end-of-life or palliative care. Defendants knew

 or reasonably should have known that their breach would foreseeably cause harm to

 Webb County.

           849.   Defendants were negligent in failing to abide their duties to conduct

 themselves with the requisite care and skill and faithfulness.

           850.   Defendants placed their profit motives above their legal duties and

 enabled, encouraged, and caused the over-supply and over-use of opioids.

           851.   Defendants are highly sophisticated and knowledgeable actors in the

 health care marketplace, well informed of the highly addictive nature of prescription

 opioids and likelihood of foreseeable harm to communities from prescription opioid

 addiction and diversion. Defendants breached their duties when they failed to act

 with reasonable care in their respective roles, roles which positioned each of them to

 help abate the opioid epidemic if they elected to use their power for good, instead of

 profit.

           852.   Violating these duties poses distinctive and significant dangers to Webb

 County.




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         853.   At all times, Defendants each had the ability and obligation to control

 the opioid access and utilization that led to this human-made epidemic. Defendants

 controlled and were responsible for the operation of the instrumentality of the harm

 in this case—their promotion of opioid over-use and facilitation of access to opioids

 through their formularies and UM offerings and their mail order pharmacies.

 Defendants failed to take appropriate precautions to avoid injuries to Plaintiff caused

 by Defendants’ failures, actions and inactions.

         854.   Defendants knew or in the exercise of reasonable diligence should have

 known under the circumstances of this case that the harms suffered by Webb County

 were the reasonably foreseeable consequences of Defendants’ failures, actions, and

 inactions.

         855.   Defendants’ conduct also foreseeably created a new secondary market

 for opioids—providing both the supply of narcotics to sell and the demand of addicts

 to buy them. The result of Defendants’ deceptive and improper conduct is not only an

 explosion of prescription opioids on the black market, but also—predictably—a

 marked increase in the availability of heroin and synthetic opioids.

         856.   The health, safety, and welfare of the citizens of Webb County, including

 those who use, have used, or will use opioids, as well as those affected by opioid users,

 is a matter of great public interest and legitimate concern to Webb County’s citizens

 and residents. It was reasonably foreseeable to Defendants that the burden of the

 opioid crisis would fall to counties like Webb County in the form of social and




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 economic costs. Defendants’ negligence was a substantial factor in producing harm to

 Webb County.

         857.   As a direct and proximate result of Defendants’ negligent conduct, Webb

 County has incurred, and will continue to incur, excessive costs to treat the opioid

 epidemic in its county including, but not limited to, increased costs of police,

 emergency, health, prosecution, corrections, rehabilitation, and other services. These

 costs are over and above Plaintiff’s ordinary public services.

         858.   Defendants’ misconduct alleged in this case does not concern a discrete

 event or discrete emergency of the sort a political subdivision would reasonably

 expect to occur and is not part of the normal and expected costs of a local government’s

 existence. Plaintiff alleges wrongful acts which are neither discrete nor of the sort a

 local government can reasonably expect.

         859.   Plaintiff is asserting its own rights and interests and Plaintiff’s claims

 are not based upon or derivative of the rights of others.

         860.   Defendants’ conduct was also grossly negligent. They had actual,

 subjective awareness that, viewed objectively from their viewpoint at the time, their

 conduct involved an extreme degree of risk, considering the probability and

 magnitude of the potential harm to others. Defendants knew of the dangerous and

 addictive nature of prescription opioids and also knew the risks associated with the

 oversupply and diversion of such drugs. Yet they nevertheless proceeded with

 conscious indifference to the rights, safety, or welfare of Webb County by and through

 their conduct described herein.


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         861.   Plaintiff seeks all legal and equitable relief as allowed by Texas law for

 negligence and gross negligence, including, inter alia, compensatory damages,

 exemplary/punitive damages, and all damages allowed by law to be paid by

 Defendants, attorneys’ fees and costs, pre- and post-judgment interest, and such

 other relief as this Court deems appropriate.

                FIFTH CLAIM FOR RELIEF – CIVIL CONSPIRACY
                   (Brought by Plaintiff against All Defendants)

         862.   Plaintiff repeats, re-alleges, and incorporates each and every allegation

 set forth in all other paragraphs of these Supplemental and Amended Allegations to

 the Second Complaint, as well as each and every allegation set forth in all other

 paragraphs of its Second Amended Complaint (Doc. No. 75), as if fully set forth

 herein, and further alleges as follows:

         863.   Defendants’ conspiracy and acts in furtherance thereof are alleged in

 detail in these Supplemental and Amended Allegations to the Second Complaint, as

 well as Webb County’s Second Amended Complaint (Doc. No. 75), including without

 limitation, all paragraphs addressing the PBM Defendants’ agreements and

 concerted action with the opioid manufacturers, all paragraphs addressing

 Defendants’ enterprises, and all racketeering counts. These allegations are

 specifically incorporated herein.

         864.   As alleged in these paragraphs, the PBM Defendants and the opioid

 manufacturers engaged in concerted action to accomplish an unlawful objective, or to

 accomplish a lawful objective by unlawful means: the unfettered sale and dispensing

 of vast quantities of opioids in Webb County without regard to patient safety, the

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 impact on the community, or their obligations and duties under federal and state law.

 Each of the Defendants either actively participated and/or aided and abetted in the

 pursuance of this common purpose.

         865.   Specifically, opioid manufacturers contracted and agreed with PBMs,

 including the PBM Defendants, to coordinate unfettered formulary placement with

 no or limited UM measures regarding each opioid drug in the PBM Defendants’

 standard offerings, such that there would be as little an impediment as possible to

 opioid prescribing and dispensing. These contracts relied on an underlying fraudulent

 scheme designed to ensure unfettered access to PBM formulary offerings. The opioid

 manufacturers understood that the PBM Defendants were going to operate on a

 fundamentally fraudulent basis. As alleged more fully herein, even though the PBM

 Defendants promised their clients they would take actions that would ensure the

 safety of opioid prescribing and dispensing, the PBM Defendants had no intention of

 taking actions regarding the opioid manufacturers’ branded and generic drugs that

 would have ensured safety, because those actions would have dramatically reduced

 their receipt of rebates, revenue from opioid dispensing, and other fees. At the same

 time, the PBM Defendants operated their mail-order pharmacies in such a way that

 they did not stop obviously illegitimate prescriptions from being dispensed.

         866.   As detailed herein and in the Second Amended Complaint (Doc. No. 75),

 the PBM Defendants and the opioid manufacturers committed numerous overt acts

 to further the conspiracy’s objectives that were unlawful under federal and/or Texas

 law.


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         867.   At all relevant times, each Defendants was aware of the enterprise’s

 conduct, was a knowing and willing participant in that conduct, and reaped profits

 from that conduct in the form of increased sales, distributions, and prescriptions of

 opioids.

         868.   By knowingly misrepresenting the appropriate uses, risks, and safety of

 opioids, Defendants committed overt acts in furtherance of their conspiracy.

         869.   As an intended result of the intentional wrongful conduct as set forth

 herein, the PBM Defendants have profited and benefitted from the opioid epidemic

 they caused, thus harming Webb County and its community.

         870.   As a proximate result of the PBM Defendants’ and their co-conspirators,

 the opioid manufacturers’, intentional wrongful conduct, Webb County has incurred

 substantial costs including, but not limited to, law enforcement action for opioid-

 related to drug crimes, for addiction treatment, and other services necessary for the

 treatment of people addicted to prescription opioids, and the other harms alleged

 herein. Similarly, abating the vast societal harms Defendants and their co-

 conspirators caused will require extensive efforts and substantial resources. These

 costs and harms are addressed in more detail in the paragraphs addressing Webb

 County’s racketeering and public nuisance counts. These allegations are specifically

 incorporated herein.

         871.   Plaintiff seeks to impute liability for Plaintiff’s other claims on the PBM

 Defendants for the wrongful conduct of their co-conspirators, the opioid




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 manufacturers, and to hold the PBM Defendants jointly and severally liable for that

 conduct.

         872.   Additionally, as discussed above and in Webb County’s Second Amended

 Complaint (Doc. No. 75), the conduct of Defendants and their co-conspirators, the

 opioid manufacturers, was fraudulent, malicious, and/or grossly negligent. For this

 reason, Plaintiff seeks to recover punitive/exemplary damages.

 XIII. Prayer for Relief

         WHEREFORE, Webb County respectfully requests the Court order the

 following relief, including:

             (a) abatement of nuisance;

             (b) actual damages;

             (c) treble or multiple damages and civil penalties as allowed by statute;

             (d) punitive damages;

             (e) exemplary damages;

             (f) disgorgement of unjust enrichment;

             (g) equitable and injunctive relief in the form of Court-enforced corrective
                 action, programs, and communications;

             (h) forfeiture disgorgement, restitution and/or divestiture of proceeds and
                 assets;

             (i) attorneys’ fees;

             (j) costs and expenses of suit;

             (k) pre- and post-judgment interest; and

             (l) such other and further relief as this Court deems appropriate.



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 XIV. Jury Demand

         Webb County demands a jury trial on all issues so triable.

 Dated: December 15, 2023
                                         Respectfully submitted,

                                         Plaintiffs’ Co-Lead Counsel

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 6th day of March, 2024, I have electronically filed the
 foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon counsel
 of record by, and may be obtained through, the Court’s CM/ECF System.

                                                   s/Peter H. Weinberger
                                                   Peter H. Weinberger




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